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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                               ENTERED
                                                                                                                    03/09/2021
                                                                     )
    In re:                                                           )   Chapter 15
                                                                     )
    JUST ENERGY GROUP INC., et al                                    )   Case No. 21- 0,
                                                                     )
    Debtors in a Foreign Proceeding,1                                )
                                                                     )   (Joint Administration Requested)
                                                                     )   Re Docket No.

                       ORDER GRANTING PROVISIONAL RELIEF
                 PURSUANT TO SECTION 1519 OF THE BANKRUPTCY CODE

             Upon the motion (the “Motion”)2 filed by the foreign representative (the “Foreign

Representative”) of the above-captioned debtors (collectively, the “Debtors” or “Just Energy”),

seeking provisional relief under the Bankruptcy Code to protect the Debtors and their property

within the territorial jurisdiction of the United States pending recognition of the Debtors’ voluntary

arrangement proceedings commenced under the Companies’ Creditors Arrangement Act,

R.S.C. 1985, c. C-36 (as amended, the “CCAA”) in the Superior Court of Ontario (the “Canadian

Proceedings” and such court, the “Canadian Court”); the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. and §1334; and the relief requested

in the Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and that this Court may

enter a final order consistent with Article III of the United States Constitution; venue being proper



1     The identifying four digits of Debtor Just Energy Group Inc.’s local Canada tax identification number are 0469.
      Due to the large number of debtor entities in these chapter 15 cases, for which the Debtors have requested joint
      administration, a complete list of the debtor entities and the last four digits of their federal tax identification
      numbers are not provided herein. A complete list of such information may be obtained on the website of the
      Debtors’ claims and noticing agent at www.omniagentsolutions.com/justenergy. The location of the Debtors’
      service address for purposes of these chapter 15 cases is: 100 King Street West, Suite 2360, Toronto, ON, M5X
      1E1.

2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion
      or the CCAA Order (as defined herein), as applicable.
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before the Court pursuant to 28 U.S.C. § 1410; adequate and sufficient notice of the filing of the

Motion having been given by the Foreign Representative; it appearing that the relief requested in

the Motion is necessary and beneficial to the Debtors; and no objections or other responses having

been filed that have not been overruled, withdrawn, or otherwise resolved; and after due

deliberation and sufficient cause appearing therefor, it is hereby FOUND that:

       A.      The findings and conclusions set forth herein constitute this Court’s findings of fact

and conclusions of law pursuant to rule 7052 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

To the extent any of the following findings of fact constitute conclusions of law, they are adopted

as such. To the extent any of the following conclusions of law constitute findings of fact, they are

adopted as such.

       B.      There is a substantial likelihood that the Foreign Representative will successfully

demonstrate that the Canadian Proceedings constitute “foreign main proceedings” as defined in

section 1502(4) of the Bankruptcy Code.

       C.      As evidenced by the CCAA Order, the Canadian Court has determined that the

commencement or continuation of any action or proceeding in Canada against the Debtors or their

assets should be enjoined pursuant to applicable Canadian law to permit the expeditious and

economical administration of the Canadian Proceedings, and such relief will either (a) not cause

an undue hardship to any creditors or other parties-in-interest or (b) any hardship to such creditors

or parties is outweighed by the benefits of the relief requested. This Court similarly determines

that, consistent with the CCAA Order, the commencement or continuation of any action or

proceeding in the United States against the Debtors or their assets should be enjoined pursuant to

sections 105 and 1519(a) of the Bankruptcy Code to permit the expeditious and economical




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administration of the Canadian Proceedings, and such relief will either (a) not cause an undue

hardship to any creditors or other parties-in-interest or (b) any hardship to such creditors or parties

is outweighed by the benefits of the relief requested.

        D.      Unless a preliminary injunction is issued, and unless the Debtors are immediately

authorized to comply with the CCAA Order, and unless all creditors, persons, parties in interest,

contract parties, lenders and governmental units and agencies located within the territorial United

States (collectively, the “U.S. Chapter 15 Parties”) are bound by the terms of the CCAA Order

pending the upcoming recognition hearing to be held by this Court, there is a material risk that the

U.S. Chapter 15 Parties may take certain actions against the Debtors, including exercising certain

remedies under existing debt obligations, existing executory contracts, or unexpired leases or

under applicable law. Such actions could (a) interfere with the jurisdictional mandate of this Court

under chapter 15 of the Bankruptcy Code, (b) interfere with and cause harm to the Debtors’ efforts

to administer and implement the Canadian Proceedings, (c) interfere with the Debtors’ operations,

and (d) undermine the Debtors’ efforts to achieve an equitable result for the benefit of all of the

Debtors’ stakeholders. Accordingly, there is a material risk that the Debtors may suffer immediate

and irreparable injury (with no adequate remedy at law), and it is therefore necessary that the Court

grant the relief set forth in this order (the “Order”).

        E.      The Foreign Representative has demonstrated to the Canadian Court that the

incurrence of indebtedness under the DIP Facility and the granting of liens and charge negotiated

in connection with the DIP Facility is necessary to prevent irreparable harm to the Debtors because,

without such financing, the Debtors will be unable to continue operations and fund their

restructuring proceedings, which will significantly impair the value of their assets, and the

Canadian Court has approved the DIP Facility as being appropriate and the amount that the Debtors




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have been authorized to borrow is reasonably necessary for the continued operations of the Debtors

in the ordinary course of business.

        F.      The Foreign Representative has demonstrated to the Canadian Court that the terms

of the DIP Facility are fair and reasonable and were entered into in good faith by the Debtors and

the DIP Lenders and that the DIP Lenders would not have extended financing without the

provisions of this Order and the Court’s recognition of the protections set forth in the CCAA Order

relating to the DIP Facility.

        G.      The interest of the public (including the Debtors U.S. based customers) will best be

served by this Court’s entry of this Order.

        H.      The Foreign Representative and the Debtors are entitled to the full protections and

rights available pursuant to section 1519(a)(1),(2), and (3) of the Bankruptcy Code because such

relief is urgently needed to avoid transfer or infringement of and to protect the assets of the

Debtors, particularly including the Debtors’ retail electricity contracts and customers located in

the territorial United States, and the interests of their creditors until this Court rules on the petition.

BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE
DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFORE, IT IS
HEREBY ORDERED THAT:

        1.      Pending entry of the Recognition Order and notwithstanding anything to the

contrary contained in this Order, the Foreign Representative and the Debtors, as applicable, are

authorized to comply with the terms, conditions, and provisions of the CCAA Order including,

without limitation, the sections of the CCAA Order (a) authorizing the Debtors to obtain credit

under the DIP Facility in the amount of up to USD $125 million and granting to the DIP Lenders

the DIP Lenders’ Charge to authorize the Debtors to enter into, perform and borrow under the DIP

Facility, (b) staying the commencement or continuation of any actions against the Debtors and

their assets, (c) imposing a stay with respect to claims or actions against the Debtors’ directors and


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officers or their assets in connection with the directors’ or officers’ positions at the Debtor, and (d)

granting the Directors’ Charge and Administration Charge. In addition, from entry of this Order

until the conclusion of the hearing to consider recognition of the Canadian Proceedings, every U.S.

Chapter 15 Party shall be bound by the CCAA Order, subject solely to further order of this Court

or the Canadian Court upon prior written notice to the Debtors and the Foreign Representative.

       2.      Beginning on the date of this Order and continuing until the conclusion of the

recognition hearing to be held by this Court (unless otherwise extended pursuant to section 1519(b)

of the Bankruptcy Code):

               a.      the Foreign Representative is recognized as, and shall be the representative
                       of, the Debtors with full authority to administer the Debtors’ assets and
                       affairs in the United States and may operate the Debtors’ business and
                       exercise the rights and powers of a trustee unless otherwise specified in the
                       CCAA Order.

               b.      Section 362 of the Bankruptcy Code shall apply with respect to the Debtors
                       and the Debtors’ property that is within the territorial jurisdiction of the
                       United States. For the avoidance of doubt and without limiting the
                       generality of the foregoing, this Order shall impose a stay within the
                       territorial jurisdiction of the United States of:

                       i.      the commencement or continuation, including the issuance or
                               employment of process of, any judicial, administrative or any other
                               action or proceeding involving or against the Debtors or their assets
                               or proceeds thereof, or to recover a claim or enforce any judicial,
                               quasi-judicial, regulatory, administrative or other judgment,
                               assessment, order, lien or arbitration award against the Debtors or
                               their assets or proceeds thereof, or to transfer, assign, or exercise any
                               control over the Debtors’ assets located in the United States,
                               particularly including the Debtors’ retail electricity contracts and
                               customers located in the territorial United States, except as
                               authorized by the Debtors in writing and in their sole discretion;

                       ii.     except as permitted in the CCAA Order, the creation, perfection,
                               seizure, attachment, enforcement, or execution of liens or judgments
                               against the Debtors’ property in the United States or from
                               transferring, encumbering, or otherwise disposing of or interfering
                               with the Debtors’ assets or agreements in the United States without
                               the express written consent of the Foreign Representative, after



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                               notice and hearing in conformance with this Court’s procedures and
                               rules;

                       iii.    any act to collect, assess, or recover a claim against the Debtors that
                               arose before the commencement of the Debtors’ chapter 15 case;
                               and

                       iv.     the setoff of any debt owing to the Debtors that arose before the
                               commencement of the Debtors’ chapter 15 case against any claim of
                               the Debtor.

       In the event of any conflict between the scope of the stays and/or injunctions set forth in

the CCAA Order and those contained in this Order, the language of the CCAA Order shall prevail,

subject to further order of this Court.

               c.      section 365(e) of the Bankruptcy Code shall apply with respect to the
                       Debtors’ executory contracts and unexpired leases such that,
                       notwithstanding any provision in any such contract or lease or under
                       applicable law, no executory contract or unexpired lease with any of the
                       Debtors may be terminated, cancelled, or modified (and any rights or
                       obligations in such leases or contracts cannot be terminated or modified)
                       solely because of a provision in any contract or lease of the kind described
                       in sections 365(e)(1)(A), (B), or (C) of the Bankruptcy Code, and all
                       contract and lease counterparties located within the United States shall be
                       prohibited from taking any steps to terminate, modify, or cancel any
                       contracts or leases with the Debtors arising from or relating in any way to
                       any so-called “ipso facto” or similar clauses; provided that this Order does
                       not impair or affect the rights of any person under sections 559 through 561
                       of the Bankruptcy Code, subject to the terms of the CCAA Order.

               d.      the Foreign Representative shall have the rights and protections to which
                       the Foreign Representative is entitled under chapter 15 of the Bankruptcy
                       Code, including, but not limited to, the protections limiting the jurisdiction
                       of United States Courts over the Foreign Representative in accordance with
                       section 1510 of the Bankruptcy Code and the granting of additional relief
                       in accordance with sections 1519(a) and 1521 of the Bankruptcy Code.

               e.      until the conclusion of the recognition hearing to be held by this Court, no
                       U.S. Chapter 15 Party may file an involuntary petition or similar relief
                       against one or all of the Debtors under chapter 7 or chapter 11 of the
                       Bankruptcy Code.

               f.      notwithstanding any provision in the Bankruptcy Rules to the contrary,
                       (i) this Order shall be effective immediately and enforceable upon entry,
                       (ii) the Foreign Representative and the DIP Lenders are not subject to any


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                          stay in the implementation, enforcement, or realization of the relief granted
                          in this Order, and (iii) the Foreign Representative is authorized and
                          empowered, and may, in his discretion and without further delay, take any
                          action and perform any act necessary to implement and effectuate the terms
                          of this Order.

                 g.       effective upon entry of this Order, section 525 of the Bankruptcy Code shall
                          be in full force and effect in these chapter 15 cases and with respect to each
                          of the Debtors, and this Court shall retain exclusive jurisdiction to hear any
                          purported violations thereof, which requests may be brought by way of an
                          expedited emergency motion.

                 h.       any and all landlords or other parties with a lease of premises to the Debtors
                          located within the United States are hereby prohibited from: taking any
                          steps to cancel, terminate, or modify any lease for any reason, including
                          non-payment of rent and/or due to any ipso facto clause described by section
                          365(e)(1) of the Bankruptcy Code; enforcing any “landlord lien”,
                          possessory lien or similar lien against any property of the Debtor; changing
                          the locks or codes on any of the Debtors’ premises; or commencing or
                          continuing any eviction or similar proceedings.

        3.       Pending entry of the Recognition Order, the Foreign Representative and the

Debtors are entitled to the benefits of, and may comply with, the terms and conditions of the

DIP Financing, including but not limited to, the payment of associated fees and expenses as they

come due without further notice or order of this Court. The CCAA Order provides, “that the DIP

Agent and the DIP Lenders shall be entitled to the benefit of and are hereby granted a charge (the

“DIP Lenders’ Charge”) on the Property,3 which DIP Lenders’ Charge shall not secure an

obligation that exists before this Order is made” and “that the filing, registration or perfection of .

. . the DIP Lenders’ Charge . . . shall not be required, and that the Charges shall be valid and

enforceable for all purposes, including as against any right, title or interest filed, registered,

recorded or perfected subsequent to the Charges coming into existence, notwithstanding any such

failure to file, register, record or perfect.” See CCAA Order, ¶¶ 38, 44. To the extent authorized


3   “Property” means Just Energy’s current and future assets, licenses, undertakings and properties of every nature
    and kind whatsoever, and wherever situate including all proceeds thereof. See CCAA Order, ¶ 4.



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under the CCAA Order, the Court recognizes, on a provisional basis, the DIP Lenders’ Charge, as

defined in the CCAA Order, granted in the CCAA Order which applies to all of the Debtors’ assets

located in the United States, subject to the priorities, terms, and conditions of the CCAA Order, to

secure current and future amounts outstanding under the DIP Facility.

       4.      To the extent provided in the CCAA Order, and based on the finding therein and to

promote cooperation between jurisdictions in cross-border insolvencies, the Debtors are hereby

authorized to execute and deliver such term sheets, credit agreements, mortgages, charges,

hypothecs and security documents, guarantees, and other definitive documents as are contemplated

by the DIP Facility (collectively, the “DIP Documents”) or as may be reasonably required by the

DIP Lenders pursuant to the terms thereof, and the Debtors are hereby authorized to pay and

perform all of its indebtedness, interest, fees, liabilities, and obligations to the DIP Lenders under

and pursuant to the DIP Facility without any need for further approval from this Court.

       5.      This Order shall be sufficient and conclusive notice and evidence of the grant,

validity, perfection, and priority of the liens granted to the DIP Lenders in the CCAA Order without

the necessity of filing or recording this Order or any financing statement, mortgage, or other

instrument or document which may otherwise be required under the law of any jurisdiction;

provided that the Debtors are authorized to execute, and the administrative agent under the

DIP Facility may file or record, any financing statements, mortgages, other instruments or any

other DIP Document to further evidence the liens authorized, granted, and perfected hereby and

by the CCAA Order.

       6.      The validity of the indebtedness, and the priority of the liens authorized by the

CCAA Order and made enforceable in the United States by this Order shall not be affected by any

reversal or modification of this Order, on appeal or the entry of an order denying recognition of




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the Canadian Proceedings pursuant to the terms of the CCAA Order and sections 105, 1517, and

1519 of the Bankruptcy Code.

       7.      No action, inaction, or acquiescence by the DIP Lenders, including, without

limitation, funding the Debtors’ ongoing operations under this Order, shall be deemed to be or

shall be considered as evidence of any alleged consent by the DIP Lenders to a charge against the

collateral pursuant to sections 506(c), 552(b), or 105(a) of the Bankruptcy Code. The DIP Lenders

shall not be subject in any way whatsoever to the equitable doctrine of “marshaling” or any similar

doctrine with respect to the collateral.

       8.      Effective on a provisional basis upon entry of this Order, to the extent precluded by

or provided for under the CCAA Order, no person or entity shall be entitled, directly or indirectly,

whether by operation of sections 506(c), 552(b), or 105 of the Bankruptcy Code or otherwise, to

direct the exercise of remedies or seek (whether by order of this Court or otherwise) to marshal or

otherwise control the disposition of any collateral or property after a breach under the DIP Facility,

the DIP Documents, the CCAA Order, or this Order.

       9.      In accordance with the CCAA Order, the Foreign Representative and the Debtors,

as applicable, are authorized to pay or remit (a) any taxes (including, without limitation, sales, use,

withholding, unemployment, and excise) the nonpayment of which by any Just Energy entity could

result in a responsible person associated with a Just Energy entity being held personally liable for

such nonpayment and (b) taxes related to income or operations incurred or collected by a

Just Energy entity in the ordinary course of business.

       10.     Pursuant to Bankruptcy Rule 7065, the security provisions of Rule 65(c) of the

Federal Rules of Civil Procedure are waived.




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       11.     Notice of this Order will be provided to: (a) the Office of the United States Trustee;

(b) the United States Attorney’s Office for the Southern District of Texas; (c) administrative agent

to the prepetition credit agreement and counsel thereto; (d) the Provisional Relief Parties; (e) all

persons or bodies authorized to administer the Canadian Proceedings; and (f) any other parties of

which the Foreign Representative becomes aware that are required to receive notice pursuant to

Bankruptcy Rule 2002(q); and (g) such other entities as this Court may direct (collectively, the

“Notice Parties”), which satisfies the requirements of Bankruptcy Rule 2002(q). In light of the

nature of the relief requested, no other or further notice is required.

       12.     Service in accordance with this Order shall be deemed good and sufficient service

and adequate notice for all purposes. The Foreign Representative, the Debtors, and their respective

agents are authorized to serve or provide any notices required under the Local Rules.

       13.     The banks and financial institutions with which the Debtors maintain bank accounts

or on which checks are drawn or electronic payment requests made in payment of prepetition or

postpetition obligations are authorized and directed to continue to service and administer the

Debtors’ bank accounts without interruption and in the ordinary course and to receive, process,

honor and pay any and all such checks, drafts, wires and automatic clearing house transfers issued,

whether before or after the Petition Date and drawn on the Debtors’ bank accounts by respective

holders and makers thereof and at the direction of the Foreign Representative or the Debtor, as the

case may be.

       14.     The Foreign Representative is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order.




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            15.     This Court shall communicate directly with, or request information or assistance

    directly from, the Canadian Court or the Foreign Representative, subject to the rights of a party in

    interest to notice and participation.

            16.     This Court shall retain jurisdiction with respect to the enforcement, amendment or

    modification of this Order, any requests for additional relief or any adversary proceeding or

    contested matter brought in and through the chapter 15 case, and any request by an entity for relief

    from the provisions of this Order, for cause shown, that is properly commenced and within the

    jurisdiction of this Court.

     Houston,
        Texas
               March 09,17,
               October   2021
                            2018                         
     Dated: ______________, 2021                       UNITED
                                                             STATES BANKRUPTCY JUDGE
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Additionally, the Court finds that any payments made to ERCOT are made subject to all of the
Debtors' rights to contest those payments, and all rights to receive a refund or credit as allowed by
applicable law. Although the Court recognizes the authority to make payments to ERCOT as
granted by the Canadian Order, this Court neither adds nor subtracts from any such authorization.

Finally, it is further ordered that the Court applies § 525 of the Bankruptcy Code to this recognition
order. Pending entry of an order by this Court to the contrary, the United States Bankruptcy Court
for the Southern District of Texas reserves exclusive subject matter jurisdiction for any relief sought
under § 525. This provision is made to assure that this recognition order fully complies with US
public policy. This paragraph is entered with full respect and comity to the difficult work being done
by the Court's Canadian counterpart, and with this Court's thanks.




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                               Exhibit A

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                               Exhibit B

                            DIP Term Sheet
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            CCAA INTERIM DEBTOR-IN-POSSESSION FINANCING TERM SHEET

                                       Dated as of March 9, 2021

WHEREAS, Just Energy Group Inc. and Just Energy (U.S.) Corp., and the other parties listed on Schedule
A hereto (collectively, the “Applicants”) intend to make an application to the Ontario Superior Court of
Justice (Commercial List) (the “Canadian Court”) pursuant to the Companies’ Creditors Arrangement Act
(Canada) (the “CCAA”, and the proceedings of the Applicants thereunder, the “CCAA Proceedings”) for
an initial order (as may be amended and restated from time to time, the “Initial Order”) granting, among
other things, protection to the Loan Parties (as defined below).

WHEREAS, the Borrowers (as defined below) and the Guarantors (as defined below) intend to commence
ancillary insolvency proceedings under chapter 15 of title 11 of the United States Code in the United States
Bankruptcy Court for the Southern District of Texas (the “U.S. Court”) to recognize the CCAA
Proceedings (the “Chapter 15 Proceedings”).

WHEREAS, prior to the date hereof, financing was provided to the Borrowers pursuant to that certain
Ninth Amended and Restated Credit Agreement, dated as of September 28, 2020 (as amended, restated,
amended and restated, supplemented or otherwise modified prior to the Filing Date, the “Original Senior
Credit Agreement”), by and among the Borrowers, the lenders from time to time party thereto (the
“Original Senior Lenders”), National Bank of Canada, in its capacity as administrative agent for the
Original Senior Lenders (in such capacity, the “Original Senior Agent”).

WHEREAS, the Loan Parties (as defined below) have requested that the Lenders (as defined below)
provide interim financing during the CCAA Proceedings and the Lenders have agreed to do so on the
terms and subject to the conditions set out in this term sheet (which, together with the Schedules, is
referred to as this “Term Sheet”), which upon execution by the Loan Parties shall become an enforceable
agreement, subject to the satisfaction of the conditions precedent herein and the approval of the Canadian
Court:

NOW THEREFORE, the mutual agreements contained in this Term Sheet, the Loan Parties hereby
agree with the Lenders as follows:

 1.   Borrowers:           Just Energy Ontario L.P. and Just Energy Group Inc. (collectively the
                           “Canadian Borrower”) and Just Energy (U.S.) Corp. (the “U.S. Borrower”,
                           and together with the Canadian Borrower, collectively, the “Borrowers”).

 2.   Guarantors:          Each of the Persons listed on Schedule A hereto including any other Person
                           that may become an Applicant in the CCAA Proceedings (collectively, the
                           “Guarantors”).

 3.   Lender:              LVS III SPE XV LP, a Delaware limited partnership, TOCU XVII LLC, a
                           Delaware limited liability company, HVS XVI LLC, a Delaware limited
                           liability company, and OC II LVS XIV LP, a Delaware limited partnership,
                           (collectively, and together with successors and permitted assigns, the “Lender”
                           or the “Lenders”).

 4.   Defined Terms:       Capitalized words and phrases used in this Term Sheet have the meanings
                           given thereto in Schedule B. Capitalized terms not defined in this Term
                           Sheet shall have the meanings given to such terms in the Original Senior
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                     Credit Agreement. Unless otherwise noted, all references to currency,
                     “dollars” or “$” shall refer to U.S. dollars.

5.   DIP Agent       Alter Domus (US) LLC as administrative agent and collateral agent for the
                     Lenders (together with its successors and assigns, in such capacities, the “DIP
                     Agent”).

6.   DIP Facility:   A first lien super-priority debtor-in-possession delayed-draw term loan credit
                     facility (the “DIP Facility”) in favor of the Borrowers is created by the DIP
                     Financing Order (as defined below), this Term Sheet and the Security
                     Documents during the Term for the purposes set out in Section 13, under which
                     the Lenders make available to the Borrowers, severally and not jointly,
                     principal advances up to $125,000,000 (such amount being the
                     “Commitment”). The maximum principal amount available to the Borrowers
                     shall at no time exceed $125,000,000 (the “Maximum Amount”), which
                     availability is subject to the continuing satisfaction of the Funding Conditions
                     at the time of each drawing. During the Term, the Borrowers may not re-borrow
                     amounts under the DIP Facility that are repaid.

7.   Term of DIP     The DIP Facility shall become effective upon the satisfaction or waiver of the
     Facility:       Initial Conditions and shall be available, subject to the satisfaction or waiver of
                     the Funding Conditions, until the earlier of (such date being the “Termination
                     Date” and the period between the DIP Facility becoming effective and the
                     Termination Date, the “Term”): (a) December 31, 2021; (b) the CCAA Plan
                     Implementation Date; (c) the expiry of the CCAA Stay; (d) the termination of
                     the CCAA Proceedings; or (e) the acceleration of the DIP Facility in accordance
                     with Section 26 herein upon the occurrence and during the continuation of an
                     Event of Default (as defined below). The Borrowers may, at any time and from
                     time to time prior to the Termination Date, prepay the Obligations in whole or
                     in part without premium or penalty. Effective on the Termination Date, the DIP
                     Facility and the Commitment shall terminate and the Obligations (including all
                     accrued and unpaid interest) shall become immediately due and payable in cash
                     in full without any further notice or actions by the Lender.

8.   Advances:       So long as the Funding Conditions have been satisfied or waived, the
                     Borrowers shall be permitted to obtain one or more advances (each an
                     “Advance”) under the DIP Facility, provided that:

                     (a)   the initial Advance shall be for a minimum aggregate amount of
                           $100,000,000;

                     (b) the final Advance shall be for a minimum aggregate amount equal to the
                           lesser of (i) $25,000,000 and (ii) the Maximum Amount less the aggregate
                           amount of the initial Advance;

                     (c)   the aggregate of all Advances shall at no time exceed the Maximum
                           Amount; and

                     (d) the Borrowers shall provide the DIP Agent with five (5) Business Days
                           (or such shorter period as the Lenders may agree in their sole discretion)
                           (by 11:00 am (Toronto time)) prior written notice requesting an Advance,


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                              substantially in the form of the advance request set out on Schedule D (an
                              “Advance Request”), setting out the amount of the Advance being
                              requested, the proposed date of the Advance and certifying that (i) no
                              Event of Default then exists and is continuing or would result therefrom,
                              (ii) that the use of proceeds of such Advance will comply with the Cash
                              Flow Statements, (iii) that the representations and warranties of the Loan
                              Parties are accurate in all material respects; provided, that any such
                              representation that is qualified as to “materiality” or “Material Adverse
                              Effect” shall be accurate in all respects, (iv) a flow of funds, and (v) the
                              other matters provided for in the Advance Request. DIP Agent shall
                              promptly notify each Lender of its respective pro rata share of such
                              Advance.

                        (e)   Each Lender shall make its pro rata share of such Advance available to the
                              DIP Agent at the account specified by the DIP Agent in writing, in same
                              day funds, by not later than 1:00 p.m. Toronto time on the Business Day
                              specified in the Advance Request and upon satisfaction of all Advance
                              Conditions for any Advance and receipt by the DIP Agent of all requested
                              funds, the DIP Agent shall make all funds so received available to the
                              Borrower in like funds by wire transer of such funds in accordance with
                              the Advance Request.

                        Notwithstanding anything else contained in this “Advances” section, the
                        maximum amount of the Advance which can be made by the Lenders prior to
                        the Canadian Court hearing the Comeback Motion (as defined below) or such
                        earlier date as may be ordered by the Canadian Court is $100,000,000.

9.   Interest:          The Borrowers shall pay interest on the principal amounts outstanding under
                        the DIP Facility during such period at a rate equal to 13.0% per annum,
                        calculated and payable quarterly in cash in arrears on the last Business Day of
                        each calendar quarter (commencing with the calendar quarter ending on June
                        30, 2021) by not later than 12:00 noon Toronto time to the account designated
                        by the DIP Agent in writing to the Borrowers from time to time until the
                        Obligations are repaid in full and the DIP Facility is terminated. All accrued
                        interest shall be due and payable in cash on the Termination Date.

                        Notwithstanding anything to the contrary set forth herein, if a court of
                        competent jurisdiction determines in a final order that the rate of interest
                        payable hereunder exceeds the highest rate of interest permissible under law
                        (the “Maximum Lawful Rate”), then so long as the Maximum Lawful Rate
                        would be so exceeded, the rate of interest payable hereunder shall be equal to
                        the Maximum Lawful Rate.

10. Default Interest:   After the occurrence of any Event of Default, the applicable interest rate
                        hereunder will automatically increase by an additional 2.0% per annum on all
                        Obligations until indefeasibly paid in full in cash. Interest at this higher rate
                        shall be payable on demand.

11. Fees:               The Lenders shall be entitled to a commitment fee (the “Commitment
                        Fee”) as consideration for making the DIP Facility available to the
                        Borrowers in an amount equal to 1.0% of the Maximum Amount, which


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                  Commitment Fee shall be fully earned and payable in cash on the Closing
                  Date.

                  The Lenders shall be entitled to an origination fee (the “Origination Fee”)
                  as consideration for the origination of the DIP Facility in an amount equal
                  to 1.0% of the Maximum Amount, which Origination Fee shall be fully
                  earned and payable in cash on the Closing Date.

                  The DIP Agent shall be entitled to the fees set forth in the DIP Agent Fee
                  Letter, which fees shall be fully earned and payable in cash in accordance
                  with the terms and conditions of the DIP Agent Fee Letter.

12. Costs and     The Borrowers will reimburse, without duplication, the DIP Agent and the
    Expenses:     Lenders, as applicable, for all reasonable and documented out-of-pocket
                  expenses, including (x) the reasonable and documented fees and expenses of
                  the DIP Agent, including reasonable and documented legal expenses of legal
                  counsel of the DIP Agent in connection with the CCAA Proceedings, the CCAA
                  Plan, the Chapter 15 Proceedings, the DIP Facility, this Term Sheet and the on-
                  going monitoring, administration and enforcement of the DIP Facility, (y)
                  reasonable and documented legal expenses of the legal counsel for the Lenders
                  in connection with the CCAA Proceedings, the CCAA Plan, the Chapter 15
                  Proceedings, the DIP Facility, this Term Sheet and the on-going monitoring,
                  administration and enforcement of the DIP Facility and (z) the reasonable and
                  documented expenses of such other additional advisors as the Lenders shall
                  determine are necessary (each, an “Other Advisor”); provided, that, in respect
                  of legal fees for (i) the DIP Agent, expense reimbursement shall be limtied ot
                  the fees of one primary U.S. counsel (originally Holland & Knight LLP), and
                  one local counsel in each reasonably necessary jurisdiction and (ii) the Lenders,
                  expense reimbursement shall be limited to the fees of one primary Canadian
                  counsel (originally Cassels Brock & Blackwell LLP), one primary U.S. counsel
                  (originally Akin Gump Strauss Hauer & Feld LLP), and one local counsel in
                  each reasonably necessary jurisdiction for all Lenders, taken as a whole and, in
                  respect of Other Advisor fees for the Lenders, expense reimbursement shall be
                  limited to the fees of one (1) such Other Advisor for all Lenders, taken as a
                  whole.

13. Purpose and   The Borrowers shall use Advances under the DIP Facility solely for the
    Permitted     following purposes, in each case in accordance with the CCAA Orders and the
    Payments:     Cash Flow Statements, subject to the Permitted Variance:

                  (a)   to pay the reasonable and documented legal fees and expenses of the Loan
                        Parties during the CCAA Proceedings and Chapter 15 Proceedings and the
                        reasonable and documented fees and expenses of any other advisors
                        retained by the Loan Parties during the CCAA Proceedings and the
                        Chapter 15 Proceedings;

                  (b) to pay the reasonable and documented fees and expenses of the Monitor
                        and its legal counsel;




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                  (c)   to pay the fees and expenses owing (x) to the DIP Agent, the Lenders and
                        their respective legal counsel and (y) Other Advisors, in each case, under
                        this Term Sheet and the other Loan Documents;

                  (d) to fund the general corporate and working capital requirements of the
                        Borrowers and Guarantors in a manner that is consistent with the Cash
                        Flow Statements (subject to Permitted Variances) and this Term Sheet;
                        provided that, on or prior to the entry into the Hungarian Security
                        Agreement (as defined below), the Borrowers shall only be permitted to
                        disburse the Advances to any Loan Party that is formed under the laws of
                        Hungary (or a political subdivision thereof) (the “Hungarian
                        Subsidiaries”) to fund the intercompany arrangement with each
                        Hungarian Subsidiary as disclosed to the Lenders prior to the Closing Date
                        and the Borrowers shall not use any portion of the Advances to fund the
                        general corporate and working capital requirements of any Subsidiary that
                        is not formed under the laws of the United States, Canada or Hungary (or,
                        in each case, a political subdivision thereof);

                  (e)   to pay pre-filing obligations to the extent any such payment is permitted
                        by the Initial Order, is consistent with the Cash Flow Statements (subject
                        to Permitted Variances) and is not contrary to this Term Sheet; and

                  (f)   to pay any other amount as approved by the Majority Lenders in their sole
                        discretion.

14. Security:     The Obligations shall be secured by a super-priority charge against and
                  attaching to the Property that secures the obligations arising under the Senior
                  Credit Agreement, created by Order of the Canadian Court and the US Court
                  in form and substance acceptable to the Lenders, in favor of the DIP Agent
                  securing the Obligations (the “DIP Facility Charge”).

                  The DIP Facility Charge shall rank first in priority as against the Property
                  (other than the Hungarian Subsidiaries) to any other Lien now or hereafter
                  against or attaching to the Property, (a) subject only to Permitted Priority Liens
                  and (b) the DIP Facility Charge will be pari passu with the Priority
                  Commodity/ISO Charge.

                  The Loan Parties shall furnish to the Lenders at the request in writing of the
                  Majority Lenders, debentures and other security agreements granting Liens in
                  favor of the Lenders as security for the Obligations, in form and substance
                  reasonably acceptable to the Majority Lenders (all such security documents
                  being collectively referred to as the “Security Documents”). It is contemplated
                  that the Loan Parties formed under the laws of the United States (or a state
                  thereof) shall enter into a general security agreement governed by the laws of
                  the State of New York and the Loan Parties formed under the laws of Canada
                  (or a province thereof) shall enter into a general security agreement governed
                  by the laws of the Province of Ontario, in each case, as of the Closing Date.
                  The Hungarian Subsidiaries shall enter into a general security agreement (or
                  equivalent thereof) governed by the laws of Hungary (the “Hungarian
                  Security Agreement”) within sixty (60) days of the Closing Date (as defined



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                   below) (or such other date as may be agreed to by the Majority Lenders in their
                   sole discretion).

15. Initial        The Commitment and the DIP Facility shall become effective upon the
    Conditions:    satisfaction or waiver by the Lenders of each of the following conditions
                   precedent (collectively, the “Initial Conditions” and the date of such
                   effectiveness, the “Closing Date”):

                   (a)   the Loan Parties shall have fully executed and delivered this Term Sheet
                         and all other Loan Documents (other than the Hungarian Security
                         Agreement);

                   (b) The side letter agreements with BP Energy Company (or its applicable
                         subsidiaries and affiliates) (“BP”) and Royal Dutch Shell plc (or its
                         applicable subsidiaries and affiliates) (“Shell”) shall be in form and
                         substance acceptable to the Lenders in their sole discretion (it being agreed
                         and understood that the executed side letters delivered to advisors to the
                         Lenders on or prior to the date hereof are acceptable to the Lenders);

                   (c)   the DIP Agent shall have received the fully executed DIP Agent Fee
                         Letter;

                   (d) each Canadian Issuing Lender (as defined in the Original Senior Credit
                         Agreement), US Issuing Lender (as defined in the Original Senior Credit
                         Agreement), and LC Lender (as defined in the Original Senior Credit
                         Agreement) shall continue to be permitted to issue Letters of Credit in
                         accordance with the terms of the Original Senior Credit Agreement
                         (pursuant to the Initial Order, any other CCAA Order or otherwise, other
                         than the satisfaction of any condition precedent to the issuance of Letters
                         of Credit that, as a consequence of the CCAA Proceedings, the Chapter
                         15 Proceedings, or the entry into and performance of this Term Sheet,
                         cannot be satisfied);

                   (e)   the Lender and DIP Agent shall have had a reasonable opportunity to
                         review advance copies of, and shall be reasonably satisfied with, all
                         materials to be filed in respect of the CCAA Proceedings;

                   (f)   the Canadian Court shall have issued the Initial Order on or before March
                         9, 2021, in the the form attached hereto as Schedule E to this Term Sheet;

                   (g)   the Lender and DIP Agent shall be satisfied that (i) the Loan Parties are in
                         compliance in all material respects with all Applicable Laws, in relation
                         to their businesses other than as may be permitted under a CCAA Order
                         or as to which any enforcement in respect of non-compliance is stayed by
                         a CCAA Order, (ii) the entering into of this Term Sheet, the granting of
                         the DIP Facility Charge, the consummation of the transactions
                         contemplated hereby and the performance hereof shall not violate any
                         Applicable Laws, (iii) each of the Applicants has obtained all corporate,
                         governmental, regulatory and third party approvals as may be required in
                         any relevant jurisdiction to enable and permit the entering into of this
                         Term Sheet, the granting of the DIP Facility Charge, the consummation


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                        of the transactions contemplated hereby and the performance thereof and
                        (iv) service has been effected on each holder of a Lien listed on the service
                        list agreed between the Loan Parties and the Lender (or their respective
                        counsel) as confirmed in the Initial Order;

                  (h)   the U.S. Bankruptcy Court shall enter an order pursuant to §1519 of the
                        U.S. Bankruptcy Code (the “US Initial Order”);

                  (i)   the Lenders and DIP Agent shall be satisfied in their sole discretion with
                        all motion and application materials to be filed by the Loan Parties in
                        connection with the Initial Order and the US Initial Order;

                  (j)   perfected liens in the Collateral (other than any Collateral owned by
                        Hungarian Subsidiaries) with the priorities described herein pursuant to
                        the Initial Order and US Initial Order, together with the execution and
                        delivery of all guarantees from all Loan Parties (other than any Hungarian
                        Subsidiaries) and personal property security documentation from all Loan
                        Parties (other than any Hungarian Subsidiaries) and applicable PPSA and
                        UCC perfection filings from the Loan Parties where practicable within one
                        (1) Business Day of the Closing Date;

                  (k)   delivery of the initial Cash Flow Statement in form and substance
                        acceptable to the Lenders in their sole discretion (it being agreed and
                        understood that the initial Cash Flow Statement delivered to counsel for
                        the Lenders at 9:11 p.m. Houston time on March 8, 2021 is acceptable to
                        the Lenders);

                  (l)   the DIP Agent and the Lenders, as applicable, shall have received all fees
                        and expenses required to be paid on the Closing Date, including the
                        Commitment Fee, Origination Fee and the fees due the DIP Agent
                        pursuant to the DIP Agent Fee Lettter, which fees shall be paid by the
                        Borrowers by reducing the portion of the aggregate initial Advance
                        payable to the Borrowers by the quantum of such fees;

                  (m) each Loan Party shall have executed and delivered to the DIP Agent and
                        the Lenders an officer’s certificate regarding standard corporate matters
                        with copies of the organizational documents, authorizing resolutions and
                        incumbency certificate as schedules, in form and substance satisfactory to
                        the DIP Agent and the Lenders acting reasonably; and

                  (n)   no Default or Event of Default shall have occurred.

16. Advance       The Lender’s obligation to fund any Advance to the Borrowers is subject to the
   Conditions:    satisfaction of each of the following conditions precedent (the “Advance
                  Conditions” and together with the Initial Conditions, collectively, the
                  “Funding Conditions”):

                  (a)   the Initial Conditions shall have been satisfied or waived by the DIP Agent
                        (at the direction of the Lenders in their sole discretion);




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               (b) the aggregate of the outstanding Advances shall not exceed the Maximum
                     Amount and the provision of the Advance shall not result in the Maximum
                     Amount being exceeded;

               (c)   the DIP Agent shall have received a duly executed Advance Request
                     within the time frame required by this Term Sheet;

               (d) no Default or Event of Default shall have occurred or will occur as a result
                     of an Advance;

               (e)   the representations and warranties of the Loan Parties in this Term Sheet
                     shall be true and correct in all material respects;

               (f)   with respect to any advance to be made on or after March 9, 2021, all
                     reasonable and documented expenses of the DIP Agent and the Lenders
                     have been paid in full to the extent required under Section 12 (to the extent
                     invoiced to the Borrower at least two (2) Business Days prior to drawing);

               (g)   neither the Initial Order nor any other CCAA Order shall be the subject of
                     any leave for appeal, appeal or stay application, and neither the Initial
                     Order nor any other CCAA Order shall have been appealed (including
                     without limitation pursuant to a leave for appeal application), terminated,
                     stayed, amended, vacated or otherwise revised in a manner that is in any
                     way adverse to the Lenders except to the extent consented to by the
                     Majority Lenders in their sole discretion, and each of such Initial Order
                     and other CCAA Orders are and shall continue to be in full force and
                     effect;

               (h)   there shall not have occurred a Material Adverse Effect since the Closing
                     Date and no Material Adverse Effect shall result from the Advance;

               (i)   in connection with the initial Advance, the Canadian Court shall have
                     issued a CCAA Order in form and substance satisfactory to the Lenders
                     in their sole discretion granting a DIP Facility Charge securing an amount
                     not less than the aggregate amount of the initial Advance (without giving
                     effect to any reduction in the net amount of the initial Advance payable to
                     the Borrowers in accordance with Section 15(l));

               (j)   since the commencement of the CCAA Proceedings, there shall not have
                     occurred any payment, prepayment, redemption, purchase or exchange of
                     any prepetition funded indebtedness or equity, or amendment or
                     modification of any of the terms thereof, except as expressly permitted by
                     the terms of the Initial Order or any other CCAA Order;

               (k)   with respect to any advance to be made after March 9, 2021, the
                     Applicants’ application materials in connection with its CCAA comeback
                     motion for the Initial Order (the “Comeback Motion”) shall be
                     satisfactory to the Lenders;

               (l)   with respect to any advance to be made after March 9, 2021: on or before
                     March 19, 2021, the Canadian Court shall have heard the Comeback



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                           Motion and the Initial Order shall not have been amended, restated,
                           supplemented or otherwise modified as a result of the Comeback Motion
                           or otherwise in a manner adverse to the Lenders without the written
                           consent of the Majority Lenders; provided that the Canadian Court shall
                           have issued an order amending, restating, supplementing or otherwise
                           modifying the Initial Order, in form and substance acceptable to the
                           Lenders (such order, together with the Initial Order, the US Initial Order
                           and the US Final Recognition Order, the “DIP Financing Order”) as
                           necessary to (i) approve service and/or substitute service on all holders of
                           Liens likely to be affected by the DIP Facility Charge and on all other
                           necessary or appropriate parties as agreed between the Loan Parties and
                           the Lenders; (ii) approve the Maximum Amount of the DIP Facility on the
                           terms of this Term Sheet; and (iii) provide that the DIP Facility Charge
                           (1) shall have priority over all Liens of the CCAA Applicants, other than
                           the Permitted Priority Liens and the Priority Commodity/ISO Charge (as
                           defined in the Initial Order) and (2) shall be pari passu with the Priority
                           Commodity/ISO Charge;

                     (m) with respect to any advance to be made after March 9, 2021, on or before
                           April 8, 2021, the U.S. Bankruptcy Court shall recognize the amended and
                           restated Initial Order of the Canadian Court (as amended, extended or
                           replaced from time to time, the “US Final Recognition Order”);

                     (n)   the DIP Financing Order shall not have been stayed, vacated or otherwise
                           amended, restated or modified in a manner that impacts the rights and
                           interests of the Lenders, without the written consent of the Lenders in their
                           sole discretion; and

                     (o) there shall be no Liens ranking in priority to the DIP Facility Charge over
                           the Property, other than the Permitted Priority Liens.

17. Waiver of        The Funding Conditions are for the sole benefit of the DIP Agent and the
    Funding          Lenders and may be waived by the Majority Lenders in whole or in part with
    Conditions:      or without terms or conditions, in respect of all or any portion of an Advance,
                     without affecting the right of the Lenders to assert such terms and conditions
                     in whole or in part in respect of any other Advance.

18. Cash Flow        Attached as Schedule C is a copy of the consolidated statement setting out the
    Statements and   weekly projected cash flow forecasts of cash disbursements of the Borrowers
    Variance         for a 13-week period from the date of this Term Sheet (the “Initial Cash Flow
    Reporting:       Statements”), which each Lender acknowledges is in form and substance
                     satisfactory to such Lender.

                     Once every 4 weeks, the Borrowers shall deliver (i) a new consolidated
                     statement setting out the weekly projected cash flow forecasts of cash
                     disbursements of the Borrowers for a 13-week period from the date of delivery
                     thereof, which new statement shall replace the immediately preceding
                     statement of cash flow forecasts in its entirety upon the Majority Lenders’
                     approval thereof, and (ii) a variance report setting out actual versus projected
                     cash disbursements since the date of the Initial Order on an individual and
                     aggregate basis (excluding disbursements related to (a) professional advisory


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                   fees and (b) ERCOT related settlements in connection with the “black swan”
                   weather events that occurred in the State of Texas in February 2021 of the type
                   that have been previously approved by the Majority Lenders in their sole
                   discretion (collectively, the “Excluded Disbursements”)), with explanations
                   for such variances (with the Initial Cash Flow Statements and each subsequent
                   statements being the “Cash Flow Statements”), which subsequent Cash Flow
                   Statements shall be delivered to the Lenders every Thursday following the last
                   Business Day of every fourth week during the Term and so long as the
                   Obligations remain outstanding and shall be in form and substance satisfactory
                   to the Majority Lenders, acting reasonably.

                   The Majority Lenders shall have the right to approve any Cash Flow Statements
                   (other than the Initial Cash Flow Statements) in their reasonable discretion;
                   provided, that if the Majority Lenders have not approved or denied a proposed
                   Cash Flow Statement within three (3) Business Days of the Borrowers
                   providing such Cash Flow Statements to the Lender, then such Cash Flow
                   Statements shall be deemed approved. If the Majority Lenders refuse to
                   approve any Cash Flow Statement, the most recently approved Cash Flow
                   Statement shall continue to be effective and any future variance reports shall
                   reference such Cash Flow Statement until such time as the Majority Lenders
                   approve a replacement Cash Flow Statement.

19. Voluntary      The Borrowers may prepay, upon advance writtten notice to the DIP
    Prepayments:   Agent not later than 12:00 noon Toronto time one (1) Business Day prior
                   to such voluntary prepayment date, any Obligations outstanding under
                   the DIP Facility without premium or penalty at any time prior to the
                   Termination Date; provided that any prepayment shall be in a minimum
                   amount of $25,000,000 or in multiples of $1,000,000 in excess thereof.

                   Any payments made under the DIP Facility shall be applied first towards
                   unpaid fees and expenses of the DIP Agent, second towards accrued and unpaid
                   interest and fees, third to unpaid expenses of the Lenders (including the
                   Lender’s counsel and Other Advisor), and fourth towards principal of amounts
                   outstanding.

20. Mandatory      Unless otherwise consented to in writing by the Majority Lenders, the
    Prepayments:   Borrowers shall prepay, upon advance writtten notice to the DIP Agent
                   not later than 12:00 noon Toronto time one (1) Business Day prior to such
                   mandatory prepayment date, the Obligations in an amount equal to (i)
                   100% of the net cash proceeds, including insurance proceeds and
                   condemnation and similar awards, of the sale, transfer, disposition, loss,
                   destruction, damage, condemnation, seizure, taking, confiscation,
                   requisition of any of the Loan Parties’ Property outside the ordinary
                   course of business, in each case, to the extent such net cash proceeds are
                   in excess of $1,000,000 in respect of any individual event of series of
                   related events) and (ii) 100% of the gross proceeds of the sale or issuance
                   of any indebtedness (other than indebtedness permitted under this Term
                   Sheet).

21. Currency:      If any payment is received by the DIP Agent in a currency other than dollars,
                   or, if for the purposes of obtaining judgment in any court it is necessary to


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                      convert a sum due in one currency (the “Original Currency”) into another
                      currency (the “Other Currency”), the Loan Parties agree that the rate of
                      exchange used shall be the rate at which the DIP Agent is able to purchase the
                      Original Currency with the Other Currency after any premium and costs of
                      exchange on the Business Day preceding that on which such payment is to be
                      made or final judgment is given.

22. Representations   See attached Schedule G.
    and Warranties:

23. Affirmative       See attached Schedule H.
    Covenants:

24. Negative          See attached Schedule I.
    Covenants:

25. Events of         The occurrence of any one or more of the following events shall constitute an
    Default:          event of default (each an “Event of Default”) under this Term Sheet:

                      (a)   failure by a Loan Party to make any payment of the Obligations upon such
                            payment becoming due under this Term Sheet (subject to a three (3)
                            Business Day cure period in the case of interest, fees and any other
                            amounts (other than principal amounts) due hereunder);

                      (b) failure by a Loan Party to (i) comply with the terms of any CCAA Order,
                            (ii) deliver any Cash Flow Statement by the date set out therefor in Section
                            18 or, (iii) perform or comply with any of the other covenants set out
                            herein;

                      (c)   if the Loan Parties fail to complete any action or step required to be
                            completed by the following CCAA Plan Milestone Dates (unless extended
                            by the Majority Lenders):

                            (i)   the Comeback Motion shall have been heard by the Canadian Court
                                  and the amended and restated Initial Order shall have been granted
                                  by the Canadian Court in a form acceptable to the Lenders within
                                  ten (10) days of the of the commencement of the CCAA Proceedings
                                  (the “Filing Date”)

                            (ii) the U.S. Bankruptcy Court shall entered the US Final Recognition
                                  Order within 30 days of the Filing Date;

                            (iii) the Hungarian Subsidiaries shall enter into the Hungarian Security
                                  Agreement within sixty (60) days of the Closing Date (or such other
                                  date as may be agreed to by the Majority Lenders in their sole
                                  discretion);

                            (iv) delivery of a business plan reasonably acceptable to the Lenders
                                  within ninety (90) days of the Filing Date;




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                     (v)   (a) delivery to the Lenders of a term sheet (“Recapitalization Term
                           Sheet”) for a recapitalization transaction (“Recapitalization Plan”)
                           reasonably acceptable to the Lenders within 120 days of the Filing
                           Date and (b) compliance with all milestones contained in the
                           Recapitalization Term Sheet;

                     (vi) if applicable, an order of the Canadian Court approving a meeting
                           for a vote on the Recapitalization Plan (and approving all materials
                           in connection therewith) (the “CCAA Meetings Order”) shall have
                           been entered within 160 days of the Filing Date;

                     (vii) if applicable, the meeting materials in respect of the Recapitalization
                           Plan shall have been mailed to all relevant stakeholders within 165
                           days of the Filing Date;

                     (viii) if applicable, an order of the U.S. Court recognizing the CCAA
                           Meetings Order shall have been entered within 180 days of the Filing
                           Date;

                     (ix) if applicable, a meeting for a vote on the Recapitalization Plan shall
                           have been held within 190 days of the Filing Date;

                     (x)   if applicable, an order of the Canadian Court approving
                           Recapitalization Plan (the “CCAA Plan Approval Order”) shall
                           have been entered within 200 days of the Filing Date; and

                     (xi) if applicable, an order of the U.S. Court recognizing the CCAA Plan
                           Approval Order shall have been entered within 215 days of the Filing
                           Date.

               (d) any representation or warranty of the Loan Parties made in this Term
                     Sheet or any other Loan Document is incorrect or misleading in any
                     material respect as of the date made;

               (e)   non-compliance under (i) any affirmative covenants, (other than the
                     affirmative covenants in Section 23(6) and Section 23(29)(b)) subject to a
                     grace period of (x) five (5) days with respect to the affirmative covenants
                     in Section 23(2), 23(3), 23(12), 23(13), 23(14), 23(16), 23(17), 23(19),
                     23(20), 23(28) and 23(30)(h) through (n), or otherwise (y) three (3) days,
                     in each case measured from the date of knowledge by any Loan Party or
                     notice by the DIP Agent (at the direction of the Majority Lenders) to the
                     Borrowers, (ii) the affirmative covenants in Section 23(6) and Section
                     23(29)(b), or (iii) any negative covenants;

               (f)   termination of any material Hedging Agreement, Applicable Commodity
                     Supply Agreement or other agreements with BP and Shell Energy Entities;

               (g)   issuance of an order (i) dismissing the CCAA Proceedings or lifting the
                     stay in the CCAA Proceedings to permit the enforcement of any security
                     against any Loan Party or the Collateral, the appointment of a receiver,
                     interim receiver or similar official, an assignment in bankruptcy, or the



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                     making of a bankruptcy order or receiving order against or in respect of
                     any Loan Party, in each case which order is not stayed pending appeal
                     thereof, and other than in respect of a non-material asset not required for
                     the operations of any Loan Party’s business and which is subject to a
                     Permitted Priority Lien; (ii) granting any other Lien in respect of the
                     Collateral that is in priority to or pari passu with the DIP Facility Charge
                     other than as expressly permitted pursuant to this Term Sheet; (iii) staying,
                     reversing, vacating or otherwise modifying this Term Sheet or any Loan
                     Document, any CCAA Order without the prior written consent of the
                     Lenders, (x) in its sole discretion in respect of any CCAA Order or
                     amendment thereto relating to the DIP Facility or any other matter that
                     affects the Lenders adversely in any material respect and (y) acting
                     reasonably in respect of any other amendment; or (iv) by the Canadian
                     Court or the U.S. Court which in any way adversely affects the rights or
                     interests of the Lenders in any material respect and that is not acceptable
                     to the Lenders in their sole discretion;

               (h)   unless consented to by the Majority Lenders, the expiry without further
                     extension of the CCAA Stay;

               (i)   unless consented to by the Majority Lenders, the Canadian Court shall
                     enter an order or orders allowing one or more creditors to execute upon or
                     enforce Liens on any Property of the Loan Parties which has a fair market
                     value in excess of $1,000,000 in the aggregate;

               (j)   the DIP Facility Charge shall cease to be a valid, perfected and enforceable
                     super-priority Lien that ranks in priority to all other Liens against the
                     Property other than Permitted Priority Liens and the Priority
                     Commodity/ISO Charge (which shall be pari passu with the DIP Facility
                     Charge);

               (k)   the making of any payments in respect of prepetition obligations other
                     than as permitted by this Term Sheet or the Initial Order or any other
                     CCAA Order;

               (l)   the denial or repudiation by any Loan Party of the legality, validity,
                     binding nature or enforceability of any Loan Document, the DIP Facility
                     Charge or any Lien created by a Loan Document;

               (m) any employees subject to the KERP or any directors of the Loan Parties
                     shall have been terminated or removed without the consent of the Lender;

               (n)   unless the Lenders have consented thereto in writing, the filing by any of
                     the Loan Parties of any motion or proceeding which (i) is not consistent
                     with any provision of this Term Sheet, the Loan Documents, the Initial
                     Order, or the DIP Financing Order, as applicable, (iii) could otherwise
                     reasonably be expected to adversely affect the interests of the Lender, (iv)
                     seeks an order which, if granted, could reasonably be expected to result in
                     a Material Adverse Effect, (v) seeks to continue the CCAA Proceedings
                     under the jurisdiction of a court other than the Court or (vi) seeks to initiate




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                          any restructuring proceedings other than the CCAA Proceedings or the
                          Chapter 15 Proceedings in any court or jurisdiction; and

                    (o) the U.S. Bankruptcy Court refusing to recognize any order made under the
                          CCAA which the Majority Lenders determine in their sole discretion is
                          material.

26. Remedies:       Upon the occurrence and during the continuance of an Event of Default, subject
                    to the DIP Financing Order, the Majority Lenders or the DIP Agent (acting at
                    the direction of the Majority Lenders) may:

                    (a)   immediately terminate the Commitment and the DIP Facility;

                    (b) declare the Obligations to be immediately due and payable;

                    (c)   subject to the Canadian Court’s order (which may only be sought on five
                          days’ notice to the Borrowers and the service list in the CCAA
                          Proceeding), to exercise any and all of the rights and remedies of the
                          Lenders or the DIP Agent against the Loan Parties or the Property under
                          or pursuant to this Term Sheet, the other Loan Documents and the DIP
                          Facility Charge, including without limitation for the appointment of a
                          receiver, receiver and manager or interim receiver, or for a bankruptcy
                          order against one or more of the Loan Parties and for the appointment of
                          a trustee in bankruptcy of one or more of the Loan Parties (provided that
                          all such remedies shall be directed by the Majority Lenders);

                    (d) set-off or consolidate any amounts then owing by the Lenders to a Loan
                          Party against the Obligations; and

                    (e)   subject to the Canadian Court’s order (which may only be sought on five
                          days’ notice to the Borrowers and the service list in the CCAA
                          Proceeding), exercise all such other rights and remedies under Applicable
                          Law (provided, that, other than as provided in clause (b) above, all such
                          rights and remedies shall be directed by the Majority Lenders).

                    The rights, powers and remedies under this Term Sheet, the other Loan
                    Documents and the DIP Facility Charge are cumulative and are in addition to
                    and not in substitution for any other rights, powers and remedies available at
                    law or in equity or otherwise (provided that all such rights, powers and
                    remedies shall be directed by the Majority Lenders, except as otherwise
                    expressly set forth above). No single or partial exercise by the Lenders of any
                    right, power or remedy precludes or otherwise affects the exercise of any other
                    right, power or remedy to which the Lenders may be entitled.

27. Indemnity and   The Loan Parties agree to indemnify and hold harmless the DIP Agent and each
    Release:        of the Lenders, solely in their capacity as Lenders under the DIP Facility, and
                    the DIP Agent, solely in its capacity as DIP Agent under the DIP Facility, and
                    each of their respective directors, officers, employees, advisors and agents (all
                    such persons and entities being referred to hereafter as “Indemnified
                    Persons”) from and against any and all actions, suits, proceedings, claims,
                    losses, damages and liabilities of any kind or nature whatsoever (excluding


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                     indirect or consequential damages and claims for lost profits) which may be
                     incurred by or asserted against any Indemnified Person, solely in their capacity
                     as Lenders or DIP Agent under the DIP Facility, as applicable, as a result of or
                     arising out of or in any way related to the CCAA Proceedings, the Chapter 15
                     Proceedings, the DIP Facility or any Loan Document and, upon demand, to pay
                     and reimburse any Indemnified Person for any reasonable legal or other out-
                     of-pocket expenses incurred in connection with investigating, defending or
                     preparing to defend any such action, suit, proceeding or claim; provided,
                     however, the Loan Party shall not be obligated to indemnify any Indemnified
                     Person against any loss, claim, damage, expense or liability (x) to the extent it
                     resulted from the gross negligence or willful misconduct of such Indemnified
                     Person as finally determined by a court of competent jurisdiction, or (y) to the
                     extent arising from any dispute solely among Indemnified Persons (except for
                     any dispute between the DIP Agent, in its capacities as administrative agent
                     and collateral agent, and any other Indmenified Person) other than any claims
                     arising out of any act or omission on the part of the Loan Party.

                     No party hereto shall be responsible or liable to any other party hereto or any
                     other person for consequential damages, loss of profits or punitive damages.

28. Borrowers’ and   Any consent, agreement, amendment, approval, waiver or instruction of the
    Lender’s         Borrowers, DIP Agent or Lenders to be delivered hereunder, may be delivered
    Approvals:       by any written instrument, including by way of electronic mail, by the
                     Borrowers, DIP Agent or Lenders (or Majority Lenders, as the case may be) or
                     their respective counsels on their behalf.

29. Further          The Loan Parties shall, at their expense, from time to time do, execute and
    Assurances:      deliver, or will cause to be done, executed and delivered, all such further acts,
                     documents and things as the DIP Agent (at the direction of the Majority
                     Lenders) may reasonably request for the purpose of giving effect to this Term
                     Sheet, any other Loan Document and the DIP Facility Charge.

30. Interest Act     All interest and fees shall be computed on the basis of a year of 365 days,
    Compliance:      provided that whenever a rate of interest or fee hereunder is calculated on the
                     basis of a year (the “deemed year”) that contains fewer days than the actual
                     number of days in the calendar year of calculation, such rate of interest or fee
                     rate shall be expressed as a yearly rate by multiplying such rate of interest or
                     fee by the actual number of days in the calendar year of calculation and dividing
                     it by the number of days in the deemed year.

31. Entire           This Term Sheet and the other Loan Documents constitute the entire agreement
    Agreement;       between the parties pertaining to the subject matter thereof and supersede all
    Conflict:        prior agreements, understandings, negotiations and discussions, whether oral or
                     written, of the parties, and there are no representations, warranties or other
                     agreements between the parties in connection with the subject matter thereof
                     except as specifically set out herein and therein. None of the Loan Parties have
                     been induced to enter into this Term Sheet or any other Loan Document in
                     reliance on, and there will be no liability assessed, either in tort or contract, with
                     respect to, any warranty, representation, opinion, advice or assertion of fact,
                     except to the extent it has been reduced to writing and included as a term in this
                     Term Sheet or in any of the other Loan Document. To the extent that there is


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                      any inconsistency between this Term Sheet and any of the other Loan
                      Documents once executed, this Term Sheet shall govern unless such Loan
                      Document specifically states otherwise.

32. Rules of          (a)   References in this Term Sheet to Sections and Schedules mean to sections
    Interpretation:         of and schedules to this Term Sheet.

                      (b) No waiver or delay on the part of the DIP Agent or the Lenders in
                            exercising any right or privilege under any Loan Document will operate
                            as a waiver hereof or thereof unless made in writing by the DIP Agent and
                            the Lenders and delivered in accordance with the terms of this Term Sheet,
                            and then such waiver shall be effective only in the specific instance and
                            for the specific purpose given. Unless otherwise stated in this Term Sheet,
                            the granting of any waiver or delay on the part of the Lenders shall be in
                            the Lender’s sole and absolute discretion.

                      (c)   No approval, consent or permission on the part of the DIP Agent or the
                            Lenders in exercising any right or privilege under any Loan Document
                            will operate as an approval, consent or permission hereof or thereof unless
                            made in writing by the DIP Agent and the Lenders and delivered in
                            accordance with the terms of this Term Sheet, and then such approval,
                            consent or permission shall be effective only in the specific instance and
                            for the specific purpose given. Unless otherwise stated in this Term Sheet,
                            the granting of any approval, consent or permission by the Lenders shall
                            be in the Lender’s sole and absolute discretion.

                      (d) In this Term Sheet, words signifying the singular number include the
                            plural and vice versa, and words signifying gender include all genders.
                            Every use of the words “including” or “includes” in this Term Sheet is to
                            be construed as meaning “including, without limitation” or “includes,
                            without limitation”, respectively.

                      (e)   The division of this Term Sheet into Sections and the insertion of headings
                            are for convenience of reference only and do not affect the construction or
                            interpretation of this Term Sheet.

                      (f)   Unless otherwise specified in this Term Sheet, a time period within which
                            or following which any calculation or payment is to be made, or action is
                            to be taken, will be calculated by excluding the day on which the period
                            begins and including the day on which the period ends. If the last day of a
                            time period is not a Business Day, the time period will end on the next
                            Business Day.

                      (g)   Wherever reference is made in this Term Sheet to a calculation to be made
                            in accordance with IFRS, the reference is to the generally accepted
                            accounting principles in Canada, applied on a consistent basis, and
                            statements and interpretations (if applicable) issued by the Canadian
                            Institute of Chartered Accountants or any successor body from time to
                            time, including International Financial Reporting Standards.




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                   (h)   Time is of the essence in all respects in this Term Sheet.

                   (i)   Unless otherwise specified in this Term Sheet, any reference to any statute
                         includes all regulations and subordinate legislation made under or in
                         connection with that statute at any time, and is to be construed as a
                         reference to that statute as amended, modified, restated, supplemented,
                         extended, re-enacted, replaced or superseded at any time.

                   (j)   This Term Sheet enures to the benefit of and is binding upon the parties
                         and their respective successors and permitted assigns.

33. Amendments     Unless otherwise agreed, no amendment, discharge, modification, restatement,
    and Waivers:   supplement, termination or waiver of this Term Sheet or any provision hereof
                   is binding unless it is in writing and executed by the DIP Agent, Majority
                   Lenders and the Borrowers. Notwithstanding the foregoing, the consent of all
                   Lenders affected thereby shall be required for any amendment, discharge,
                   modification, restatement, supplement, termination or waiver if such
                   amendment, discharge, modification, restatement, supplement, termination or
                   waiver:

                   (a)   would increase the amount of the Commitments held by such Lender;

                   (b) reduce the fees payable or interest rates to such Lender;

                   (c)   extend any date fixed for payment of principal or interest of such Lender;

                   (d) extend the scheduled repayment dates of the Advances, change the type
                         or currency of the Advances available or the notice periods, or change the
                         definition of Majority Lenders;

                   (e)   discharge, terminate or waive any material part of the Liens, or amend any
                         of the Liens in a manner that would have that effect, other than pursuant
                         to the terms hereof; or

                   (f)   amend this Section 33.

                   No amendment, discharge, modification, restatement, supplement, termination
                   or waiver that affects the rights, duties and obligations of the DIP Agent shall
                   be effective unless in writing and executed by the DIP Agent.

                   No waiver of, failure to exercise, or delay in exercising, any provision of this
                   Term Sheet constitutes a waiver of any other provision (whether or not similar)
                   nor does any waiver constitute a continuing waiver unless otherwise expressly
                   provided.

34. Assignment:    The Lenders may assign or grant participation interests in all or part of their
                   interest in the Loan Documents, the Obligations and the DIP Facility Charge
                   in whole or in part to any Person, subject to (i) providing the Monitor with
                   reasonable evidence that such assignee has the financial capacity to fulfill the
                   obligations of the Lender hereunder, (ii) providing the DIP Agent with (x) a
                   fully compiled and completed Assignment and Assumption form, together



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                    with, for any new Lender, a fully completed adminisrative questionnaire, all
                    know your customer documentation requested by the DIP Agent, an IRS Form
                    W-9 os such other applicable IRS Form, and (y) the $3,500 transfer fee, and
                    (iii) the prior written consent of the Borrower such consent not to be
                    unreasonably withheld or delayed, unless either (A) an Event of Default has
                    occurred and is continuing or (B) the assignee is an affiliate of the Lender or
                    a fund managed by the Lender. Neither this Term Sheet, any other Loan
                    Document nor any right or obligation hereunder or thereunder may be
                    assigned by the Borrowers or any other Loan Party. Notwithstanding the
                    foregoing, no assignment or grant of participation interests by the Lenders
                    shall include any right of the Lenders to provide its approval or consent
                    hereunder.

                    Upon confirmation by the DIP Agent that (i), (ii) and (iii) above have been
                    satisfied, the DIP Agent shall record such Assignment and Assumption in the
                    register and at such time the assignee Lender shall, to the extent of the interst
                    assigned by such Assignment and Assumption, have the rights and obligations
                    of an Lender under this Term Sheet, and the assigning Lender thereunder shall,
                    to the extent of the interest assigned by such Assignment and Assumpiton, be
                    released from its obligations under this Term Sheet.

35. Taxes:          All payments by or on account of any obligation of any Loan Party under any
                    Loan Documents, including any payments required to be made from and after
                    the exercise of any remedies available to the Lenders upon an Event of Default,
                    shall be made free and clear of, and without reduction for or on account of, any
                    present or future taxes, levies, imposts, duties, charges, fees, deductions or
                    withholdings of any kind or nature whatsoever or any interest or penalties
                    payable with respect thereto now or in the future imposed, levied, collected,
                    withheld or assessed by any country or any political subdivision of any country
                    (collectively “Taxes”); provided, however, that if any Taxes (other than
                    Excluded Taxes) are required by Applicable Law to be withheld
                    (“Withholding Taxes”) from any amount payable to the Lenders under the
                    Loan Documents, the amount so payable to the Lenders shall be increased to
                    the extent necessary so that after making all required deductions, including
                    deductions applicable to amounts payable under this section, the Lenders will
                    receive on such payment date an amount equal to the amount it would have
                    received had no such deductions in respect of such Taxes been made. Each
                    Loan Party shall timely pay to the relevant Governmental Authority any
                    Withholding Taxes and the relevant Loan Party shall provide evidence
                    satisfactory to the Lenders that the Taxes have been so withheld and remitted.
                    Each Loan Party shall indemnify Lender for the full amount of any Taxes (other
                    than Excluded Taxes) imposed on or with respect to any obligation of any Loan
                    Party under any Loan Document or on account of any obligation of any Loan
                    Party paid by Lender and any penalties, interest and reasonable expenses
                    arising therefrom or with respect thereto, whether or not such Taxes were
                    correctly or legally imposed or asserted by the relevant Governmental
                    Authority.

36. Severability:   Any provision in this Term Sheet which is prohibited or unenforceable in any
                    jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
                    prohibition or unenforceability without invalidating the remaining provisions


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                      hereof or affecting the validity or enforceability of such provision in any other
                      jurisdiction.

37. No Third Party    No person, other than the Loan Parties, the DIP Agent, the Lenders and the
    Beneficiary:      Indemnified Parties, is entitled to rely upon this Term Sheet or the other Loan
                      Document and the parties expressly agree that this Term Sheet and the other
                      Loan Documents do not confer rights upon any other party.

38. Counterparts      This Term Sheet may be executed in any number of counterparts and by email
    and Electronic    or other electronic transmission including “pdf email”, each of which when
    Signatures:       executed and delivered shall be deemed to be an original, and all of which
                      when taken together shall constitute one and the same instrument.

39. Notices:          Any notice, request or other communication hereunder to any of the
                      parties shall be in writing and be well and sufficiently given if delivered
                      personally or sent by mail or electronic mail to the such Person at its
                      address set out on its signature page hereof. Any such notice, request or
                      other communication hereunder shall be concurrently sent to the Monitor
                      and its counsel.

                      Any such notice shall be deemed to be given and received when received,
                      unless received after 5:00 p.m. Toronto Time or on a day other than a Business
                      Day, in which case the notice shall be deemed to be received the next Business
                      Day.

40. Governing Law     This Term Sheet shall be governed by, and construed in accordance with, the
    & Jurisdiction:   laws of the Province of Ontario and the federal laws of Canada applicable
                      therein, and the parties irrevocably attorn to the non-exclusive jurisdiction of
                      the courts of the Province of Ontario.

41. Agent as          Without limiting the power of the DIP Agent hereunder or under any other
    hypothecary       Loan Document, each of the Lenders hereby acknowledges that for the
    representative    purposes of holding any hypothec granted or to be granted by any Loan Party
    (Fondé de         under any deed of hypothec (“Deed of Hypothec”) pursuant to the laws of the
    Pouvoir):         Province of Quebec to secure payment of any obligation under this Term Sheet
                      or any other Loan Document, the DIP Agent is hereby appointed to act as the
                      hypothecary representative (fondé de pouvoir) pursuant to Article 2692 of the
                      Civil Code of Quebec to act on behalf of each of the Lenders, and each Loan
                      Party and each Lender hereby confirms and agrees to such appointment. Each
                      Person which is or becomes Lender and each assignee of a Lender shall be
                      deemed to have ratified the aforesaid appointment of the DIP Agent. The DIP
                      Agent agrees to act in such capacity. The DIP Agent, in such capacity, shall (x)
                      have the sole and exclusive right and authority to exercise, except as may be
                      otherwise specifically restricted by the terms hereof, all rights and remedies
                      given to the DIP Agent with respect to the collateral under a Deed of Hypothec,
                      applicable law or otherwise, and (y) benefit from and be subject to all
                      provisions hereof with respect to the DIP Agent, mutatis mutandis, including
                      without limitation all such provisions with respect to the liability or
                      responsibility to and indemnification by the Loan Parties and/or the Lenders.
                      Without prejudice to the ”Governing Law & Jurisdiction” section above, the



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                  provisions of this Section 41 shall be also governed by the laws of the Province
                  of Quebec.

42. DIP Agent     Each Loan Party and each Lender agrees to the terms set forth on Schedule F
   Provisions     attached hereto.


                               [signature pages follow]




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                                            SCHEDULE A

                                            GUARANTORS

1. Just Energy Corp.

2. Just Energy Manitoba L.P.

3. Just Energy (B.C.) Limited Partnership

4. Just Energy Québec L.P.

5. Ontario Energy Commodities Inc.

6. Just Energy Trading L.P.

7. Just Energy Alberta L.P.

8. Universal Energy Corporation

9. Just Energy Finance Canada ULC

10. Hudson Energy Canada Corp.

11. Just Green L.P.

12. Just Energy Prairies L.P.

13. Just Management Corp.

14. Just Energy Illinois Corp.

15. Just Energy Indiana Corp.

16. Just Energy Massachusetts Corp.

17. Just Energy New York Corp.

18. Just Energy Texas I Corp.

19. Just Energy Texas LP

20. Just Energy, LLC

21. Just Energy Pennsylvania Corp.

22. Just Energy Michigan Corp.

23. Just Energy Solutions Inc.

24. Hudson Energy Services LLC

25. Hudson Energy Corp.
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26. Interactive Energy Group LLC

27. Hudson Parent Holdings LLC

28. Drag Marketing LLC

29. Just Energy Advanced Solutions LLC

30. Just Energy Advanced Solutions Corp.

31. Fulcrum Retail Energy LLC

32. Fulcrum Retail Holdings LLC

33. Tara Energy, LLC

34. Just Energy Marketing Corp.

35. Just Energy Connecticut Corp.

36. Just Energy Limited

37. Just Solar Holdings Corp.¶

38. Just Energy Finance Holding Inc.

39. Just Energy (Finance) Hungary Zrt.

40. 11929747 Canada Inc.

41. 12175592 Canada Inc.

42. JE Services Holdco I Inc.

43. JE Services Holdco II Inc.

44. JEBPO Services LLP

45. 8704104 Canada Inc.
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                                               SCHEDULE B

                                            DEFINED TERMS

“Accounts” means any accounts of any of the Borrowers or Guarantors.

“Administration Charge” has the meaning given to it in the Initial Order, which Administration Charge
shall not be amended in an amount to exceed CAD$2,200,000 without the prior consent of the Majority
Lenders.

“Advance” is defined in Section 8.

“Advance Conditions” is defined in Section 16.

“Advance Request” is defined in Section 8.

“Applicable Laws” means, in respect of any Person, property, transaction or event, all applicable laws,
statutes, rules, by-laws and regulations and all applicable official directives, orders, judgments and decrees
of any Governmental Authority having the force of law and binding on such Person, including, without
limitation, Applicable Laws relating to health and safety, environment and labour.

“Assignment and Assumption” means an Assignment and Assumption in a form approved by the
Administrative Agent.

“Borrowers” is defined in Section 1.

“Business Day” means any day other than a Saturday, Sunday or any other day in which banks in Calgary,
Alberta, Toronto, Ontario or New York City, New York are not open for business.

“Cash Flow Statements” is defined in Section 18.¶

“Canadian Court” is defined in the Recitals and includes any appellate court in the CCAA Proceedings.

“Canadian Order” means an order of the Court.

“CCAA” is defined in the Recitals.

“CCAA Order” means any Order of the Court made in connection with the CCAA Proceedings and “CCAA
Orders” means more than one CCAA Order.

“CCAA Plan” means a plan of compromise and arrangement proposed or filed with the Court in the CCAA
Proceedings which is in form and substance acceptable to the Lenders.

“CCAA Plan Implementation Date” means the date on which the CCAA Plan is implemented or becomes
effective.

“CCAA Proceedings” is defined in the Recitals.

“CCAA Stay” means the stay of proceedings provided for in the Initial Order and extended pursuant to
CCAA Orders from time to time as acceptable to the Lenders.

“Closing Date” is defined in Section 15.
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“Commitment Fee” is defined in Section 11.

“Default” means the occurrence of any of the events specified in Section 25, whether or not any requirement
for notice or lapse of time or other condition precedent has been satisfied.¶

“DIP Agent” is defiend in Section 4.

“DIP Agent Fee Letter” means that certain Fee Letter dated as of the date hereof by and between Borrowes
and Alter Domus (US) LLC.

“DIP Facility Charge” is defined in Section 14.¶

“DIP Facility” is defined in Section 6.

“Directors’ Charge” has the meaning given to it in the Initial Order and shall not exceed CAD$30,000,000
without the prior written consent of the Majority Lenders.

“Event of Default” is defined in Section 25.

“Excluded Disbursements” is defined in Section 18.

“Excluded Taxes” means any of the following Taxes, (A) any Tax on the Overall Net Income of the
Lender; (B) any withholding Tax imposed under FATCA or penalties and interest imposed pursuant to Part
XVIII of the ITA; (C) any Tax under the ITA that would not have been imposed but for the Lenders (i) not
dealing at arm’s length for purposes of the ITA with the Borrowers (other than as a result of the Lender
being a lender to the Borrowers or any of its affiliated entities under this DIP Facility or under any other
lending arrangement), or (ii) being a “specified shareholder” (as defined in subsection 18(5) of the ITA) of
the Borrowers or not dealing at arm’s length for purposes of the ITA with any such specified shareholder;
(D) Taxes that would not have been imposed but for the failure of the Lenders or DIP Agent to timely
satisfy any certification, identification, information, documentation or other reporting requirements
concerning the nationality, residence, identity or connection with the relevant taxing jurisdiction or
otherwise establishing the right to the benefit of an exemption from, or reduction in the rate of, withholding
or deduction, if such compliance is required by statute, treaty, regulation or published administrative
practice of a relevant taxing jurisdiction as a precondition to exemption from, or reduction in the rate of
deduction or withholding of, such Taxes, imposed by the relevant taxing jurisdiction; and (E) U.S. federal
withholding Taxes imposed on amounts payable to or for the account of a Lender with respect to an
applicable interest in a loan or commitment pursuant to a law in effect on the date on which (i) such Lender
acquires such interest in the loan or commitment (other than pursuant to an assignment request by the
Borrower) or (ii) such Lender changes its lending office, except in each case to the extent that, pursuant to
Section 35, amounts with respect to such Taxes were payable either to such Lender's assignor immediately
before such Lender became a party hereto or to such Lender immediately before it changed its lending
office.

“FA Charge” has the meaning given to it in the Initial Order, which FA Charge shall not be amended in
an amount to exceed CAD$1,800,000 without the prior consent of the Majority Lenders.

“Filing Date” means the date of the commencement of the CCAA Proceedings.

“Funding Conditions” is defined in Section 16.

“Governmental Authority” means any federal, territorial, provincial, state, municipal, local or other
government, governmental or public department, commission, board, bureau, agency or instrumentality,
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including a political subdivision thereof, domestic or foreign and including any subdivision, agent,
commission, board or authority, including a taxing authority, of any of the foregoing.

“Guarantors” is defined in Section 2.

“Guarantees” means the guarantees to be provided by the Guarantors in favor of the Lenders.

“Indemnified Persons” is defined in Section 27.

“Initial Cash Flow Statements” is defined in Section 18.

“Initial Conditions” is defined in Section 15.

“Initial Order” is defined in the Recitals.

“Initial Reporting Date” means March 11, 2021.

“ITA” means the Income Tax Act (Canada), as amended, including the regulations promulgated.

“KERP” means a key employee retention program approved by the Canadian Court in the CCAA
Proceedings and in form and substance satisfactory to the Majority Lenders (it being agreed and understood
that to the extent the key employee retention program approved by the Canadian Court in the CCAA
Proceeding is consistent with the terms provided to the Lenders prior to the Closing Date, such key
employee retention program shall be deemed to be in form and substance satisfactory to the Majority
Lenders).

“KERP Charge” has the meaning given to it in the Initial Order, which KERP Charge shall not exceed
CAD$6,827,340 without the consent of the Majority Lenders.

“Lender” is defined in Section 3.

“Liens” means all liens, mortgages, charges, encumbrances, hypothecs, security interests, trusts, deemed
trusts (statutory or otherwise) and other encumbrances of every kind and nature whatsoever.

“Loan Documents” means this Term Sheet, the Security Documents, the Guarantees and all other
instruments, agreements, certificates, and documents from time to time executed and delivered to the
Lenders in connection with this Term Sheet.

“Loan Parties” collectively refers to the Borrowers and the Guarantors and “Loan Party” means any one
of the Loan Parties.

“Majority Lenders” means Lenders holding at least 50.1% of the principal amount of Advances and
unused commitments hereunder.

“Material Adverse Effect” means any event, circumstance, occurrence or change which would reasonably
be expected to have a material adverse impact or effect on:

(a)   the ability of any Loan Party to perform any material obligation under this Term Sheet or any other
      Loan Document; or

(b) the validity or enforceability of the DIP Facility Charge or any Liens created by the Security
      Documents, or upon the ranking of the DIP Facility Charge or of any such Liens, or upon any material
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     rights or remedies intended or purported to be granted to the Lenders under this Term Sheet, any other
     Loan Document or the DIP Facility Charge;

     in each case, excluding the events, circumtances, occurrences and changes giving rise to, the actual
     filing of, or occuring on account of, the CCAA Proceeding or the Chapter 15 Proceeding.

“Maximum Amount” has the meaning given thereto in Section 6.

“Monitor” means FTI Consulting Canada Inc.in its capacity as the Court-appointed monitor in the CCAA
Proceedings pursuant to the Initial Order and any successor monitor appointed in the CCAA Proceedings
by the Court.

“Obligations” means the indebtedness, obligations, covenants or liabilities owing by the Borrowers and
the other Loan Parties (and any one or more of them) to the Agent and the Lenders under the DIP Facility,
this Term Sheet and any other Loan Document, including without limitation all principal, interest, fees,
indemnities and expenses owing to the Agent and the Lenders.

“Original Currency” is defined in Section 21.

“Origination Fee” is defined in Section 11.

“Other Currency” is defined in Section 21.

“Permitted Debt” means indebtedness owing prior to the date of the Initial Order or otherwise permitted
by the Original Senior Credit Agreement (other than clause (m) of the definition of Permitted Debt
thereunder and any Future Intercompany Debt owed to a Loan Party by a Person that is not a Loan Party)
(it being agreed and understood that any letters of credit issued on or after the Closing Date under the
Original Senior Credit Agreement and shall constitute Permitted Debt hereunder).

“Permitted Liens” means (i) Permitted Priority Liens, (ii) the DIP Facility Charge, (iii) the Priority
Commodity/ISO Charge, (iv) “Permitted Encumbrances” as such term is defined in the Original Senior
Credit Agreement as in effect on the date hereof, (v) validly perfected Liens for amounts owing prior to the
date of the Initial Order, (vi) without duplication, Liens for Taxes the nonpayment of which is excused,
permitted, or required by the CCAA Proceedings or the Chapter 15 Proceedings, and (vii) inchoate statutory
Liens arising after the Filing Date in respect of any accounts payable arising after the Filing Date in the
ordinary course of business, subject to the obligation to pay all such amounts as and when due.

“Permitted Priority Liens” means the (i) the Administration Charge, (ii) the Directors’ Charge, (iii) the
KERP Charge, (iv) the FA Charge, (v) Liens in respect of claims that are individually and in the aggregate
immaterial in the opinion of the Majority Lenders, solely to the extent such Liens are not registered under
a personal property registry system, (vi) Liens related to amounts posted as cash collateral to the extent in
compliance with Section 24(30) in respect of any ISO (as defined in the Intercreditor Agreement), ERCOT
and PJM Interconnection and/or in connection with letters of credit, surety bonds or similar obligations, in
either case, in an amount not to exceed $30,000,000, (vii) any amounts payable by the Loan Parties for
wages, vacation pay, employee deductions, sales tax, excise tax, tax payable pursuant to Part IX of the
Excise Tax Act (Canada) (net of input credits), income tax and workers compensation claims, in the case
of this item, and (vii) solely to the extent such amounts are given priority by Applicable Law and only to
the extent that the priority of such amounts have not been subordinated to the DIP Facility Charge pursuant
to the Court Orders.

“Permitted Variance” is defined in Section 24(30).
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“Person” means an individual, partnership, corporation, business trust, joint stock company, limited
liability company, unlimited liability company, trust, unincorporated association, joint venture,
Governmental Authority or other entity of whatever nature.

“Property” means all of the present and after-acquired real and personal property and undertaking of any
of the Loan Parties or in which any of the Loan Parties have any interest of every nature and kind
whatsoever, and wherever situate, including all proceeds thereof.

“Related Parties” means, with respect to any specified Person, such Person’s affiliates, the board of
directors or board of managers (or similar govenrning body) of such Person, members, officers, partners,
members, trustees, employees, agents, administrators, managers, representatives and advisors of such
Person and of such Person’s affiliates.

“Security Documents” is defined in Section 14.

“Tax on the Overall Net Income” of the Lenders means any Tax imposed on or measured by net income
(however denominated), franchise Taxes, Canadian federal or provincial capital Taxes, and branch profits
Taxes (i) that is imposed as a result of the Lenders being organized under the laws of, or having its
principal office located in, the applicable jurisdiction imposing such Tax (or any political subdivision
thereof), or (ii) that is imposed as a result of a present or former connection between the Lenders and the
jurisdiction imposing such Tax (other than connections arising solely from the Lenders having executed,
delivered, become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, or engaged in any other transaction pursuant to or enforced any Loan
Documents or sold or assigned an interest in the DIP Facility).

“Taxes” is defined in Section 35.

“Term” is defined in Section 7.

“Term Sheet” is defined in the Recitals.

“Termination Date” is defined in Section 7.¶

“Priority Commodity/ISO Charge” has the meaning given to it in the Initial Order.

“U.S. Court” is defined in the Recitals.¶

“US Final Recognition Order” is defined in Section 16.

“US Initial Order” is defined in Section 15.

“Withholding Taxes” is defined in Section 35.
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                             SCHEDULE C

                   INITIAL CASH FLOW STATEMENT

                              [see attached]
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                                                              Without Prejudice and Subject to FRE 408 and All State Law Equivalents
Project Wellington - Short-term Liquidity Forecast
March 5, 2021
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Project Wellington - Assumptions
                                                                                             Key Assumptions
                                                                                                 General
   1) Based on Just Energy's liquidity forecast dated March 05, 2021
   2) The current forecast (the "Forecast") is subject to material change and continued review by JE's management team and advisors
   3) The Forecast assumes a CCAA filing and corresponding U.S. Chapter 15 filing on March 9, 2021
                                                                                                    Receipts
   1) The Forecast assumes no material impact to receipts collections as a result of the restructuring, except for receipts in April and May, which are partially
      impacted by delayed customer billing in Texas associated with the "February Freeze"
   2) Other receipts include expected tax refunds
                                                                                           Energy & Delivery Costs
   1) Just Energy makes payments to ISOs, TDSPs, natural gas LDCs to ensure service to customers is not discontinued (e.g. avoid triggering a Provider of Last Resort
      ("POLR") event in ERCOT, which would permit ERCOT to divert Just Energy's customers to alternative suppliers)
   2) The Company makes no payments to Commodity Suppliers relating to any pre-petition obligations
      a)      BP and Shell agree not to terminate their supply and related contracts with the Company
      b)      BP and Shell continue providing services post-petition and work towards a consensual long-term solution
      c)      Other commodity suppliers are not paid on account of their pre-petition obligations
      d)      In the event any other commodity suppliers (excl. BP and Shell) choose to terminate their contract(s), the Forecast does not account for any additional costs to shift the obligation to
              Shell and BP
   3) All TDSP suppliers, Local Gas Distributors, weather hedge providers, and ICE are paid in the ordinary course to avoid operational disruption throughout the US and Canada
   4) The Forecast assumes approximately US$32.5MM for incremental collateral requests on behalf of the Company's suppliers, TDSP providers, and surety and LC providers across the first
      several weeks of the case (in addition to requests for collateral already received by the Company)
   5) The Forecast includes US$15MM to account for contraction of payment terms
                                                                                                     Payroll
   1) Payroll includes the Company's wages and benefits
                                                                                             Selling & Other Costs
   1) The Company pays commission costs to third-party marketing firms integral to signing up new customers
   2) Other SG&A costs include insurance premiums and internal marketing and administrative costs
      a)      The Forecast includes C$1.5MM for a D&O insurance tail policy just prior to filing
                                                                                               Professional Fees
   1) Professional Fees include fees for the Company’s counsel and investment banker, the Monitor, Monitor’s Counsel, and DIP lenders' professionals
   2) The Forecast assumes all professional fees paid in Canadian dollars incur a 13% sales tax
                                                                                                 Credit Facility
                                                                                                                                                                                                                       Case 21-30823 Document 23 Filed in TXSB on 03/09/21 Page 51 of 180




   1) Credit facility payments include DIP borrowing and repayments
      a)      The Forecast assumes an initial USD$100MM draw against the DIP at the outset of the case, with a subsequent draw for the remainder of the facility to follow
   2) For illustrative purposes, the DIP assumes (a) 13.0% interest rate; (b) 1% commitment and 1% origination fee on the full commitment, paid at closing; and (c) interest paid monthly




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Project Wellington
 CCAA 13-WeekCase
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                    Flow ForecastDocument 16-1 Filed on 03/09/21 in TXSB Page 52 of 180
 March 5, 2021

(CAD$ in millions)
Weeks Ending (Sunday)1                                        3/14/21       3/21/21       3/28/21       4/4/21        4/11/21       4/18/21        4/25/21      5/2/21        5/9/21       5/16/21        5/23/21         5/30/21          6/6/21         13-Week
Forecast Week                                                    1             2             3            4              5             6              7           8             9            10             11              12               13             Total
RECEIPTS
 Sales Receipts                                      [2]          $28.6         $48.5         $46.3         $35.2         $44.4           $41.8       $67.1        $48.3         $48.4         $42.6           $60.5           $55.1           $41.8        $608.5
 Miscellaneous Receipts                              [3]            -             -             -             2.4           -               -           -            5.6           -             -               -               -               -             8.0
Total Receipts                                                    $28.6         $48.5         $46.3         $37.6         $44.4           $41.8       $67.1        $53.9         $48.4         $42.6           $60.5           $55.1           $41.8        $616.5
DISBURSEMENTS
Operating Disbursements
 Energy and Delivery Costs                           [4]        ($172.1)       ($52.5)        ($9.7)       ($25.0)       ($13.2)       ($16.0)       ($79.8)       ($26.8)      ($13.6)       ($14.6)       ($103.2)          ($36.9)         ($10.8)      ($574.1)
 Payroll                                             [5]            -             -            (2.5)         (3.2)         (2.5)          -            (2.5)          -           (2.5)          -             (2.5)             -              (6.5)        (22.3)
 Taxes                                               [6]           (0.1)         (5.3)         (6.0)         (0.0)         (0.1)          -            (5.0)        (12.6)         -            (0.2)          (4.7)            (2.4)           (0.1)        (36.6)
 Commissions                                         [7]           (2.2)         (4.0)         (4.5)         (0.6)         (2.5)         (0.7)         (4.8)         (0.7)        (1.4)         (0.4)          (4.5)            (0.7)           (0.6)        (27.8)
 Selling and Other Costs                             [8]           (6.3)         (3.4)         (4.2)         (6.4)         (5.0)         (3.5)         (3.3)         (5.4)        (6.6)         (2.9)          (3.5)            (2.9)           (5.4)        (58.7)
Total Operating Disbursements                                   ($180.8)       ($65.2)       ($27.0)       ($35.2)       ($23.3)       ($20.2)       ($95.4)       ($45.4)      ($24.1)       ($18.0)       ($118.5)          ($42.9)         ($23.4)      ($719.5)
OPERATING CASH FLOWS                                            ($152.2)       ($16.7)        $19.2          $2.3         $21.1           $21.6      ($28.4)         $8.4        $24.3         $24.6          ($57.9)          $12.2           $18.5       ($103.0)
Financing Disbursements
  Credit Facility - Borrowings / (Repayments)        [9]         $126.0          $-           $31.5          $-           $-              $-          $-            $-            $-            $-             $-              $-              $-           $157.5
Restructuring Disbursements
  Professional Fees                                  [10]            -            (1.4)         (2.6)         (1.3)         (1.6)          (1.1)       (1.1)         (0.8)         (1.1)         (0.8)           (0.9)           (0.9)           (0.9)        (14.4)
NET CASH FLOWS                                                    ($26.2)      ($18.1)        $48.2          $1.1         $19.5           $20.5      ($29.5)         $7.6        $23.3         $23.8          ($58.9)          $11.3           $17.6          $40.1
CASH
 Beginning Balance                                                $77.3         $51.2         $33.0         $81.2        $82.3        $101.8         $122.2        $92.8        $100.4        $123.7         $147.4            $88.6          $99.9          $77.3
 Net Cash Inflows / (Outflows)                                    (26.2)        (18.1)         48.2           1.1         19.5          20.5          (29.5)         7.6          23.3          23.8          (58.9)            11.3           17.6           40.1
 Other (FX)                                                         -             -             -             -            -             -              -            -             -             -              -                -              -              -
ENDING CASH                                                       $51.2         $33.0         $81.2         $82.3       $101.8        $122.2          $92.8       $100.4        $123.7        $147.4          $88.6            $99.9         $117.5         $117.5
BORROWING SUMMARY
 DIP Facility Credit Limit                                       $157.5        $157.5        $157.5        $157.5        $157.5       $157.5         $157.5       $157.5        $157.5        $157.5         $157.5          $157.5          $157.5
  DIP Draws                                                       126.0           -            31.5           -             -            -              -            -             -             -              -               -               -
  DIP Principal Outstanding                                       126.0         126.0         157.5         157.5         157.5        157.5          157.5        157.5         157.5         157.5          157.5           157.5           157.5
 DIP Availability                                                 $31.5         $31.5         $-            $-            $-           $-             $-           $-            $-            $-             $-              $-              $-

 1. The week shown as beginning 3/8/21 reflects a 6-day stub week ending on 3/14/21 (the filing date).
 2. Sales Receipts include collections from the Company’s residential and commercial customers for the sale of energy, which primarily consists of electricity and natural gas, inclusive of sales tax. The sales forecast is based on
     historical sales patterns, seasonality, and management’s current expectations.
 3. Miscellaneous receipts reflect forecasted tax refunds and other receipts not sent from customers.
 4. Energy & Delivery costs reflect the purchase energy from suppliers and the cost of delivery and transmission to the Company’s customers.
 5. Payroll disbursements reflect the current staffing levels and recent payroll amounts, inclusive of any payments associated with the Company’s bonus programs.
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 6. Taxes reflect the remittance of sales taxes collected from customers and the Company’s corporate income taxes.
 7. Commissions include fees paid to customer acquisition contractors and suppliers.
 8. Selling and Other Costs include selling, general, administrative and interest payments.
 9. The Credit Facility Borrowings / (Repayments) assume USD$ 100 million of the DIP is drawn immediately, with a subsequent draw for the remainder of the facility within the first few weeks of the proceedings.
 10. Professional Fees include fees for the Company’s counsel and investment banker, the Monitor, the Monitor’s Counsel, and the DIP lenders’ professionals.



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 CCAA 13-Day Cash Flow Forecast
 March 5, 2021

(CAD$ in millions)
                                                              3/9/21      3/10/21      3/11/21      3/12/21     3/13/21      3/14/21      3/15/21     3/16/21      3/17/21     3/18/21      3/19/21        3/20/21        3/21/21         13-Day
Forecast Week                                                    1           2            3            4           5            6            7           8            9          10           11             12             13             Total
RECEIPTS
 Sales Receipts                                      [1]          $8.7         $6.3         $6.9        $6.7        $-           $-           $8.2        $9.8         $8.0       $10.1          $12.4          $-            $-             $77.1
 Miscellaneous Receipts                              [2]           -            -            -           -           -            -            -           -            -           -              -             -             -               -
Total Receipts                                                    $8.7         $6.3         $6.9        $6.7        $-           $-           $8.2        $9.8         $8.0       $10.1          $12.4          $-            $-             $77.1
DISBURSEMENTS
Operating Disbursements
 Energy and Delivery Costs                           [3]       ($121.2)      ($45.8)       ($7.9)       $2.7        $-           $-          ($1.8)       ($7.0)     ($22.6)       ($6.1)       ($15.0)         $-            $-          ($224.6)
 Payroll                                             [4]           -            -            -           -           -            -            -            -           -            -             -             -             -              -
 Taxes                                               [5]           -           (0.1)         -           -           -            -           (5.3)         -           -            -             -             -             -             (5.4)
 Commissions                                         [6]          (0.0)         -            -          (2.2)        -            -            -           (0.3)       (3.2)         -            (0.6)          -             -             (6.3)
 Selling and Other Costs                             [7]          (4.2)        (1.0)        (0.0)       (1.0)        -            -           (0.0)        (1.1)       (1.1)        (0.0)         (1.1)          -             -             (9.7)
Total Operating Disbursements                                  ($125.4)      ($46.9)       ($7.9)      ($0.5)       $-           $-          ($7.1)       ($8.4)     ($26.9)       ($6.2)       ($16.7)         $-            $-          ($246.0)
OPERATING CASH FLOWS                                           ($116.7)      ($40.6)       ($1.0)       $6.1        $-           $-           $1.1        $1.4       ($18.8)        $3.9         ($4.3)         $-            $-          ($168.9)
Financing Disbursements
  Credit Facility - Borrowings / (Repayments)        [8]        $126.0        $-           $-          $-           $-           $-          $-           $-          $-           $-            $-             $-            $-           $126.0
Restructuring Disbursements
  Professional Fees                                  [9]            -           -            -           -            -           -           (1.4)         -           -            -             -              -              -             (1.4)
NET CASH FLOWS                                                    $9.3       ($40.6)       ($1.0)       $6.1        $-           $-          ($0.4)       $1.4       ($18.8)        $3.9         ($4.3)         $-            $-            ($44.3)
CASH
 Beginning Balance                                               $77.3        $86.7       $46.1        $45.0       $51.2        $51.2        $51.2       $50.8        $52.2       $33.4         $37.3          $33.0          $33.0          $77.3
 Net Cash Inflows / (Outflows)                                     9.3        (40.6)       (1.0)         6.1         -            -           (0.4)        1.4        (18.8)        3.9          (4.3)           -              -            (44.3)
 Other (FX)                                                        -            -           -            -           -            -            -           -            -           -             -              -              -              -
ENDING CASH                                                      $86.7        $46.1       $45.0        $51.2       $51.2        $51.2        $50.8       $52.2        $33.4       $37.3         $33.0          $33.0          $33.0          $33.0
BORROWING SUMMARY
 DIP Facility Credit Limit                                      $157.5      $157.5       $157.5       $157.5      $157.5       $157.5      $157.5       $157.5      $157.5       $157.5        $157.5         $157.5        $157.5           $-
  DIP Draws                                                      126.0         -            -            -           -            -           -            -           -            -             -              -             -
  DIP Principal Outstanding                                      126.0       126.0        126.0        126.0       126.0        126.0       126.0        126.0       126.0        126.0         126.0          126.0         126.0            -
 DIP Availability                                                $31.5       $31.5        $31.5        $31.5       $31.5        $31.5       $31.5        $31.5       $31.5        $31.5         $31.5          $31.5         $31.5           $-

 1. Sales Receipts include collections from the Company’s residential and commercial customers for the sale of energy, which primarily consists of electricity and natural gas, inclusive of sales tax. The sales forecast is based
     on historical sales patterns, seasonality, and management’s current expectations.
 2. Miscellaneous receipts reflect forecasted tax refunds and other receipts not sent from customers.
 3. Energy & Delivery costs reflect the purchased energy from suppliers and the cost of delivery and transmission to the Company’s customers.
 4. Payroll disbursements reflect the current staffing levels and recent payroll amounts, inclusive of any payments associated with the Company’s bonus or programs.
 5. Taxes reflect the remittance of sales taxes collected from customers and the Company’s corporate income taxes.
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 6. Commissions include fees paid to customer acquisition contractors and suppliers.
 7. Selling and Other Costs include selling, general, administrative and interest payments.
 8. The Credit Facility Borrowings / (Repayments) assume USD$ 100 million of the DIP is drawn immediately, with a subsequent draw for the remainder of the facility within the first few weeks of the proceedings.
 9. Professional Fees include fees for the Company’s counsel and investment banker, the Monitor, the Monitor’s Counsel, and the DIP lenders’ professionals.




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                                                 SCHEDULE D

                                      FORM OF ADVANCE REQUEST

TO: Alter Domus (US) LLC, as DIP Agent

Reference is made to that certain CCAA Interim Debtor-In-Possession Financing Term Sheet, dated as of
March 9, 2021, among Just Energy Ontario L.P., Just Energy Group Inc., and Just Energy (U.S.) Corp.,
as Borrowers, the Guarantors party thereto, LVS III SPE XV, a Delaware limited partnership, TOCU XVII
LLC, a Delaware limited liability company, HVS XVI LLC, a Delaware limited liability company, and OC
II LVS XIV LP, a Delaware limited partnership, as Lenders and Alter Domus (US) LLC, as DIP Agent, and
the financial institutions party from time to time thereto as lenders (the “Term Sheet”). Capitalized terms
used herein and not otherwise defined have the meanings given to them in the Term Sheet.

The Borrowers hereby give irrevocable notice pursuant to the terms of the Term Sheet for the proposed
Advance as follows:

           The date of the proposed $GYDQFHLV>Ɣ@

           7KHDJJUHJDWHDPRXQWRIWKHSURSRVHG$GYDQFHLV>Ɣ@

           The location and number of the Borrowers’ accounts to which proceeds of Advances are to be
           disbursed: [__]

The Borrowers hereby certify that:

     (i)    all representations and warranties of the Loan Parties contained in the Term Sheet remain accurate
            in all material respects, provided, that any such representation that is qualified as to “materiality”
            or “Material Adverse Effect” is accurate in all respects, both before and after giving effect to the
            Advance referred to herein;

     (ii) all Funding Conditions have been satisfied;

     (iii) no Event of Default then exists and is continuing or would result from the Advance; and

     (iv) the proceeds of the Advance will be in compliance with Section 13 of the Term Sheet and will be
            consistent with the Cash Flow Statements.

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                                             JUST ENERGY ONTARIO L.P.
                                             By its general partner, JUST ENERGY CORP.

                                             _____________________
                                             Name:
                                             Title:


                                             JUST ENERGY GROUP INC.

                                             _____________________
                                             Name:
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                          Title:

                          JUST ENERGY (U.S.) CORP.

                          _____________________
                          Name:
                          Title:
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                             SCHEDULE E

                       FORM OF INITIAL ORDER

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                                                                                Court File No.

                                     ONTARIO
                             SUPERIOR COURT OF JUSTICE
                                 COMMERCIAL LIST

 THE HONOURABLE MR.                            )                       TUESDAY, THE 9TH
                                               )
 JUSTICE KOEHNEN                                                     DAY OF MARCH, 2021
                                               )


                 IN THE MATTER OF THE COMPANIES' CREDITORS
                 ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED


     AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
     JUST ENERGY GROUP INC., JUST ENERGY CORP., ONTARIO ENERGY
     COMMODITIES INC., UNIVERSAL ENERGY CORPORATION, JUST ENERGY
     FINANCE CANADA ULC, HUDSON ENERGY CANADA CORP., JUST
     MANAGEMENT CORP., JUST ENERGY FINANCE HOLDING INC., 11929747
     CANADA INC., 12175592 CANADA INC., JE SERVICES HOLDCO I INC., JE
     SERVICES HOLDCO II INC., 8704104 CANADA INC., JUST ENERGY
     ADVANCED SOLUTIONS CORP., JUST ENERGY (U.S.) CORP., JUST ENERGY
     ILLINOIS CORP., JUST ENERGY INDIANA CORP., JUST ENERGY
     MASSACHUSETTS CORP., JUST ENERGY NEW YORK CORP., JUST ENERGY
     TEXAS I CORP., JUST ENERGY, LLC, JUST ENERGY PENNSYLVANIA CORP.,
     JUST ENERGY MICHIGAN CORP., JUST ENERGY SOLUTIONS INC., HUDSON
     ENERGY SERVICES LLC, HUDSON ENERGY CORP., INTERACTIVE ENERGY
     GROUP LLC, HUDSON PARENT HOLDINGS LLC, DRAG MARKETING LLC,
     JUST ENERGY ADVANCED SOLUTIONS LLC, FULCRUM RETAIL ENERGY
     LLC, FULCRUM RETAIL HOLDINGS LLC, TARA ENERGY, LLC, JUST
     ENERGY MARKETING CORP., JUST ENERGY CONNECTICUT CORP., JUST
     ENERGY LIMITED, JUST SOLAR HOLDINGS CORP. AND JUST ENERGY
     (FINANCE)                               HUNGARY             ZRT.
     (each, an “Applicant”, and collectively, the “Applicants”)

                                     INITIAL ORDER


        THIS APPLICATION, made by the Applicants, pursuant to the Companies' Creditors
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”), was heard this day by judicial
videoconference via Zoom in Toronto, Ontario due to the COVID-19 pandemic.

        ON READING the affidavit of Michael Carter sworn March 9, 2021 and the Exhibits
thereto (the “Carter Affidavit”), the pre-filing report of the proposed monitor, FTI Consulting

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Canada Inc. (“FTI”), dated March 9, 2021 (the “Pre-Filing Report”), and on being advised that
the secured creditors who are likely to be affected by the charges created herein were given notice,
and on hearing the submissions of counsel for the Applicants and the partnerships listed in
Schedule “A” hereto (the “JE Partnerships”, and collectively with the Applicants, the “Just
Energy Entities”), FTI, Alter Domus (US) LLC (the “DIP Agent”), as administrative agent for
the lenders (the “DIP Lenders”) under the DIP Term Sheet (as defined below) and z, and on
reading the consent of FTI to act as the monitor (the “Monitor”),

SERVICE

1.     THIS COURT ORDERS that the time for service of the Notice of Application and the
Application Record is hereby abridged and validated so that this Application is properly returnable
today and hereby dispenses with further service thereof.

DEFINED TERMS

2.     THIS COURT ORDERS that capitalized terms that are used in this Order shall have the
meanings ascribed to them in Schedule “B” hereto or the Carter Affidavit, as applicable, if they
are not otherwise defined herein.

APPLICATION

3.     THIS COURT ORDERS AND DECLARES that the Applicants are companies to which
the CCAA applies. Although not Applicants, the JE Partnerships shall enjoy the benefits of the
protections and authorizations provided by this Order.

POSSESSION OF PROPERTY AND OPERATIONS

4.     THIS COURT ORDERS that the Just Energy Entities shall remain in possession and
control of their respective current and future assets, licenses, undertakings and properties of every
nature and kind whatsoever, and wherever situate including all proceeds thereof (the “Property”).
Subject to further Order of this Court, the Just Energy Entities shall continue to carry on business
in a manner consistent with the preservation of their business (the “Business”) and Property. The
Just Energy Entities shall each be authorized and empowered to continue to retain and employ the
employees, contractors, staffing agencies, consultants, agents, experts, accountants, counsel and
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such other persons (collectively “Assistants”) currently retained or employed by them, with liberty
to retain such further Assistants as they deem reasonably necessary or desirable in the ordinary
course of business or for the carrying out of the terms of this Order.

5.         THIS COURT ORDERS that:

     (a)     the Just Energy Entities shall be entitled to continue to utilize the central cash
             management system currently in place as described in the Carter Affidavit or, with the
             consent of the DIP Agent, replace it with another substantially similar central cash
             management system (the “Cash Management System”) and that any present or future
             bank providing the Cash Management System (a “Cash Management Bank”) shall
             not be under any obligation whatsoever to inquire into the propriety, validity or legality
             of any transfer, payment, collection or other action taken under the Cash Management
             System, or as to the use or application by the Just Energy Entities of funds transferred,
             paid, collected or otherwise dealt with in the Cash Management System, shall be
             entitled to provide the Cash Management System without any liability in respect
             thereof to any Person (as hereinafter defined) other than the Just Energy Entities,
             pursuant to the terms of the documentation applicable to the Cash Management System,
             and shall be, in its capacity as provider of the Cash Management System, an unaffected
             creditor under any      plan of compromise or arrangement with regard to Cash
             Management Obligations. All present and future indebtedness, liabilities and
             obligations of any and every kind, nature or description whatsoever to a Cash
             Management Bank under, in connection with, relating to or with respect to any and all
             agreements evidencing treasury facilities and cash management products (including,
             for greater certainty, all pre-authorized debit banking services, electronic funds transfer
             services and overdraft balances) provided by a Cash Management Bank to any Just
             Energy Entity, and any unpaid balance thereof, are collectively referred to herein as the
             “Cash Management Obligations”;

     (b)     during the Stay Period (as defined below), no Cash Management Bank shall, without
             leave of this Court: (i) exercise any sweep remedy under any applicable documentation
             (provided, for greater certainty, that the cash pooling and zero-balancing account
             services provided with respect to the JPMorgan accounts held by the U.S. Bank
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              Account Holders (as defined in the Carter Affidavit) may continue in the ordinary
              course); or (ii) exercise or claim any right of set-off against any account included in the
              Cash Management System;

     (c)      any of the Cash Management Banks may rely on the representations of the applicable
              Just Energy Entities with respect to whether any cheques or other payment order drawn
              or issued by the applicable Just Energy Entity prior to the date of this Order should be
              honoured pursuant to this or any other order of this Court, and such Cash Management
              Bank shall not have any liability to any party for relying on such representations by the
              applicable Just Energy Entities as provided for herein; and

     (d)      (i) those certain existing deposit agreements between the Just Energy Entities and the
              Cash Management Banks shall continue to govern the post-filing cash management
              relationship between the Just Energy Entities and the Cash Management Banks, and
              that all of the provisions of such agreements shall remain in full force and effect, (ii)
              either any of the Just Energy Entities, with the consent of the Monitor, the DIP Agent
              and the Cash Management Banks may, without further Order of this Court, implement
              changes to the Cash Management System and procedures in the ordinary course of
              business pursuant to the terms of those certain existing deposit agreements, including,
              without limitation, the opening and closing of bank accounts, and (iii) all control
              agreements in existence prior to the date of this Order shall apply.

6.         THIS COURT ORDERS that, except as specifically permitted herein, the Just Energy
Entities are hereby directed, until further Order of this Court: (a) to make no payments of principal,
interest thereon or otherwise on account of amounts owing by any of the Just Energy Entities to
any of their respective creditors as of this date; (b) to grant no security interests, trust, liens, charges
or encumbrances upon or in respect of any of the Property; and (c) to not grant credit or incur
liabilities except in the ordinary course of the Business; provided, however, that the Just Energy
Entities, until further order of this Court, are hereby permitted, subject to the terms of the Definitive
Documents: (i) to reimburse the reasonable documented fees and disbursements of legal counsel
and one financial advisor to the agent under the Credit Agreement, whether incurred before or after
the date of this Order; (ii) to pay all non-default interest and fees to the agent and the lenders under
the Credit Agreement in accordance with its terms; and (iii) to repay advances under the Credit
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Agreement for the purpose of creating availability under the Revolving Facilities in order for the
Just Energy Entities to request the issuance of Letters of Credit under the Revolving Facilities to
continue to operate the Business in the ordinary course during these proceedings, subject to: (A)
obtaining the consent of the Monitor with respect to the issuance of the Letters of Credit under the
Revolving Facilities; and (B) receipt of written confirmation from the applicable lender(s) under
the Credit Agreement that such lender(s) will issue a Letter of Credit of equal value within one (1)
Business Day thereafter. Capitalized terms used but not otherwise defined in this paragraph shall
have the meanings ascribed thereto in the Credit Agreement.

7.         THIS COURT ORDERS that, subject to the terms of the Definitive Documents (as
hereinafter defined), the Just Energy Entities shall be entitled but not required to pay the following
amounts whether incurred prior to, on or after the date of this Order:

     (a)      all outstanding and future wages (including, without limitation, the Q3 bonus described
              in the Carter Affidavit and any other incentive compensation payable in the ordinary
              course of business), salaries, commissions, employee benefits, contributions in respect
              of retirement or other benefit arrangements, vacation pay and expenses payable on or
              after the date of this Order, in each case incurred in the ordinary course of business and
              consistent with existing compensation policies and arrangements;

     (b)      all outstanding and future amounts owing to or in respect of other workers providing
              services in connection with the Business and payable on or after the date of this Order,
              incurred in the ordinary course of business and consistent with existing arrangements;

     (c)      the fees and disbursements of any Assistants retained or employed by the Just Energy
              Entities in respect of these proceedings at their standard rates and charges, which, in
              the case of the Financial Advisor (as defined below) shall be the amounts payable in
              accordance with the Financial Advisor Agreement (as defined below);

     (d)      with the consent of the Monitor in consultation with the agent under the Credit
              Agreement (or its advisors), amounts owing for goods or services actually provided to
              any of the Just Energy Entities prior to the date of this Order by third parties, if, in the
              opinion of the Just Energy Entities, such third party is critical to the Business and
              ongoing operations of the Just Energy Entities;
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     (e)      any taxes (including, without limitation, sales, use, withholding, unemployment, and
              excise) not covered by paragraph 9 of this Order, and whereby the nonpayment of
              which by any Just Energy Entity could result in a responsible person associated with a
              Just Energy Entity being held personally liable for such nonpayment; and

     (f)      taxes related to revenue, State income or operations incurred or collected by a Just
              Energy Entity in the ordinary course of business.

8.         THIS COURT ORDERS that, except as otherwise provided to the contrary herein and
subject to the terms of the Definitive Documents, the Just Energy Entities shall be entitled but not
required to pay all reasonable expenses incurred by the Just Energy Entities in carrying on the
Business in the ordinary course after this Order, and in carrying out the provisions of this Order,
which expenses shall include, without limitation:

     (a)      all expenses and capital expenditures reasonably necessary for the preservation of the
              Property or the Business including, without limitation, payments on account of
              insurance (including directors and officers’ insurance), maintenance and security
              services; and

     (b)      payment for goods or services actually supplied to the Just Energy Entities following
              the date of this Order.

9.         THIS COURT ORDERS that the Just Energy Entities shall remit, in accordance with
legal requirements, or pay:

     (a)      any statutory deemed trust amounts in favour of the Crown in right of Canada or of any
              Province thereof or any other taxation authority which are required to be deducted from
              employees’ wages, including, without limitation, amounts in respect of (i) employment
              insurance, (ii) Canada Pension Plan, (iii) Quebec Pension Plan, and (iv) income taxes;

     (b)      all goods and services or other applicable sales taxes (collectively, “Sales Taxes”)
              required to be remitted by the Just Energy Entities in connection with the sale of goods
              and services by the Just Energy Entities, but only where such Sales Taxes are accrued
              or collected after the date of this Order, or where such Sales Taxes were accrued or
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               collected prior to the date of this Order but not required to be remitted until on or after
               the date of this Order; and

      (c)      any amount payable to the Crown in right of Canada or of any Province thereof or any
               political subdivision thereof or any other taxation authority in respect of municipal
               realty, municipal business or other taxes, assessments or levies of any nature or kind
               which are entitled at law to be paid in priority to claims of secured creditors and which
               are attributable to or in respect of the carrying on of the Business by the Just Energy
               Entities.

RESTRUCTURING

10.         THIS COURT ORDERS that the Just Energy Entities shall, subject to such requirements
as are imposed by the CCAA and subject to the terms of the Definitive Documents, have the right
to:

      (a)      permanently or temporarily cease, downsize or shut down any of their Business or
               operations; and

      (b)      pursue all avenues of refinancing, restructuring, selling and reorganizing the Business
               or Property, in whole or part, subject to prior approval of this Court being obtained
               before any material refinancing, restructuring, sale or reorganization,

all of the foregoing to permit the Just Energy Entities to proceed with an orderly restructuring of
the Just Energy Entities and/or the Business (the “Restructuring”).

NO PROCEEDINGS AGAINST THE JUST ENERGY ENTITIES, THE BUSINESS OR
THE PROPERTY

11.         THIS COURT ORDERS that until and including March 19, 2021 or such later date as
this Court may order (the “Stay Period”), no proceeding or enforcement process before any court,
tribunal, agency or other legal or, subject to paragraph 12, regulatory body (each, a “Proceeding”)
shall be commenced or continued against or in respect of any of the Just Energy Entities or the
Monitor or their respective employees and representatives acting in such capacities, or affecting
the Business or the Property, except with the prior written consent of the Just Energy Entities and
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the Monitor, or with leave of this Court, and any and all Proceedings currently under way against
or in respect of the Just Energy Entities or affecting the Business or the Property are hereby stayed
and suspended pending further Order of this Court.

NO EXERCISE OF RIGHTS OR REMEDIES

12.     THIS COURT ORDERS that during the Stay Period, all rights and remedies of any
individual, firm, corporation, organization, governmental unit, body or agency, foreign regulatory
body or agency or any other entities (all of the foregoing, collectively being “Persons” and each
being a “Person”) against or in respect of the Just Energy Entities or the Monitor, or their
respective employees and representatives acting in such capacities, or affecting the Business or the
Property, are hereby stayed and suspended except with the written consent of the Just Energy
Entities and the Monitor, or leave of this Court, provided that nothing in this Order shall: (i)
empower the Just Energy Entities to carry on any business which the Just Energy Entities are not
lawfully entitled to carry on, (ii) subject to paragraph 13, affect such investigations, actions, suits
or proceedings by a regulatory body as are permitted by Section 11.1 of the CCAA, (iii) prevent
the filing of any registration to preserve or perfect a security interest, or (iv) prevent the registration
of a claim for lien.

13.     THIS COURT ORDERS that notwithstanding Section 11.1 of the CCAA, all rights and
remedies of provincial energy regulators and provincial regulators of consumer sales that have
authority with respect to energy sales against or in respect of the Just Energy Entities or their
respective employees and representatives acting in such capacities, or affecting the Business or the
Property, are hereby stayed and suspended during the Stay Period except with the written consent
of the Just Energy Entities and the Monitor, or leave of this Court on notice to the Service List.

NO INTERFERENCE WITH RIGHTS

14.     THIS COURT ORDERS that during the Stay Period, no Person shall discontinue, fail to
honour, alter, interfere with, repudiate, terminate or cease to perform any right, renewal right,
contract, agreement, licence or permit in favour of or held by the Just Energy Entities except with
the written consent of the Just Energy Entities and the Monitor, leave of this Court or as permitted
under any Commodity ISO/Supplier Support Agreement.
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CONTINUATION OF SERVICES

15.    THIS COURT ORDERS that during the Stay Period, except as permitted under any
Commodity ISO/Supplier Support Agreement, all Persons having oral or written agreements with
any Just Energy Entity or statutory or regulatory mandates for the supply of goods and/or services,
including without limitation all computer software, communication and other data services,
centralized banking services, payroll services, insurance, transportation services, utility or other
services to the Just Energy Entities or the Business, are hereby restrained until further Order of
this Court from discontinuing, altering, interfering with or terminating the supply of such goods
or services as may be required by the Just Energy Entities, and that the Just Energy Entities shall
be entitled to the continued use of their current premises, telephone numbers, facsimile numbers,
internet addresses and domain names, provided in each case, that the normal prices or charges for
all such goods or services received after the date of this Order are paid by the Just Energy Entities
in accordance with normal payment practices of the Just Energy Entities or such other practices as
may be agreed upon by the supplier or service provider and the applicable Just Energy Entity and
the Monitor, or as may be ordered by this Court.

NON-DEROGATION OF RIGHTS

16.    THIS COURT ORDERS that, subject to paragraph 20 but notwithstanding any other
paragraphs of this Order, no Person shall be prohibited from requiring immediate payment for
goods, services, use of leased or licensed property or other valuable consideration provided on or
after the date of this Order, nor shall any Person be under any obligation on or after the date of this
Order to advance or re-advance any monies or otherwise extend any credit to any of the Just Energy
Entities. Nothing in this Order shall derogate from the rights conferred and obligations imposed
by the CCAA.

COMMODITY SUPPLIERS

17.    THIS COURT ORDERS that each Qualified Commodity/ISO Supplier shall be entitled
to the benefit of and is hereby granted a charge (together, the “Priority Commodity/ISO
Charge”) on the Property in an amount equal to the value of the Priority Commodity/ISO
Obligations. The value of the Priority Commodity/ISO Obligations shall be determined in
accordance with the terms of the existing agreements or arrangements between the applicable Just
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Energy Entity and the Qualified Commodity/ISO Supplier or, in the event of any dispute, by the
Court. The Priority Commodity/ISO Charge shall have the priority set out in paragraphs 43-45
herein.

18.       THIS COURT ORDERS that the Commodity/ISO Supplier Support Agreements are
hereby ratified, approved and deemed to be Qualified Support Agreements.

19.       THIS COURT ORDERS that the Just Energy Entities are hereby authorized and
empowered to execute and deliver Qualified Support Agreements with any counterparty to a
Commodity Agreement.

20.       THIS COURT ORDERS that upon the occurrence of an event of default under a Qualified
Support Agreement, the applicable Qualified Commodity/ISO Supplier may exercise the rights
and remedies available to it under its Qualified Support Agreement, or upon five (5) days’ notice
to the Just Energy Entities, the Monitor and the Service List, may apply to this Court to seek the
Court’s authorization to exercise any and all of its other rights and remedies against the Just Energy
Entities or the Property under or pursuant to its Commodity Agreement or ISO Agreement and the
Priority Commodity/ISO Charge, including without limitation, for the appointment of a receiver,
receiver and manager or interim receiver, or for a bankruptcy order against the Just Energy Entities
and for the appointment of a trustee in bankruptcy of the Just Energy Entities.

21.       THIS COURT ORDERS that the Monitor shall provide a report on the value of the
Priority Commodity/ISO Obligations as of the last day of each calendar month by posting such
report on the Monitor’s Website (as defined below) within three (3) Business Days of such
calendar month end.

PROCEEDINGS AGAINST DIRECTORS AND OFFICERS

22.       THIS COURT ORDERS that during the Stay Period, and except as permitted by
subsection 11.03(2) of the CCAA, no Proceeding may be commenced or continued against any of
the former, current or future directors or officers of the Just Energy Entities with respect to any
claim against the directors or officers that arose before the date hereof and that relates to any
obligations of the Just Energy Entities whereby the directors or officers are alleged under any law
to be liable in their capacity as directors or officers for the payment or performance of such
obligations, until a compromise or arrangement in respect of the Just Energy Entities, if one is
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filed, is sanctioned by this Court or is refused by the creditors of the Just Energy Entities or this
Court.

DIRECTORS’ AND OFFICERS’ INDEMNIFICATION AND CHARGE

23.      THIS COURT ORDERS that each of the Just Energy Entities shall jointly and severally
indemnify their respective directors and officers against obligations and liabilities that they may
incur as directors or officers of the Just Energy Entities after the commencement of the within
proceedings, except to the extent that, with respect to any officer or director, the obligation or
liability was incurred as a result of the director’s or officer’s gross negligence or wilful misconduct.

24.      THIS COURT ORDERS that the directors and officers of the Just Energy Entities shall
be entitled to the benefit of and are hereby granted a charge (the “Directors’ Charge”) on the
Property, which charge shall not exceed an aggregate amount of C$30,000,000, as security for the
indemnity provided in paragraph 23 of this Order. The Directors’ Charge shall have the priority
set out in paragraphs 43-45 herein.

25.      THIS COURT ORDERS that, notwithstanding any language in any applicable insurance
policy to the contrary, (i) no insurer shall be entitled to be subrogated to or claim the benefit of the
Directors’ Charge, and (ii) the Just Energy Entities’ directors and officers shall only be entitled to
the benefit of the Directors’ Charge to the extent that they do not have coverage under any
directors’ and officers’ insurance policy, or to the extent that such coverage is insufficient to pay
amounts indemnified in accordance with paragraph 23.

APPOINTMENT OF MONITOR

26.      THIS COURT ORDERS that FTI is hereby appointed pursuant to the CCAA as the
Monitor, an officer of this Court, to monitor the business and financial affairs of the Just Energy
Entities with the powers and obligations set out in the CCAA or set forth herein and that the Just
Energy Entities and their shareholders, officers, directors, and Assistants shall advise the Monitor
of all material steps taken by the Just Energy Entities pursuant to this Order, and shall co-operate
fully with the Monitor in the exercise of its powers and discharge of its obligations and provide
the Monitor with the assistance that is necessary to enable the Monitor to adequately carry out the
Monitor’s functions.
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27.         THIS COURT ORDERS that the Monitor, in addition to its prescribed rights and
obligations under the CCAA, is hereby directed and empowered to:

      (a)      monitor the Just Energy Entities’ receipts and disbursements;

      (b)      report to this Court at such times and intervals as the Monitor may deem appropriate
               with respect to matters relating to the Property, the Business, and such other matters as
               may be relevant to the proceedings herein;

      (c)      assist the Just Energy Entities, to the extent required by the Just Energy Entities, in
               their dissemination to the DIP Agent, the DIP Lenders and their counsel of financial
               and other information in accordance with the Definitive Documents;

      (d)      advise the Just Energy Entities in their preparation of the Just Energy Entities’ cash
               flow statements and reporting required by the DIP Agent and DIP Lenders, which
               information shall be reviewed with the Monitor and delivered to the DIP Agent and
               DIP Lenders and their counsel in accordance with the Definitive Documents;

      (e)      have full and complete access to the Property, including the premises, books, records,
               data, including data in electronic form, and other financial documents of the Just
               Energy Entities, wherever located and to the extent that is necessary to adequately
               assess the Just Energy Entities’ business and financial affairs or to perform its duties
               arising under this Order;

      (f)      be at liberty to engage independent legal counsel or such other persons as the Monitor
               deems necessary or advisable respecting the exercise of its powers and performance of
               its obligations under this Order; and

      (g)      perform such other duties as are required by this Order or by this Court from time to
               time.

28.         THIS COURT ORDERS that the Monitor shall not take possession of the Property and
shall take no part whatsoever in the management or supervision of the management of the Business
and shall not, by fulfilling its obligations hereunder, be deemed to have taken or maintained
possession or control of the Business or Property, or any part thereof.
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29.    THIS COURT ORDERS that nothing herein contained shall require the Monitor to
occupy or to take control, care, charge, possession or management (separately and/or collectively,
“Possession”) of any of the Property that might be environmentally contaminated, might be a
pollutant or a contaminant, or might cause or contribute to a spill, discharge, release or deposit of
a substance contrary to any federal, provincial or other law respecting the protection, conservation,
enhancement, remediation or rehabilitation of the environment or relating to the disposal of waste
or other contamination including, without limitation, the Canadian Environmental Protection Act,
the Ontario Environmental Protection Act, the Ontario Water Resources Act, or the Ontario
Occupational Health and Safety Act and regulations thereunder (the “Environmental
Legislation”), provided however that nothing herein shall exempt the Monitor from any duty to
report or make disclosure imposed by applicable Environmental Legislation. The Monitor shall
not, as a result of this Order or anything done in pursuance of the Monitor's duties and powers
under this Order, be deemed to be in Possession of any of the Property within the meaning of any
Environmental Legislation, unless it is actually in possession.

30.    THIS COURT ORDERS that the Monitor shall provide any creditor of the Just Energy
Entities and the DIP Agent and the DIP Lenders with information provided by the Just Energy
Entities in response to reasonable requests for information made in writing by such creditor
addressed to the Monitor. The Monitor shall not have any responsibility or liability with respect to
the information disseminated by it pursuant to this paragraph. In the case of information that the
Monitor has been advised by the Just Energy Entities is confidential, the Monitor shall not provide
such information to creditors unless otherwise directed by this Court or on such terms as the
Monitor and the Applicant may agree.

31.    THIS COURT ORDERS that, in addition to the rights and protections afforded the
Monitor under the CCAA or as an officer of this Court, the Monitor shall incur no liability or
obligation as a result of its appointment or the carrying out of the provisions of this Order, save
and except for any gross negligence or wilful misconduct on its part. Nothing in this Order shall
derogate from the protections afforded the Monitor by the CCAA or any applicable legislation.

32.    THIS COURT ORDERS that the Monitor, counsel to the Monitor (including both U.S.
and Canadian counsel for all purposes of this Order), and counsel to the Just Energy Entities
(including both U.S. and Canadian counsel for all purposes of this Order) shall be paid their
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reasonable fees and disbursements, in each case at their standard rates and charges, whether
incurred prior to, on, or subsequent to the date of this Order, by the Just Energy Entities as part of
the costs of these proceedings. The Just Energy Entities are hereby authorized and directed to pay
the accounts of the Monitor, counsel to the Monitor, and the Just Energy Entities’ counsel on a
weekly basis.

33.    THIS COURT ORDERS that the Monitor and its legal counsel shall pass their accounts
from time to time, and for this purpose the accounts of the Monitor and its legal counsel are hereby
referred to a judge of the Commercial List of the Ontario Superior Court of Justice.

ADMINISTRATION CHARGE

34.    THIS COURT ORDERS that the Monitor, counsel to the Monitor and counsel to the Just
Energy Entities shall be entitled to the benefit of and are hereby granted a charge (the
“Administration Charge”) on the Property, which charge shall not exceed an aggregate amount
of C$2,200,000 as security for their professional fees and disbursements incurred at their standard
rates and charges, both before and after the making of this Order in respect of these proceedings.
The Administration Charge shall have the priority set out in paragraphs 43-45 herein.

DIP FINANCING

35.    THIS COURT ORDERS that the Just Energy Entities are hereby authorized and
empowered to obtain and borrow or guarantee, as applicable, pursuant a credit facility from the
DIP Agent and the DIP Lenders in order to finance the Just Energy Entities’ working capital
requirements and other general corporate purposes, all in accordance with the Cash Flow
Statements (as defined in the DIP Term Sheet, which term is defined below) and Definitive
Documents, provided that borrowings under such credit facility shall not exceed US$125,000,000
unless permitted by further Order of this Court.

36.    THIS COURT ORDERS that such credit facility shall be on the terms and subject to the
conditions set forth in the CCAA Interim Debtor-in-Possession Financing Term Sheet between the
Just Energy Entities, the DIP Agent and the DIP Lenders dated as of March 9, 2021 and attached
as Appendix “DD” to the Carter Affidavit (as may be amended or amended and restated from time
to time, the “DIP Term Sheet”).
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37.         THIS COURT ORDERS that the Just Energy Entities are hereby authorized and
empowered to execute and deliver such mortgages, charges, hypothecs and security documents,
guarantees and other definitive documents (collectively with the DIP Term Sheet and the Cash
Flow Statements, the “Definitive Documents”), as are contemplated by the DIP Term Sheet or as
may be reasonably required by the DIP Agent and the DIP Lenders pursuant to the terms thereof,
and the Just Energy Entities are hereby authorized and directed to pay and perform all of the
indebtedness, interest, fees, liabilities and obligations to the DIP Agent and the DIP Lenders under
and pursuant to the Definitive Documents as and when the same become due and are to be
performed, notwithstanding any other provision of this Order. Notwithstanding any other
provision in this Order, all payments and other expenditures to be made by any of the Just Energy
Entities to any Person (except the Monitor and its counsel) shall be in accordance with the terms
of the Definitive Documents, including in respect of payments in satisfaction of Priority
Commodity/ISO Obligations.

38.         THIS COURT ORDERS that the DIP Agent and the DIP Lenders shall be entitled to the
benefit of and are hereby granted a charge (the “DIP Lenders’ Charge”) on the Property, which
DIP Lenders’ Charge shall not secure an obligation that exists before this Order is made. The DIP
Lenders’ Charge shall have the priority set out in paragraphs 43-45 hereof.

39.         THIS COURT ORDERS that, notwithstanding any other provision of this Order:

      (a)      the DIP Agent on behalf of the DIP Lenders may take such steps from time to time as
               it may deem necessary or appropriate to file, register, record or perfect the DIP Lenders’
               Charge or any of the Definitive Documents;

      (b)      upon the occurrence of an event of default under any of the Definitive Documents or
               the DIP Lenders’ Charge, the DIP Agent or the DIP Lenders, as applicable, may
               immediately cease making advances or providing any credit to the Just Energy Entities
               and shall be permitted to set off and/or consolidate any amounts owing by the DIP
               Agent or the DIP Lenders to the Just Energy Entities against the obligations of the Just
               Energy Entities to the DIP Agent and the DIP Lenders under the Definitive Documents
               or the DIP Lenders’ Charge, make demand, accelerate payment and give other notices
               with respect to the obligations of the Just Energy Entities to the DIP Agent or the DIP
               Lenders under the Definitive Documents or the DIP Lenders’ Charge, or to apply to
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               this Court on five (5) days’ notice to the Just Energy Entities, the Monitor and the
               Service List to seek the Court’s authorization to exercise any and all of its other rights
               and remedies against the Just Energy Entities or the Property under or pursuant to the
               Definitive Documents and the DIP Lenders’ Charge, including without limitation, for
               the appointment of a receiver, receiver and manager or interim receiver, or for a
               bankruptcy order against the Just Energy Entities and for the appointment of a trustee
               in bankruptcy of the Just Energy Entities; and

      (c)      the foregoing rights and remedies of the DIP Agent and the DIP Lenders shall be
               enforceable against any trustee in bankruptcy, interim receiver, receiver or receiver and
               manager of the Just Energy Entities or the Property.

40.         THIS COURT ORDERS AND DECLARES that the DIP Agent, the DIP Lenders and
the Qualified Commodity/ISO Suppliers shall be treated as unaffected in any plan of arrangement
or compromise filed by the Applicants or any of them under the CCAA, or any proposal filed by
the Applicants or any of them under the Bankruptcy and Insolvency Act of Canada (the “BIA”),
with respect to any advances made under the Definitive Documents.

APPROVAL OF FINANCIAL ADVISOR AGREEMENT

41.         THIS COURT ORDERS that the agreement dated February 20, 2021 engaging BMO
Nesbitt Burns Inc. (the “Financial Advisor”) as financial advisor to the Just Energy Entities and
attached as Confidential Appendix “FF” to the Carter Affidavit (the “Financial Advisor
Agreement”), and the retention of the Financial Advisor under the terms thereof, is hereby ratified
and approved and the Just Energy Entities are authorized and directed nunc pro tunc to make the
payments contemplated thereunder in accordance with the terms and conditions of the Financial
Advisor Agreement.

42.         THIS COURT ORDERS that the Financial Advisor shall be entitled to the benefit of and
is hereby granted a charge (the “FA Charge”) on the Property, which charge shall not exceed an
aggregate amount of C$1,800,000 as security for the fees and disbursements and other amounts
payable under the Financial Advisor Agreement, both before and after the making of this Order in
respect of these proceedings. The FA Charge shall have the priority set out in paragraphs 43-45
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VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER

43.     THIS COURT ORDERS that the priorities of the Administration Charge, the FA Charge,
the Directors’ Charge, the DIP Lenders’ Charge and the Priority Commodity/ISO Charge, as
among them, shall be as follows:

                First – Administration Charge and FA Charge (to the maximum amount of
                C$2,200,000 and C$1,800,000, respectively), on a pari passu basis;

                Second – Directors’ Charge (to the maximum amount of C$30,000,000); and

                Third – DIP Lenders’ Charge (to the maximum amount of the Obligations (as
                defined in the DIP Term Sheet) owing thereunder at the relevant time) and the
                Priority Commodity/ISO Charge, on a pari passu basis.

44.     THIS COURT ORDERS that the filing, registration or perfection of the Administration
Charge, the FA Charge, the Directors’ Charge, the DIP Lenders’ Charge or the Priority
Commodity/ISO Charge (collectively, the “Charges”) shall not be required, and that the Charges
shall be valid and enforceable for all purposes, including as against any right, title or interest filed,
registered, recorded or perfected subsequent to the Charges coming into existence, notwithstanding
any such failure to file, register, record or perfect.

45.     THIS COURT ORDERS that each of the Charges shall constitute a charge on the
Property and such Charges shall rank in priority to all other security interests, trusts, liens, charges
and encumbrances, claims of secured creditors, statutory or otherwise (collectively,
“Encumbrances”) in favour of any Person (including those commodity suppliers listed in
Schedule “A” hereto), other than any Person with a properly perfected purchase money security
interest under the Personal Property Security Act (Ontario) or such other applicable legislation
that has not been served with notice of this Order.

46.     THIS COURT ORDERS that except as otherwise expressly provided for herein, or as
may be approved by this Court on notice to parties in interest, the Just Energy Entities shall not
grant any Encumbrances over any Property that rank in priority to, or pari passu with, any of the
Charges unless the Just Energy Entities also obtain the prior written consent of the Monitor, the
DIP Agent on behalf of the DIP Lenders and the beneficiaries of the Administration Charge, the
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FA Charge, the Directors’ Charge and the Priority Commodity/ISO Charge, or further Order of
this Court.

47.         THIS COURT ORDERS that the Charges, the agreements and other documents
governing or otherwise relating to the obligations secured by the Charges, and the Definitive
Documents shall not be rendered invalid or unenforceable and the rights and remedies of the
chargees entitled to the benefit of the Charges (collectively, the “Chargees”) and/or the DIP Agent
or the DIP Lenders thereunder shall not otherwise be limited or impaired in any way by (a) the
pendency of these proceedings and the declarations of insolvency made herein; (b) any
application(s) for bankruptcy order(s) issued pursuant to BIA, or any bankruptcy order made
pursuant to such applications; (c) the filing of any assignments for the general benefit of creditors
made pursuant to the BIA; (d) the provisions of any federal or provincial statutes; or (e) any
negative covenants, prohibitions or other similar provisions with respect to borrowings, incurring
debt or the creation of Encumbrances, contained in any existing loan document, lease, sublease,
offer to lease or other agreement (collectively, an “Agreement”) which binds any of the Just
Energy Entities and notwithstanding any provision to the contrary in any Agreement:

      (a)      neither the creation of the Charges nor the execution, delivery, perfection, registration
               or performance of the Definitive Documents shall create or be deemed to constitute a
               breach by any Just Energy Entity of any Agreement to which it is a party;

      (b)      none of the Chargees shall have any liability to any Person whatsoever as a result of
               any breach of any Agreement caused by or resulting from the Just Energy Entities
               entering into the DIP Term Sheet, the creation of the Charges or the execution, delivery
               or performance of any of the other Definitive Documents; and

      (c)      the payments made by the Just Energy Entities pursuant to this Order or the Definitive
               Documents, and the granting of the Charges, do not and will not constitute preferences,
               fraudulent conveyances, transfers at undervalue, oppressive conduct, or other
               challengeable or voidable transactions under any applicable law.

48.         THIS COURT ORDERS that any Charge created by this Order over leases of real
property in Canada shall only be a Charge in the Just Energy Entities’ interest in such real property
leases.
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SERVICE AND NOTICE

49.    THIS COURT ORDERS that the Monitor shall (i) without delay, publish in The Globe
and Mail (National Edition) and the Wall Street Journal a notice containing the information
prescribed under the CCAA, (ii) within five days after the date of this Order, (A) make this Order
publicly available in the manner prescribed under the CCAA, (B) send, or cause to be sent, in the
prescribed manner or by electronic message to the e-mail addresses as last shown on the records
of the Just Energy Entities, a notice to every known creditor who has a claim against the Just
Energy Entities of more than $1,000, and (C) prepare a list showing the names and addresses of
those creditors and the estimated amounts of those claims, and make it publicly available in the
prescribed manner, all in accordance with Section 23(1)(a) of the CCAA and the regulations made
thereunder, provided that the Monitor shall not make the claims, names and addresses of the
individuals who are creditors publicly available.

50.    THIS COURT ORDERS that the Monitor shall create, maintain and update as necessary
a list of all Persons appearing in person or by counsel in this proceeding (the
“Service List”). The Monitor shall post the Service List, as may be updated from time to time, on
the Monitor’s website as part of the public materials to be recorded thereon in relation to this
proceeding. Notwithstanding the foregoing, the Monitor shall haven o liability in respect of the
accuracy of or the timeliness of making any changes to the Service List.

51.    THIS COURT ORDERS that the E-Service Protocol of the Commercial List (the
“Protocol”) is approved and adopted by reference herein and, in this proceeding, the service of
documents made in accordance with the Protocol (which can be found on the Commercial List
website      at     http://www.ontariocourts.ca//scj/practice/practice-directions/toronto/eservice-
commercial/) shall be valid and effective service. Subject to Rule 17.05 this Order shall constitute
an order for substituted service pursuant to Rule 16.04 of the Rules of Civil Procedure. Subject to
Rule 3.01(d) of the Rules of Civil Procedure and paragraph 21 of the Protocol, service of
documents in accordance with the Protocol will be effective on transmission. This Court further
orders that a Case Website shall be established in accordance with the Protocol with the following
URL - http://cfcanada.fticonsulting.com/justenergy (the “Monitor’s Website”).

52.    THIS COURT ORDERS that the Just Energy Entities, the DIP Agent or the DIP Lenders
and the Monitor and their respective counsel are at liberty to serve or distribute this Order, any
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other materials and orders as may be reasonably required in these proceedings, including any
notices, or other correspondence, by forwarding true copies thereof by prepaid ordinary mail,
courier, personal deliver, facsimile or other electronic transmission to the Just Energy Entities’
creditors or other interested parties and their advisors and that any such service, distribution or
notice shall be deemed to be received: (a) if sent by courier, on the next business day following
the date of forwarding thereof, (b) if delivered by personal delivery or facsimile or other electronic
transmission, on the day so delivered, and (c) if sent by ordinary mail, on the third business day
after mailing. For greater certainty, any such distribution or service shall be deemed to be in
satisfaction of a legal or judicial obligation, and notice requirements within the meaning of clause
3(c) of the Electronic Commerce Protection Regulations, Reg. 81000-2-175 (SOR/DORS).

FOREIGN PROCEEDINGS

53.    THIS COURT ORDERS that the Applicant, Just Energy Group Inc. (“JEGI”) is hereby
authorized and empowered, but not required, to act as the foreign representative (in such capacity,
the “Foreign Representative”) in respect of the within proceedings for the purpose of having
these proceedings recognized and approved in a jurisdiction outside of Canada.

54.    THIS COURT ORDERS that the Foreign Representative is hereby authorized to apply
for foreign recognition and approval of these proceedings, as necessary, in any jurisdiction outside
of Canada, including in the United States pursuant to chapter 15 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532.

GENERAL

55.    THIS COURT ORDERS that any interested party that wishes to amend or vary this Order
shall be entitled to appear or bring a motion before this Court on a date to be set by this Court upon
the granting of this Order (the “Comeback Date”), and any such interested party shall give not
less than two (2) business days’ notice to the Service List and any other party or parties likely to
be affected by the Order sought in advance of the Comeback Date; provided, however, that the
Chargees, the DIP Agent and the DIP Lenders shall be entitled to rely on this Order as issued and
entered and on the Charges and priorities set out in paragraphs 43-45 hereof, including with respect
to any fees, expenses and disbursements incurred and in respect of advances made under the
Definitive Documents or pursuant to the Qualified Support Agreement, as applicable, until the
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date this Order may be amended, varied or stayed. For the avoidance of doubt, no payment in
respect of any obligations secured by the Priority Commodity/ISO Charge shall be subject to the
terms of any intercreditor agreement, including any “turnover” or “waterfall” provision(s) therein.

56.    THIS COURT ORDERS that, notwithstanding paragraph 55 of this Order, the Just
Energy Entities or the Monitor may from time to time apply to this Court to amend, vary or
supplement this Order or for advice and directions in the discharge of their powers and duties under
this Order or in the interpretation or application of this Order.

57.    THIS COURT ORDERS that nothing in this Order shall prevent the Monitor from acting
as an interim receiver, a receiver, a receiver and manager, or a trustee in bankruptcy of the Just
Energy Entities, the Business or the Property.

58.    THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body or agency having jurisdiction in Canada or in the United States,
to give effect to this Order and to assist the Just Energy Entities, the Monitor and their respective
agents in carrying out the terms of this Order. All courts, tribunals, regulatory and administrative
bodies and agencies are hereby respectfully requested to make such orders and to provide such
assistance to the Just Energy Entities and to the Monitor, as an officer of this Court, as may be
necessary or desirable to give effect to this Order, to grant representative status to JEGI, in any
foreign proceeding, or to assist the Just Energy Entities and the Monitor and their respective agents
in carrying out the terms of this Order.

59.    THIS COURT ORDERS that each of the Just Energy Entities and the Monitor be at
liberty and are hereby authorized and empowered to apply to any court, tribunal, regulatory or
administrative body or agency, wherever located, for the recognition of this Order and for
assistance in carrying out the terms of this Order, and that JEGI is authorized and empowered to
act as a representative in respect of the within proceedings for the purpose of having these
proceedings recognized in a jurisdiction outside Canada.

60.    THIS COURT ORDERS that Confidential Appendices “FF” and “GG” to the Carter
Affidavit shall be and are hereby sealed, kept confidential and shall not form part of the public
record pending further Order of this Court.
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61.    THIS COURT ORDERS that this Order and all of its provisions are effective as of
12:01 a.m. Eastern Standard/Daylight Time on the date of this Order.




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                                   SCHEDULE “A”

                                    JE Partnerships

Partnerships:

    x    JUST ENERGY ONTARIO L.P.

    x    JUST ENERGY MANITOBA L.P.

    x    JUST ENERGY (B.C.) LIMITED PARTNERSHIP

    x    JUST ENERGY QUÉBEC L.P.

    x    JUST ENERGY TRADING L.P.

    x    JUST ENERGY ALBERTA L.P.

    x    JUST GREEN L.P.

    x    JUST ENERGY PRAIRIES L.P.

    x    JEBPO SERVICES LLP

    x    JUST ENERGY TEXAS LP


Commodity Suppliers:


    x    EXELON GENERATION COMPANY, LLC

    x    BRUCE POWER L.P.

    x    SOCIÉTÉ GÉNÉRALE

    x    EDF TRADING NORTH AMERICA, LLC

    x    NEXTERA ENERGY POWER MARKETING, LLC

    x    MACQUARIE BANK LIMITED

    x    MACQUARIE ENERGY CANADA LTD.

    x    MACQUARIE ENERGY LLC

    x    MORGAN STANLEY CAPITAL GROUP


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                                        SCHEDULE “B”

                                         DEFINITIONS

“Commodity Agreement” means a gas supply agreement, electricity supply agreement or other
agreement with any Just Energy Entity for the physical or financial purchase, sale, trading or
hedging of natural gas, electricity or environmental derivative products.

“ISO Agreement” means an agreement pursuant to which a Just Energy Entity has reimbursement
obligations to a counterparty for payments made by such counterparty on behalf of such Just
Energy Entity to an independent system operator that coordinates, controls and monitors the
operation of an electrical power system, and includes all agreements related thereto.

“Priority Commodity/ISO Obligation” amounts that are due and payable, at the applicable time,
for: (i)(A) the physical supply of electricity or gas that has been delivered on or after March 9,
2021; (B) financial settlements on or after March 9, 2021; and (C) amounts owing under a
confirmation or transaction that was executed on or after March 9, 2021 pursuant to a Commodity
Agreement as a result of the termination thereof in accordance with the applicable Qualified
Support Agreement; and (ii) for services actually delivered by a Qualified Commodity/ISO
Supplier on or after March 9, 2021 pursuant to an ISO Agreement (but for greater certainty,
excluding any amount owing for ISO services provided under the BP ISO Agreement on or before
the date of this Order, whether or not yet due).

“Qualified Commodity/ISO Supplier” means any counterparty to a Commodity Agreement or
ISO Agreement as of March 9, 2021 that has executed or executes a Qualfied Support Agreement
with a Just Energy Entity and refrained from exercising termination rights under the Commodity
Agreement as a result of the commencement of the Proceedings absent an event of default under
such Qualfied Support Agreement.

“Qualified Support Agreement” means a support agreement between a Just Energy Entity and a
counterparty to a Commodity Agreement, in form and substance satisfactory to the Just Energy
Entities and the DIP Lenders, acting reasonably, which includes, among other things: (i) that such
counterparty shall apply to the Court on five (5) days’ notice to the Just Energy Entities, the
Monitor and the Service List prior to exercising any termination rights under a Qualified Support
Agreement; (ii) the obligation to supply physical and financial power and natural gas and other


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related services pursuant to any confirmations or transactions executed pursuant to a Commodity
Agreement; and (iii) an agreement to refrain from exercising termination rights as a result of the
commencement of the Proceedings absent an event of default under such support agreement.
 IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C.              Court File No: CV-19-
 1985, C. C-36, AS AMENDED

 AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF JUST ENERGY GROUP INC., et al
 (collectively, the “Applicants”)



                                                                          Ontario
                                                                SUPERIOR COURT OF JUSTICE
                                                                    COMMERCIAL LIST

                                                                 Proceeding commenced at Toronto


                                                                         INITIAL ORDER
                                                       OSLER, HOSKIN & HARCOURT, LLP
                                                       P.O. Box 50, 1 First Canadian Place
                                                       Toronto, ON M5X 1B8

                                                       Marc Wasserman (LSO# 44066M)
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                                                       Tel: (416) 362-2111
                                                       Fax: (416) 862-6666

                                                       Lawyers for the Applicants
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                             SCHEDULE F

                        DIP AGENT PROVISIONS

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                                              SCHEDULE F

                                          DIP Agent Provisions

(i)     Appointment of DIP Agent.

        (a)     Each of the Lenders hereby irrevocably appoints Alter Domus (US) LLC and its
                successors to serve as administrative agent and collateral agent under the Loan
                Documents, and authorizes the DIP Agent to execute, deliver and administer the Loan
                Documents and to take such actions and to exercise such powers as are delegated to the
                DIP Agent by the terms of the Loan Documents, together with such actions and powers
                as are reasonably incidental thereto. In addition, to the extent required under the laws of
                any jurisdiction other than the United States of America, each of the Lenders hereby
                grants to the DIP Agent any required powers of attorney to execute any security
                agreement or other instrument or document that is executed and delivered to secure the
                Obligations governed by the laws of such jurisdiction on such Lender's behalf. Neither
                the Borrowers nor any other Loan Party shall have rights as a third-party beneficiary of
                any such provisions.

        (b)     The Person serving as the DIP Agent hereunder shall have the same rights and powers in
                its capacity as a Lender as any other Lender and may exercise the same as though it were
                not the DIP Agent, and such Person and its affiliates may accept deposits from, lend
                money to, own securities of, act as the financial advisor or in any other advisory capacity
                for and generally engage in any kind of business with the Borrowers or any other
                subsidiary or other affiliate thereof as if such Person were not the DIP Agent hereunder
                and without any duty to account therefor to the Lenders.

(ii)    Nature of Duties; Delegation.

        (a)     The DIP Agent shall not have any duties or obligations except those expressly set forth in
                the Loan Documents, and its duties hereunder shall be administrative in nature. Without
                limiting the generality of the foregoing, (i) the DIP Agent shall not be subject to any
                fiduciary or other implied duties, regardless of whether a Default or an Event of Default
                has occurred and is continuing (and it is understood and agreed that the use of the term
                "agent" herein or in any other Loan Documents (or any other similar term) with reference
                to the DIP Agent is not intended to connote any fiduciary or other implied (or express)
                obligations arising under agency doctrine of any requirement of law, and that such term is
                used as a matter of market custom and is intended to create or reflect only an
                administrative relationship between contracting parties), (ii) the DIP Agent shall not have
                any duty to take any discretionary action or to exercise any discretionary power, except
                discretionary rights and powers expressly contemplated by the Loan Documents that the
                DIP Agent is required to exercise as directed in writing by the Majority Lenders (or such
                other number or percentage of the Lenders as shall be necessary, or as the DIP Agent
                shall believe in good faith to be necessary, under the circumstances as provided in the
                DIP Loan Documents); provided that the DIP Agent shall not be required to take any
                action that, in its opinion, could expose the DIP Agent to liability or be contrary to any
                Loan Document or any requirement of law, and (iii) except as expressly set forth in the
                Loan Documents, the DIP Agent shall not have any duty to disclose, and shall not be
                liable for the failure to disclose, any information relating to the Borrowers, any other
                subsidiary or any other affiliate of any of the foregoing that is communicated to or
                obtained by the Person serving as DIP Agent or any of its afiliates in any capacity. The
                DIP Agent shall not be liable to any Person for any action taken or not taken by it with
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       the consent or at the request of the Majority Lenders (or such other number or percentage
       of the Lenders as shall be necessary, or as the DIP Agent shall believe in good faith to be
       necessary, under the circumstances as provided in the Loan Documents) or in the absence
       of its own gross negligence or willful misconduct (such absence to be presumed unless
       otherwise determined by a court of competent jurisdiction by a final and nonappealable
       judgment); provided, that, no action taken or not taken at the direction of the Majority
       Lenders shall be considered gross negligence or willful misconduct. The DIP Agent shall
       be deemed not to have knowledge of any Default unless and until written notice thereof
       (conspicuously stating that it is a "notice of default" and providing sufficient detail of
       such Default) is given to the DIP Agent by a Borrower or a Lender, and the DIP Agent
       shall not be responsible for or have any duty to ascertain or inquire into (A) any
       statement, warranty or representation made in or in connection with any Loan Document,
       (B) the contents of any certificate, report or other document delivered hereunder or in
       connection herewith, (C) the performance or observance of any of the covenants,
       agreements or other terms or conditions set forth in any Loan Document or the
       occurrence of any Default, (D) the sufficiency, validity, enforceability, effectiveness or
       genuineness of any Loan Document or any other agreement, instrument or document, or
       (E) the satisfaction of any condition set forth in this Term Sheet or elsewhere in any Loan
       Document, other than to confirm receipt of items expressly required to be delivered to the
       DIP Agent or satisfaction of any condition that expressly refers to the matters described
       therein being acceptable or satisfactory to the DIP Agent. The DIP Agent shall be entitled
       to rely, and shall not incur any liability for relying, upon any notice, request, certificate,
       consent, statement, instrument, document or other writing (including any electronic
       message, Internet or intranet website posting or other distribution) believed by it to be
       genuine and to have been signed, sent or otherwise authenticated by the proper Person
       (whether or not such Person in fact meets the requirements set forth in the Loan
       Documents for being the signatory, sender or authenticator thereof). The DIP Agent also
       shall be entitled to rely, and shall not incur any liability for relying, upon any statement
       made to it orally or by telephone and believed by it to be made by the proper Person
       (whether or not such Person in fact meets the requirements set forth in the Loan
       Documents for being the signatory, sender or authenticator thereof), and may act upon
       any such statement prior to receipt of written confirmation thereof. In determining
       compliance with any condition hereunder to the making of an Advance that by its terms
       must be fulfilled to the satisfaction of a Lender, the DIP Agent may presume that such
       condition is satisfactory to such Lender unless the DIP Agent shall have received written
       notice to the contrary from such Lender prior to the making of such Advance. The DIP
       Agent may consult with legal counsel (who may be counsel for the Borrowers),
       independent accountants and other experts selected by it, and shall not be liable for any
       action taken or not taken by it in accordance with the advice of any such counsel,
       accountants or experts.

 (b)   The DIP Agent may perform any of and all its duties and exercise its rights and powers
       hereunder or under any other Loan Document by or through any one or more sub-agents
       appointed by the DIP Agent. The DIP Agent and any such sub-agent may perform any of
       and all their duties and exercise their rights and powers through their respective Related
       Parties. The exculpatory provisions of this clause (ii) shall apply to any such sub-agent
       and to the Related Parties of the DIP Agent and any such sub-agent, and shall apply to
       their respective activities in connection with the syndication of the credit facilities
       provided for herein as well as activities as DIP Agent. The DIP Agent shall not be
       responsible for the negligence or misconduct of any sub-agents except to the extent that a
       court of competent jurisdiction determines in a final and nonappealable judgment that the
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                DIP Agent acted with gross negligence or willful misconduct in the selection of such sub-
                agents.

(iii)    Successor Agent.

         (a)    Subject to the terms of this clause (iii), the DIP Agent may resign at any time from its
                capacity as such. In connection with such resignation, the DIP Agent shall give notice of
                its intent to resign to the Lenders and the Borrowers. Upon receipt of any such notice
                of resignation, the Majority Lenders shall have the right, in consultation with the
                Borrowers, to appoint a successor. If no successor shall have been so appointed by the
                Majority Lenders and shall have accepted such appointment within 30 days after the
                retiring DIP Agent gives notice of its intent to resign, then the retiring DIP Agent may, on
                behalf of the Lenders, appoint a successor DIP Agent, which shall be (i) a bank with an
                office in New York, New York, or an affiliate of any such bank, (ii) a Lender or (iii) any
                other Person with the prior written consent of the Majority Lenders. Upon the acceptance
                of its appointment as DIP Agent hereunder by a successor, such successor shall succeed
                to and become vested with all the rights, powers, privileges and duties of the retiring DIP
                Agent, and the retiring DIP Agent shall be discharged from its duties and obligations
                hereunder and under the other Loan Documents. The fees payable by the Borrowers to a
                successor DIP Agent shall be the same as those payable to its predecessor unless
                otherwise agreed by the Borrowers and such successor.

         (b)    Notwithstanding the foregoing, in the event no successor DIP Agent shall have been so
                appointed and shall have accepted such appointment within 30 days after the retiring DIP
                Agent gives notice of its intent to resign, the retiring DIP Agent may give notice of the
                effectiveness of its resignation to the Lenders and the Borrowers, whereupon, on the date
                of effectiveness of such resignation stated in such notice, (i) the retiring DIP Agent shall
                be discharged from its duties and obligations hereunder and under the other Loan
                Documents; provided that, solely for purposes of maintaining any security interest
                granted to the DIP Agent for the benefit of the Lenders, the retiring DIP Agent shall
                continue to be vested with such security interest as collateral agent for the benefit of the
                Lenders and, in the case of any Collateral in the possession of the DIP Agent, shall
                continue to hold such Collateral, in each case until such time as a successor DIP Agent is
                appointed and accepts such appointment in accordance with this paragraph (it being
                understood and agreed that the retiring DIP Agent shall have no duty or obligation to take
                any further action with respect to the Collateral, including any action required to maintain
                the perfection of any such security interest), and (ii) the Majority Lenders shall succeed
                to and become vested with all the rights, powers, privileges and duties of the retiring DIP
                Agent; provided that (A) all payments required to be made hereunder or under any other
                Loan Document to the DIP Agent for the account of any Person other than the DIP Agent
                shall be made directly to such Person and (B) all notices and other communications
                required or contemplated to be given or made to the DIP Agent shall also directly be
                given or made to each DIP Lender.

         (c)    Following the effectiveness of the DIP Agent's resignation from its capacity as such, the
                provisions of this Schedule F, as well as any exculpatory, reimbursement and
                indemnification provisions set forth in any other Loan Document, shall continue in effect
                for the benefit of such retiring DIP Agent, its sub-agents and their respective Related
                Parties in respect of any actions taken or omitted to be taken by any of them while it
                was acting as DIP Agent and in respect of the matters referred to in the proviso under
                clause (i) in clause (iii)(b) above.
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(iv)    Non-Reliance on DIP Agent; DIP Lender Consent.

        (a)      Each Lender acknowledges that it has, independently and without reliance upon the DIP
                 Agent or any other Lender, or any of the Related Parties of any of the foregoing, and
                 based on such documents and information as it has deemed appropriate, made its own
                 credit analysis and decision to enter into this Term Sheet. Each Lender also
                 acknowledges that it will, independently and without reliance upon the DIP Agent or any
                 other Lender, or any of the Related Parties of any of the foregoing, and based on such
                 documents and information as it shall from time to time deem appropriate, continue to
                 make its own decisions in taking or not taking action under or based upon this Term
                 Sheet, any other Loan Document or any related agreement or any document furnished
                 hereunder or thereunder.

        (b)      Each Lender shall be deemed to have acknowledged receipt of, and consented to and
                 approved, each Loan Document and each other document required to be delivered to, or
                 be approved by or satisfactory to, the DIP Agent or the Lenders on the Closing Date.

(v)     Collateral Matters.

        (a)      Except with respect to a Lender's right to file a proof of claim in an insolvency
                 proceeding, no Lender (other than the DIP Agent in its capacity as such) shall have any
                 right individually to realize upon any of the Collateral or to enforce any guarantee of the
                 Obligations, it being understood and agreed that all powers, rights and remedies under the
                 Loan Documents may be exercised solely by the DIP Agent on behalf of the Lenders in
                 accordance with the terms thereof. In the event of a foreclosure by the DIP Agent on any
                 of the Collateral pursuant to a public or private sale or other disposition, the DIP Agent or
                 any Lender may be the purchaser or licensor of any or all of such Collateral at any such
                 sale or other disposition, and the DIP Agent, as agent for and representative of the
                 Lenders (but not any Lender or Lenders in its or their respective individual capacities
                 unless the Majority Lenders shall otherwise agree in writing) shall be entitled, for the
                 purpose of bidding and making settlement or payment of the purchase price for all or any
                 portion of the Collateral sold at any such public sale, to use and apply any of the
                 Obligations as a credit on account of the purchase price for any collateral payable by the
                 DIP Agent on behalf of the Lenders at such sale or other disposition.

        (b)      The DIP Agent shall not be responsible for or have a duty to ascertain or inquire into any
                 representation or warranty regarding the existence, value or collectability of the
                 Collateral, the existence, priority or perfection of the DIP Agent's Lien thereon, or any
                 certificate prepared by any Loan Party in connection therewith, nor shall the DIP Agent
                 be responsible or liable to the Lenders for any failure to monitor or maintain any portion
                 of the Collateral.

(vi)    Lender Indemnification. To the extent the DIP Agent (or any sub-agent) or any affiliate thereof
(each a “DIP Agent Indemnitee”) is not timely reimbursed and indemnified by the Loan Parties, each
Lender shall indemnify, reimburse and hold harmless the DIP Agent Indemnitees, based on and to the
extent of such Lender’s pro rata share (determined as of the time that the applicable unreimbursed
expense or indemnity payment is sought), from and against any and all liabilities, obligations, losses,
damages, penalties, claims, actions, judgments, costs, expenses (including reasonable and documented or
invoiced out-of-pocket fees and expenses of a primary counsel for the DIP Agent Indemnitees, taken as a
whole (in addition to, in the event of an actual conflict of interest that arises, one additional counsel (plus
one local counsel in each relevant material jurisdiction) for the conflicted Agent Indemnitees, taken as a
whole)) or disbursements of whatsoever kind or nature which may be imposed on, asserted against or
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incurred by the DIP Agent Indemnitees in connection with any action taken or omitted to be taken by the
DIP Agent Indemnitees or under any Loan Document or in any way relating to or arising out of the Term
Sheet or any other Loan Document; provided that no Lender shall be liable for any portion of such
liabilities, obligations, losses, damages, penalties, claims, actions, judgments, suits, costs, expenses or
disbursements resulting from a DIP Agent Indemnitee’s gross negligence or willful misconduct (as
determined by a court of competent jurisdiction in a final and non-appealable decision) (it being
understood and agreed that no action nor any omission to act taken by the DIP Agent at the direction of
the Majority Lenders shall constitute gross negligence or willful misconduct). For purposes hereof, a
Lender’s “pro rata share” shall be determined based upon its share of the outstanding Advances and
unused Commitments at such time (or if such indemnity payment is sought after the date on which the
Obligations have been paid in full and the Commitments are terminated in accordance with such Lender’s
pro rata share immediately prior to the date on which the Obligations are paid in full and the
Commitments are terminated).

(vii)   No Third Party Beneficiaries. The provisions of this Schedule F are solely for the benefit of the
DIP Agent and the Lenders, and, except solely to the extent of the Borrower's rights to consent pursuant
to and subject to the conditions set forth in this Schedule F, none of the Borrowers or any other Loan
Party shall have any rights as a third party beneficiary of any such provisions. Each Lender, whether or
not a party hereto, will be deemed, by its acceptance of the benefits of the Collateral and of the
guarantees of the Obligations provided under the Loan Documents, to have agreed to the provisions of
this Schedule F.
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                                                  SCHEDULE G

                                REPRESENTATIONS AND WARRANTIES


22. Representations and Warranties

                As of the Closing Date, each Borrower represents and warrants to the DIP Agent and each Lender
and acknowledges and confirms that the DIP Agent and each Lender is relying upon such representations and
warranties:

           (1)      Existence and Qualification Subject to any restrictions arising on account of any Loan Party’s
 protected status under the CCAA Proceedings (and only so long as such status exists), each Loan Party (i) has been
 duly incorporated, formed, amalgamated, merged or continued, as the case may be, and is validly subsisting as a
 corporation, company, limited liability company, partnership or trust, under the laws of its jurisdiction of
 formation, amalgamation, merger or continuance, as the case may; and (ii) is duly qualified, in good standing and
 has all required Material Licences to carry on its business in each jurisdiction in which the nature of its business
 requires qualification to the extent necessary to carry on its business.

           (2)       Power and Authority Subject to the entry of, and the terms of, the CCAA Orders and to any
 restrictions arising solely on account of any Loan Party’s protected status under the CCAA Proceedings (and only
 so long as such status exists), each Loan Party has the corporate, trust, company, limited liability company or
 partnership power and authority, as the case may be, (i) to enter into, and to exercise its rights and perform its
 obligations under, the Loan Documents to which it is a party and all other instruments and agreements delivered by
 it pursuant to any of the Loan Documents, and (ii) to own its Property and carry on its business as currently
 conducted and as currently proposed to be conducted by it.

          (3)       Execution, Delivery, Performance and Enforceability of Documents Subject to the entry of, and
 the terms of, the CCAA Orders and to any restrictions arising solely on account of any Loan Party’s protected status
 under the CCAA Proceedings (and only so long as such status exists), the execution, delivery and performance of
 each of the Loan Documents to which each Loan Party is a party, and every other instrument or agreement
 delivered by an Loan Party pursuant to any Loan Document has been duly authorized by all corporate, trust,
 company or partnership actions required, and each of such documents has been duly executed and delivered. Each
 Loan Document to which any Loan Party is a party, upon entry of the CCAA Orders, constitutes the legal, valid and
 binding obligations of such Loan Party, enforceable against such Loan Party in accordance with its terms (except,
 in any case, as such enforceability may be limited by applied bankruptcy, insolvency, reorganization or similar
 laws affecting creditors’ rights generally and by principles of equity).

          (4)      Loan Documents Comply with Applicable Laws, Organizational Documents and Contractual
 Obligations Subject to the entry of the CCAA Orders, none of the execution or delivery of, the consummation of
 the transactions contemplated in, or compliance with the terms, conditions and provisions of any of, the Loan
 Documents conflicts with or will conflict with, or results or will result in any breach of, or constitutes a default
 under or contravention of, (a) any Loan Parties’ Organizational Document, (b) any Material Contract or Material
 Licence, (c) any Requirement of Law other than immaterial breaches or (d) results or will result in the creation or
 imposition of any Lien upon any of its Property that is not a Permitted Lien.

         (5)       Consent Respecting Loan Documents Each Loan Party has, obtained, made or taken all consents,
approvals, authorizations, declarations, registrations, filings, notices and other actions whatsoever required with
Governmental Authorities, third parties or otherwise to enable it to execute and deliver each of the Loan Documents
to which it is a party and to consummate the transactions contemplated in the Loan Documents, other than the
approvals, clarifications or authorizations of the Governmental Authorities (including, without limitation, the
Reserve Bank of India) required under the laws of India for the execution and delivery by JEBPO of the Guarantee
and the Security Documents to which it is a party, and the performance by JEBPO of its obligations thereunder.
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          (6)       Taxes Except for those Taxes the nonpayment of which is excused, permitted, or required by the
CCAA Proceedings or chapter 15 of title 11 of the United States Code (the “Bankruptcy Code”), each Loan Party
has timely paid, or made adequate provision for the payment of, all Taxes that are due and payable, or has accrued
amounts in its financial statements for the payment of such Taxes, regardless of whether they are shown to be
payable on a Tax Return, except for any such taxes, charges, fees or dues (i) which are not material in amount, (ii)
which are not delinquent or if delinquent are being contested, in good faith, or (iii) in respect of which non-payment
would not individually or in the aggregate have, or be reasonably likely to cause, a Material Adverse Effect. There is
no action, suit, proceeding, investigation or audit or claim now pending or, to its knowledge, threatened in writing
by any Governmental Authority regarding any Taxes, nor has it or any other Loan Party agreed to waive or extend
any statute of limitations with respect to the payment or collection of Taxes, in each case, which would individually
or in the aggregate have, or be reasonably likely to cause, a Material Adverse Effect. Except for those Taxes, the
nonpayment of which is excused, permitted or required by the CCAA Proceedings or the Bankruptcy Code, each
Loan Party has duly and timely withheld or collected all material Taxes required to be withheld or collected by it
(including in connection with amounts paid to employees, non-residents of Canada, independent contractors,
creditors, shareholders or other third parties) and has duly and timely remitted such material Taxes to the appropriate
Governmental Authority when required by Law to do so, except for (i) any such taxes which are not delinquent or if
delinquent are being contested in good faith, or (ii) in respect of which the failure to withhold, collect or remit would
not individually or in the aggregate have, or be reasonably likely to cause, a Material Adverse Effect. For all
transactions between a Loan Party that is a resident of Canada for purposes of the Tax Act and any person not
resident in Canada for purpose of the Tax Act and with whom such Loan Party was not dealing arm’s length, the
Loan Party has made or obtained records or documents that meet the requirements of paragraphs 247(4)(a) to (c) of
the Tax Act. Any Loan Party that is a corporate partner of the Canadian Borrower is not controlled by a person or by
a group of non-resident persons who do not deal at arm’s length with each other.

         (7)      Judgments, Etc. At the date given, other than pursuant to the CCAA Proceedings, no Loan Party is
subject to any judgment, order, writ, injunction, decree or award, or to any restriction, rule or regulation (other than
customary or ordinary course restrictions, rules and regulations consistent or similar with those imposed on other
Persons engaged in similar businesses) which has not been lifted or stayed.

          (8)         Absence of Litigation Other than the CCAA Proceedings, there are no actions, suits or
 proceedings pending or, to the best of its knowledge and belief, after due inquiry and all reasonable investigation,
 threatened against or involving any Loan Party, (i) which would reasonably be expected to have a Material Adverse
 Effect or (ii) that involve this Term Sheet or the other Loan Documents, in each case, which are not subject to the
 CCAA Stay.

           (9)     Title to Assets Each Loan Party has good title to its assets, free and clear of all Liens except
 Permitted Liens and defects in title which are not material in nature to the conduct of any Loan Party’s business,
 and no Person has any agreement or right to acquire an interest in such assets other than in the ordinary course of
 its business. The Pledged Securities constitute all of the equity interests held by each Loan Party in any other Loan
 Party.

           (10)      Liens Subject to entry of the CCAA Orders, the DIP Facility Charge and the Liens created in
 favor of the DIP Agent under the Security Documents create valid, binding and perfected Liens on all right, title
 and interest in all of the Property which is the subject matter of the Security Documents and those Liens have
 priority over all other present and future Liens except for Permitted Priority Liens.

          (11)     Use of Real Property All real property material to the business of the Loan Party owned or
 leased by each Loan Party may be used by such Loan Party pursuant to Applicable Law for the present use and
 operation of the material elements of the business conducted, or intended to be conducted, on such real property by
 such Loan Party.

           (12)     Insurance Each Loan Party maintains insurance which is in full force and effect that complies
 with all of the requirements of the Original Senior Credit Agreement as of September 28, 2020.

        (13)     Labour Relations No Loan Party is engaged in any material unfair labour practice or material
 employment discrimination practice, and there is no material unfair labour practice complaint or material complaint
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 of employment discrimination pending against an Loan Party, or to its knowledge threatened against an Loan Party,
 before any Governmental Authority. To the best of its knowledge, no material grievance or arbitration arising out
 of or under any collective bargaining agreement is pending against an Loan Party or, to the best of its knowledge,
 threatened against an Loan Party, no strike, labour dispute, slowdown or stoppage is pending against an Loan Party
 or, to the best of its knowledge, threatened against an Loan Party and no union representation proceeding is
 pending with respect to any of an Loan Party’s employees.

          (14)    Compliance with Laws No Loan Party is in material violation of any material Applicable Law or
 material Applicable Order, subject to the provisions of Section 21(27), in the case of Requirements of
 Environmental Law.

         (15)      No Event of Default or Pending Event of Default Other than as a result of the CCAA
 Proceedings, neither any Event of Default nor any Pending Event of Default has occurred and is continuing.

         (16)     Corporate Structure The corporate structure of the Borrowers and their subsidiaries is as set out
 in Schedule 22(16) to this Term Sheet.

           (17)      Rights to Acquire Shares of Loan Parties No Person has an agreement or option or any other
 right or privilege (whether by law, pre-emptive or contractual) capable of becoming an agreement or option,
 including convertible securities, warrants or convertible obligations of any nature, for the purchase, subscription,
 allotment or issuance of any unissued shares in the capital of any Loan Party (other than Just Energy Group Inc., a
 Canada corporation (“JustEnergy”)).

         (18)     Loan Parties Each Loan Party either carries on their Business in Canada, the United States, India
 or Hungary, or carries on no business other than being a holding entity.

           (19)     Relevant Jurisdictions Schedule 22(19) to this Term Sheet identifies, in respect of each Loan
 Party, the Relevant Jurisdictions as of the Closing Date including each Loan Party’s jurisdiction of formation and
 organizational registration number (if any), its full address (including postal code or zip code), chief executive
 office, registered office and all places of business and, if the same is different, the address at which the books and
 records of such Loan Party are located and the address from which the invoices and accounts of such Loan Party
 are issued.

           (20)     Computer Software Each Loan Party owns or has licensed for use or otherwise has the right to
 use all of the material software necessary to conduct its businesses. All Computer Equipment owned or used by an
 Loan Party and necessary for the conduct of business has been properly maintained in all material respects or
 replaced and is in good working order for the purposes of on-going operation, subject to ordinary wear and tear for
 Computer Equipment of comparable age and Computer Equipment which has been damaged but is in the course of
 being repaired.

         (21)       Intellectual Property Each Loan Party has rights sufficient for it to use all the Intellectual
Property reasonably necessary for the conduct of its business except to the extent failure to do so would not
reasonably be expected to have a Material Adverse Effect; all patents, trade-marks or industrial designs which have
been either registered or in respect of which a registration application has been filed by it are listed on Schedule
22(21) to this Term Sheet. To its knowledge, no Loan Party is infringing or misappropriating or is alleged to be
infringing or misappropriating the intellectual property rights of any other Person where such infringement or
misappropriation is reasonably expected to have a Material Adverse Effect.

          (22)     Material Contracts and Material Licences.

         (a)      Schedule 22(22) to this Term Sheet, accurately sets out all Material Contracts and Material
                  Licences;

         (b)      upon request by the DIP Agent (acting at the direction of Majority Lenders), a true and complete
                  certified copy of each Material Contract and Material Licence has been or, within 30 days of its
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                 entry into effect, will be delivered to the DIP Agent and each Material Contract and Material
                 Licence is in full force and effect; and

        (c)      each Material Contract is binding upon the Loan Party party thereto and, to its knowledge, is a
                 binding agreement of each other Person who is a party to the Material Contract.

         (23)     Financial Year End The financial year end of the Loan Parties is March 31.

          (24)     Financial Information All of the financial statements which have been furnished to the Lenders
in connection with this Term Sheet are complete in all material respects and such financial statements fairly present
the results of operations and financial position of the Borrowers and the Guarantors as of the dates referred to
therein and have been prepared on a Modified Consolidated Basis, except that, in the case of quarterly financial
statements, notes to the statements and audit adjustments required by GAAP are not included. All other financial
information (including, without limitation the Cash Flow Statements) provided to the Lenders as of the date
prepared (a) were based on reasonable assumptions and expectations and represent reasonable good faith estimates
and (b) were believed to be achievable.

           (25)       Liabilities No Loan Party has any liabilities, whether accrued, absolute, contingent or otherwise,
of any kind or nature whatsoever, except (i) as disclosed in the financial statements most recently delivered under
Section 22(30); (ii) as incurred after the date of such financial statements and are permitted to be incurred
hereunder; (iii) as incurred in the ordinary course of business of an Loan Party; provided that, in respect this clause
(iii), such liabilities: (x) are not material to the Business, (y) are not required in accordance with GAAP to be
disclosed in such Loan Party’s financial statements referred to in clause (i) above and (z) are not incurred in
violation of this Term Sheet, and (iv) for liabilities consented to by the Lenders.

         (26)     No Material Adverse Effect Since the Closing Date and other than as a result of the CCAA
Proceedings or the Chapter 15 Proceedings, or the events giving rise thereto, there has been no condition (financial
or otherwise), event or change in its business, liabilities, operations, results of operations, assets or prospects which
would reasonably be expected to have a Material Adverse Effect.

          (27)     Environmental (a) No Loan Party is subject to any civil or criminal proceeding relating to
Requirements of Environmental Laws and is not aware of any investigation or threatened proceeding or
investigation, (b) each Loan Party has all material permits, licenses, registrations and other authorizations required
by the Requirements of Environmental Laws for the operation of its business and the properties which it owns,
leases or otherwise occupies, (c) each Loan Party currently operates its business and its properties (whether owned,
leased or otherwise occupied) in compliance in all material respects with all applicable material Requirements of
Environmental Laws, (d) no Hazardous Substances are stored or disposed of by any Loan Party or otherwise used
by an Loan Party in violation of any applicable Requirements of Environmental Laws (including, without
limitation, there has been no Release of Hazardous Substances by any Loan Party at, on or under any property now
or previously owned or leased by the Borrowers or any of their subsidiaries), (e) except as disclosed in the
environmental reports identified on Schedule 22(27) to this Term Sheet, to the knowledge of the Borrowers (i) all
underground storage tanks now or previously located on any real property owned or leased by it have been
operated, maintained and decommissioned or closed, as applicable, in compliance with applicable Requirements of
Environmental Law; and (ii) no real property or groundwater in, on or under any property now or previously owned
or leased by any Loan Party is or has been during such Loan Party’s ownership or occupation of such property
contaminated by any Hazardous Substance except for any contamination that would not reasonably be expected to
give rise to material liability under Requirements of Environmental Laws nor, to the best of its knowledge, is any
such property named in any list of hazardous waste or contaminated sites maintained under the Requirements of
Environmental Law.

         (28)     CERCLA No portion of any Loan Party’s Property has been listed, designated or identified in
the National Priorities List or the CERCLA Information System both as published by the United States
Environmental Protection Agency, or any similar list of sites published by any federal, state or local authority
proposed for requiring clean up or remedial or corrective action under any Requirements of Environmental Laws.
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          (29)      Canadian Welfare and Pension Plans The Canadian Borrower has adopted all Canadian Welfare
Plans and all Canadian Pension Plans in accordance with Applicable Laws and each such plan has been maintained
and is in compliance in all material respects with its terms and such laws including, without limitation, all
requirements relating to employee participation, funding, investment of funds, benefits and transactions with the
Loan Parties and persons related to them. As of the commencement of the CCAA Proceedings (the “CCAA Filing
Date”) and at no time preceding the CCAA Filing Date has any Loan Party maintained, sponsored, administered,
contributed to, or participated in a Specified Canadian Pension Plan. With respect to Canadian Pension Plans: (a)
no steps have been taken to terminate any Canadian Pension Plan (wholly or in part) which could result in any Loan
Party being required to make an additional contribution in excess of $2,500,000 to the Canadian Pension Plan; (b)
no contribution failure in excess of $2,500,000 has occurred with respect to any Canadian Pension Plan sufficient to
give rise to a lien or charge under any applicable pension benefits laws of any other jurisdiction; and (c) no
condition exists and no event or transaction has occurred with respect to any Canadian Pension Plan which is
reasonably likely to result in any Loan Party incurring any liability, fine or penalty in excess of $2,500,000. No
Loan Party has a contingent liability in excess of $2,500,000 with respect to any post-retirement benefit under a
Canadian Welfare Plan. With respect of each Canadian Pension Plan: (a) all contributions (including employee
contributions made by authorized payroll deductions or other withholdings) required to be made to the appropriate
funding agency in material compliance with all Applicable Laws and the terms of each Pension Plan have been
made in accordance with all Applicable Laws and the terms of each Canadian Pension Plan; and (b) no event has
occurred and no conditions exist with respect to any Canadian Pension Plan that has resulted or could reasonably be
expected to result in any Canadian Pension Plan being the subject of a requirement to be wound up (wholly or in
part) by any applicable regulatory authority, having its registration revoked or refused by any applicable regulatory
authority or being required to pay any taxes or penalties under any applicable pension benefits or tax laws.

           (30)      ERISA Plans (a) Each ERISA Plan of any Loan Party carrying on business in the United States
 has been maintained and is in compliance in all material respects with Applicable Laws including, without
 limitation, all requirements relating to employee participation, investment of funds, benefits and transactions with
 the Loan Parties and persons related to them, (b) with respect to such ERISA Plans: (i) no condition exists and no
 event or transaction has occurred with respect to any such ERISA Plan that is reasonably likely to result in any
 Loan Party, to the best of its knowledge, incurring any liability, fine or penalty in excess of the US$ Equivalent
 Amount of Cdn.$2,500,000; and (ii) no Loan Party carrying on business in the United States has a contingent
 liability with respect to any post-retirement benefit under a US Welfare Plan in excess of the US$ Equivalent
 Amount of Cdn.$2,500,000, (c) all contributions (including employee contributions made by authorized payroll
 deductions or other withholdings) required to be made have been made in accordance with all Applicable Laws and
 the terms of each ERISA Plan, (d) each of the ERISA Plans that is intended to be “qualified” within the meaning of
 Section 401(a) of the Code (i) has received a favourable determination letter from the IRS, (ii) is or will be the
 subject of an application for a favourable determination letter, and no circumstances exist that has resulted or could
 reasonably be expected to result in the revocation or denial of any such determination letter, or (iii) is entitled to
 rely on an appropriately updated prototype plan document that has received a national office determination letter
 and has not applied for a favourable determination letter of its own and (e) no Loan Party carrying on business in
 the United States has any US Pension Plans and no multiemployer plans as defined in Section 4001(a)(3) of ERISA
 are maintained by any Loan Party or to their knowledge have been maintained by any member of any Loan Party’s
 Controlled Group.

          (31)     Not an Investment Company No Loan Party is an “investment company” or a company
 “controlled” by an “investment company” within the meaning of the United States Investment Company Act of
 1940 or a “holding company”, or a “subsidiary company” of a “holding company”, or an “affiliate” of a holding
 company, or of a “subsidiary company” of a “holding company”, within the meaning of the United States Public
 Utility Holding Company Act of 2005.

           (32)     No Margin Stock No Loan Party is engaged in the business of extending credit for the purpose
 of purchasing or carrying margin stock. None of the proceeds of any Advance will be used to purchase or carry, or
 to reduce or retire or refinance any credit incurred to purchase or carry, any margin stock (within the meaning of
 Regulations U and X of the Board of Governors of the Federal Reserve System of the United States) or to extend
 credit to others for the purpose of purchasing or carrying any margin stock.
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          (33)      Full Disclosure All information provided or to be provided by or on behalf of any Loan Party to
the DIP Agent and the Lenders in connection with the DIP Facility (other than future-looking information or
information of a general economic or industry nature) was or will be at the time prepared, to its knowledge, true and
correct in all material respects and none of the documentation furnished to the DIP Agent or any Lender by or on
behalf of any Loan Party, to its knowledge, omitted or will omit as of such time, a material fact necessary to make
the statements contained therein not misleading in any material way, and all expressions of expectation, intention,
belief and opinion contained therein were honestly made on reasonable grounds after due and careful inquiry by it at
the time made (and, to its knowledge any other Person who furnished such material on behalf of them.

         (34)      CCAA Orders The applicable Initial Order is in full force and effect and is not subject to any
leave to appeal application or appeal, and has not been vacated, reversed, modified, amended or stayed without the
prior written consent of the Majority Lenders. The Loan Parties are and remain in compliance with the CCAA
Orders.¶

         (35)      Non-Arm’s Length Transactions All agreements, arrangements or transactions between any
 Loan Party, on the one hand, and any Associate of, Affiliate of or other Person not dealing at Arm’s Length with
 such Loan Party, on the other hand (other than another Loan Party), in existence at the date hereof are set forth on
 Schedule 22(35) to this Term Sheet or are otherwise permitted pursuant to Section 23(19).

        (36)       Budget The Loan Parties have disclosed all material assumptions with respect to the Cash Flow
Statements and affirm the reasonableness of the assumptions in the Cash Flow Statements in all material respects.

          (37)      Debt No Loan Party has any Debt that is not permitted under this Term Sheet.

          (38)      [Reserved]

           (39)     Schedules The information contained in each Schedule attached hereto is as of the Closing Date,
 or at the time a replacement thereof is provided to the DIP Agent and the Lenders pursuant hereto, will be true,
 correct and complete in all material respects.

          (40)     Sanctions. It is not in violation of, in any material respect, any of the country or list based
economic and trade sanctions administered and enforced by OFAC, or any Sanctions Laws. As of the date of this
Term Sheet, no Loan Party (i) is a Sanctioned Person or (ii) is a Person designated under Executive Order No. 13224
on Terrorist Financing, effective September 24, 2001 or other Sanctions Laws. If a senior officer of any Loan Party
receives any written notice that any Loan Party, any affiliate or any subsidiary of any Loan Party is named on the
then current OFAC SDN List or is otherwise a Sanctioned Person (such occurrence, a “Sanctions Event”), such
Loan Party shall promptly (i) give written notice to the DIP Agent of such Sanctions Event, and (ii) comply in all
material respects with all applicable laws with respect to such Sanctions Event (regardless of whether the Sanctioned
Person is located within the jurisdiction of the United States of America or Canada), and each Loan Party hereby
authorizes and consents to the Lenders and the DIP Agent (acting at the direction of the Majority Lenders) taking
any and all steps the Lenders or the DIP Agent (acting at the direction of the Majority Lenders) deem necessary, in
their sole but reasonable discretion, to avoid violation of, in any material respect, all applicable laws with respect to
any such Sanctions Event.

           (41)     Anti-Corruption Laws. No part of the proceeds of the Advances shall be used, directly or, to the
 Borrowers’ knowledge, indirectly: (a) to offer or give anything of value to any official or employee of any foreign
 government department or agency or instrumentality or government-owned entity, to any foreign political party or
 party official or political candidate, or to anyone else acting in an official capacity, in order to obtain, retain or direct
 business, or obtain any improper advantage, in material violation of any Anti-Corruption Law.

          (42)       Anti-Terrorism Laws. To the extent applicable, each Loan Party is in compliance, in all material
 respects, with (i) the U.S. Trading with the Enemy Act, as amended, and each of the foreign assets control
 regulations of the United States Treasury Department (31 C.F.R. Subtitle B, Chapter V, as amended) and any other
 enabling legislation or executive order relating thereto, (ii) the Uniting and Strengthening America by Providing
 Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (United States), as amended (the
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“Patriot Act”); and (iii) Proceeds of Crime (Money Laundering) and Terrorist Financing Act (Canada)
(collectively with clauses (i) and (ii) above, the “Anti-Terrorism Laws”). The use of the proceeds of the
Advances will not violate, in any material respect, the Trading with the Enemy Act, as amended, or any of the
foreign assets control regulations of the United States Treasury Department (31 C.F.R. Subtitle B, Chapter V, as
amended) or any enabling legislation or executive order relating thereto, in any material respect.

         (43)      As of March 1, 2021, the outstanding obligations owed to the Lender Hedge Providers (as
defined in the Intercreditor Agreement) by the Loan Parties in respect of Hedging Agreements (as defined in the
Intercreditor Agreement) does not exceed $7,364,437 after giving effect to any mandatory consequences of the
commencement of the CCAA Proceedings thereunder.
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                                                    SCHEDULE H

                                         AFFIRMATIVE COVENANTS

23. Affirmative Covenants

                 So long as this Term Sheet is in force and except as otherwise permitted by the prior written
consent of the Majority Lenders, each Borrower will and will cause each other Loan Party to:

        (1)       Timely Payment Make due and timely payment of the Obligations required to be paid by it
hereunder and under each other Loan Document.

            (2)     Conduct of Business, Maintenance of Existence, Compliance with Laws Subject to any
 necessary Order or authorization of the Court, (a) engage in business of the same general type as now conducted by
 it; (b) carry on and conduct its business and operations in a proper, efficient and businesslike manner, in
 accordance with good business practice; (c) except as otherwise permitted by Section 23(2), preserve, renew and
 keep in full force and effect its existence; (d) take all action necessary to maintain all material registrations,
 material licenses, material rights, material privileges and franchises necessary or desirable in the normal conduct of
 its business; and (e) comply in all material respects with all Requirements of Law, including without limitation,
 Requirements of Environmental Law.

          (3)     Further Assurances Subject to any necessary Order or authorization of the Court, provide the
 Lenders and the DIP Agent with such other documents, opinions, consents, acknowledgements and agreements as
 are reasonably necessary to implement this Term Sheet, the other Loan Documents and are required by the DIP
 Agent or the Lenders from time to time.

          (4)      Access to Information Promptly provide the DIP Agent and the Lenders with all information
 reasonably requested by the DIP Agent (at the direction of the Majority Lenders) from time to time concerning its
 financial condition and Property, and during normal business hours and from time to time upon reasonable notice,
 permit representatives of the DIP Agent and Lenders, if accompanied by a Lender, to inspect any of its Property, to
 examine and take extracts from its financial books, accounts and records including but not limited to accounts and
 records stored in computer data banks and computer software systems, and to discuss its financial affairs, its
 business or any part of its Property with its senior officers and (in the presence of such of its representatives as it
 may designate) its auditors. If an Event of Default or a Pending Event of Default has occurred and is continuing,
 the Canadian Borrower will pay all reasonable expenses incurred by such representatives in order to visit a
 Borrower’s premises or attend at its and each other Loan Party’s principal office, as applicable, for such purposes.
 In addition, the Borrowers shall, and shall cause each other Loan Party to, promptly provide to the DIP Agent with
 such information as the DIP Agent or any Lender may reasonably request in order to comply with the Beneficial
 Ownership Regulation and written notice of any change in the information provided in the Beneficial Ownership
 Certification that would result in a change to the list of beneficial owners identified in such Certification.

           (5)       Payment Obligations Except to the extent stayed pursuant to the CCAA Stay and the Chapter 15
 Proceedings but in all cases subject to the Cash Flow Statements approved hereunder, pay or discharge, or cause to
 be paid or discharged (i) before the same become delinquent (A) all Taxes imposed upon it or upon its income or
 profits or in respect of its business or Property and file all tax returns in respect thereof (except for those Taxes, the
 nonpayment of which is excused, permitted or required by the CCAA Proceedings or the Bankruptcy Code) and
 (B) all required payments under any of its Debt and (ii) in a timely manner in accordance with prudent business
 practices (A) all lawful claims for labour, materials and supplies, and (B) all other material obligations the failure
 of which would reasonably be expected to result in an Event of Default; provided, however that it will not be
 required to pay or discharge or to cause to be paid or discharged any such amount referred to in clauses (i) and (ii)
 so long as the validity or amount thereof is being contested in good faith by appropriate proceedings and an
 adequate reserve in accordance with GAAP and satisfactory to the Majority Lenders, acting reasonably, has been
 established in its books and records, or, in the case of clause (i)(A), the nonpayment thereof would not individually
 or in the aggregate have, or be reasonably likely to cause, a Material Adverse Effect.
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        (6)      Use of DIP Facility Use the proceeds of the DIP Facility as contemplated by Section 12 and in
accordance with the restrictions set out herein and in the manner contemplated by the Cash Flow Statements.

          (7)      Insurance Maintain or cause to be maintained with reputable insurers, coverage against risk of
loss or damage to its Property (including public liability and damage to property of third parties), business
interruption insurance, fire and extended peril insurance and boiler and machinery insurance of such types as is
customary for and would be maintained by a corporation with an established reputation engaged in the same or
similar business in similar locations and provide to the DIP Agent, on an annual basis, if requested, evidence of
such coverage. The DIP Agent will be indicated in all insurance policies, as applicable and to the extent practicable
on commercially reasonable terms, as a loss payee and additional insured within five (5) Business Days (or such
later date as approved by the Majority Lenders) of the Closing Date.

         (8)      Notice of Event of Default or Pending Event of Default Promptly notify the DIP Agent of any
Event of Default or Pending Event of Default that would apply to it or to any Loan Party of which it becomes
aware.

          (9)     Notice of Material Adverse Effect Promptly notify the DIP Agent of any condition (financial or
otherwise), event or change in its or any other Loan Party’s business, liabilities, operations, results of operations,
assets or prospects which would reasonably be expected to have a Material Adverse Effect.

         (10)     [Reserved]

         (11)     Other Notices Promptly, upon having knowledge, give notice to the DIP Agent of:

        (a)      any violation of any Applicable Law, which does or could reasonably be expected to have a
                 Material Adverse Effect;

        (b)      any termination or expiration of or default under a Material Contract or Material Licence;

        (c)      any damage to or destruction of any property, real or personal, of any Loan Party having a
                 replacement cost in excess of $2,500,000;

        (d)      the receipt of insurance proceeds by any Loan Party in excess of $2,500,000;

        (e)      any change in the regulatory framework relating to the energy market which is materially adverse
                 to the Business or could reasonably be expected to be materially adverse to the Business with the
                 passage of time;

        (f)      any Lien registered against any property or assets of any Loan Party, other than a Permitted Lien;

        (g)      any entering into of a Material Contract or Material Licence, together with a true copy thereof;

        (h)      any assignment of a Material Contract by the counterparty thereto; or

        (i)      the delivery by ERCOT (as defined in the Intercreditor Agreement) of any settlement proposals in
                 connection with the “black swan” weather events that occurred in the State of Texas in February
                 2021, together with a true copy thereof.

         (12)     Computer Software Own or license for use or otherwise maintain the right to use all of the
material software necessary to conduct its businesses and in all material respects, properly maintain and keep in
good working order for the purposes of on-going operation, all Computer Equipment owned or used by an Loan
Party and necessary for the conduct of business, subject to ordinary wear and tear for Computer Equipment of
comparable age and lost or damaged Computer Equipment replaced or repaired to the extent required to conduct its
Business.
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         (13)     Intellectual Property Maintain rights sufficient for it to use all the Intellectual Property
reasonably necessary for the conduct of its business and not knowingly infringe or misappropriate in any material
way the intellectual property rights of any other Person.

          (14)     Environmental Compliance Operate its business in compliance in all material respects with all
applicable material Requirements of Environmental Laws and operate all Property owned, leased or otherwise
occupied by it with a view to ensuring that no material obligation, including a clean-up or remedial obligation, will
arise in respect of an Loan Party under any Requirements of Environmental Law; provided however, that if any
such obligation arises, the applicable Loan Party will promptly satisfy or contest such obligation at its own cost and
expense. It will promptly notify the Lender, to the extent not disclosed as of the date hereof, upon (i) learning of
the existence of Hazardous Substance located on, above or below the surface of any land which it owns, leases,
operates, occupies or controls (except those being stored, used or otherwise handled in substantial compliance with
applicable Requirements of Environmental Law), or contained in the soil or water constituting such land and
(ii) the occurrence of any lawfully reportable release, spill, leak, emission, discharge, leaching, dumping or disposal
of Hazardous Substances that has occurred on or from such land which, in either case, is likely to result in liability
under Requirements of Environmental Law.

         (15)     [Reserved]

          (16)   Maintenance of Property Subject to any necessary Order or authorization of the Court, keep all
Property necessary in its business in good working order and condition, normal wear and tear excepted, save for
lost or damaged Property replaced or repaired to the extent required to conduct its Business.

         (17)     ERISA Matters

        (a)      Maintain each ERISA Plan in compliance in all material respects with all applicable Requirements
                 of Law;

        (b)      refrain from adopting, participating in or becoming obligated with respect to any US Pension Plan
                 or multiemployer plan as defined in Section 4001(a)(3) of ERISA without the prior written
                 consent of the DIP Agent (at the direction of the Majority Lenders); and

        (c)      promptly notify the DIP Agent on becoming aware of (i) the institution of any steps by any Person
                 to terminate any US Pension Plan, (ii) the failure of any Loan Party to make a required
                 contribution to any US Pension Plan if such failure is sufficient to give rise to an Lien under
                 Section 303(k) of ERISA, (iii) the taking of any action with respect to a US Pension Plan which is
                 reasonably likely to result in the requirement that any Loan Party furnish a bond or other security
                 to the US Pension Benefit Guaranty Corporation under ERISA or such Pension Plan, or (iv) the
                 occurrence of any event with respect to any ERISA Plan which is reasonably likely to result in any
                 Loan Party incurring any liability, fine or penalty in excess of $5,000,000, and following notice to
                 the DIP Agent thereof, provide copies of all documentation relating thereto if requested by the DIP
                 Agent or any Lender.

        (18)     Canadian Pension Plans

        (a)      maintain each Canadian Pension Plan in compliance in all material respects with all applicable
                 Requirements of Law;

        (b)      refrain from adopting, participating in or becoming obligated with respect to any Specified
                 Canadian Pension Plan; and

        (c)      promptly notify the DIP Agent on becoming aware of (i) the institution of any steps by any Person
                 to terminate any Canadian Pension Plan, (ii) the failure of any Loan Party to make a required
                 contribution to any Canadian Pension Plan if such failure is sufficient to give rise to a deemed
                 trust or lien under applicable pension benefits standards laws, or (iii) the occurrence of any event
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                  with respect to any Canadian Pension Plan or Canadian Welfare Plan which is reasonably likely to
                  result in any Loan Party incurring any liability, fine or penalty in excess of $5,000,000, and
                  following notice to the DIP Agent thereof, provide copies of all documentation relating thereto if
                  requested by the DIP Agent or any Lender.

           (19)     Employee Benefit and Welfare Plans Maintain all employee benefit and Canadian Welfare Plans
 relating to the Business in compliance in all material respects with all Applicable Laws and ensure that all
 premiums and payments relating to employee benefits and pensions are paid as due.

          (20)      Additional Information Promptly provide the DIP Agent, upon receipt thereof, with copies of all
 “management letters” or other material letters submitted by independent public accountants in connection with
 audited financial statements described in Section 22(30) raising issues associated with the audit of the Loan Parties.

          (21)    Maintenance of Material Contracts and Material Licenses Except as otherwise permitted under
 Section 23(17), maintain in good standing and perform all of its obligations under and comply with all Material
 Contracts and Material Licenses.

          (22)     [Reserved]

          (23)      ERCOT Related Settlements; Tier 1 Commodity/ISO Charge; Tier 2 Commodity Charge On
 Thursday of each week, for the immediately preceding Friday, provide an estimate of (i) ERCOT related
 settlements in connection with the “black swan” weather events that occurred in the State of Texas in February
 2021 and (ii) the amount of the Priority Commodity/ISO Charge.

           (24)    LDC Agreements Promptly provide to the DIP Agent copies of any notices received from LDCs
 in connection with any collections, services, agreements or any Transportation Agreements, requests to increase the
 billing service amount under any Collection Services Agreements, offsets or material matters under any LDC
 Agreement, in each case which would reasonably be expected to have a Material Adverse Effect.

          (25)     [Reserved]

        (26)     No Supplier Recourse Other than in connection with the CCAA Proceedings, no supplier to any
 non-Guarantor subsidiary of JustEnergy has any recourse to any Loan Party.

          (27)     [Reserved]

          (28)     Keepwell Each Qualified ECP Guarantor hereby jointly and severally absolutely, unconditionally
and irrevocably undertakes to provide such funds or other support as may be needed from time to time by each other
Loan Party to honour all of its obligations under the Guarantee in respect of Swap Obligations (provided, however,
that each Qualified ECP Guarantor shall only be liable under this Section for the maximum amount of such liability
that can be hereby incurred without rendering its obligations under this Section, or otherwise under the Guarantee,
voidable under applicable law relating to fraudulent conveyance or fraudulent transfer, and not for any greater
amount). The obligations of each Qualified ECP Guarantor under this Section and under the Guarantee shall remain
in full force and effect until discharged in accordance with this Term Sheet and the Guarantee . Each Qualified ECP
Guarantor intends that this Section constitute, and this Section shall be deemed to constitute, a “keepwell, support,
or other agreement” for the benefit of each other Loan Party for all purposes of Section 1a(18)(A)(v)(II) of the
Commodity Exchange Act.
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        (29)      CCAA Proceedings and Chapter 15 Proceeds

        (a)      comply in all material respects with all CCAA Orders, the US Orders and with Applicable Law,
                 except to the extent not required to do so pursuant to the Initial Order, any other CCAA Order or
                 the US Orders;

        (b)      provide the DIP Agent’s counsel and Lenders’ counsel with draft copies of all motion materials,
                 applications for proposed CCAA Orders and US Orders, as applicable, or any other materials that
                 any Loan Party intends to file in the CCAA Proceedings and Chapter 15 Proceedings, as
                 applicable, in order to provide the Lender’s counsel with a reasonable opportunity to review and
                 comment on same at as soon as is reasonably practicable in advance of the service of such
                 materials to the service list in respect of the CCAA Proceedings and the Chapter 15 Proceedings,
                 as applicable, at least two (2) Business Days prior to any such filing or, where it is not practically
                 possible to do so within such time, as soon as possible prior to the time at which such motion
                 materials, applications for proposed CCAA Orders and US Orders, as applicable, or any other
                 materials are served on the service list in respect of the CCAA Proceedings and Chapter 15
                 Proceedings, as applicable; provided that all such motion materials, applications for proposed
                 CCAA Orders and US Orders, as applicable, or any other materials shall be in form and substance
                 reasonably satisfactory to the DIP Agent, the Lenders and their respective counsel to the extent
                 that motion materials, applications for proposed CCAA Orders and US Orders, as applicable, or
                 any other materials affect or could reasonably be expected to affect the rights and interests of the
                 DIP Agent and Lenders in any respect;

        (c)      take all actions necessary or available to defend the CCAA Orders and US Orders, as applicable,
                 from any appeal, reversal, modifications, amendment, stay or vacating to the extent that it would
                 adversely affect the rights and interests of the DIP Agent and Lenders in any material respect;

        (d)      keep the Lenders and the DIP Agent and their respective counsel apprised on a timely basis of all
                 material developments with respect to the business and affairs of the Loan Parties, the CCAA
                 Proceedings and the Chapter 15 Proceedings, including all matters relating to the CCAA Plan or
                 any matter which could reasonably be expected to materially affect the rights and interests of the
                 Lenders or the DIP Agent in any respect;

        (e)      deliver to the DIP Agent, the Lenders and their respective counsel reporting and other information
                 reasonably requested by them from time to time as set out in this Term Sheet including, without
                 limitation, the Cash Flow Statements at the times set out herein; and

        (f)      participate (through its counsel and/or other advisors) on a weekly update call once (1) per week
                 with Lenders and Lenders’ counsel, provided, that upon the reasonable prior written request of
                 DIP Agent (at the direction of the Majority Lenders) (which request shall be made at least twenty-
                 four (24) hours before such weekly update call), representatives from the management team of the
                 Borrowers and the Loan Parties will join such weekly update call (it being agreed and understood
                 that such calls with the management team shall be pursuant to a single call)).

         (30)      Reporting Requirements So long as this Term Sheet is in force and except as otherwise permitted
by the prior written consent of the DIP Agent (at the discretion of the Majority Lenders), the Canadian Borrower
will:

        (a)      Annual Reports As soon as available and in any event within 120 days after the end of each Fiscal
                 Year, cause to be prepared and delivered to the DIP Agent the audited consolidated financial
                 statements of JustEnergy, including, without limitation, a balance sheet, statement of equity,
                 income statement and cash flow statement, certified by the chief financial officer of JustEnergy.
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  (b)   Quarterly Reports

        (i)      As soon as available and in any event within 60 days of the end of each of its first three
                 Fiscal Quarters of each Fiscal Year, cause to be prepared and delivered to the DIP Agent
                 as at the end of such Fiscal Quarter the unaudited interim consolidated financial
                 statements of JustEnergy, including, in each case and without limitation, an income
                 statement, balance sheet and cash flow statement, certified by the chief financial officer
                 of JustEnergy.

        (ii)     As soon as available and in any event within 60 days of the end of each Fiscal Quarter
                 (including the fourth Fiscal Quarter), cause to be prepared and delivered to the DIP Agent
                 as at the end of such Fiscal Quarter the unaudited financial statements of the Borrowers
                 prepared on a Modified Consolidated Basis, including, in each case and without
                 limitation, an income statement, balance sheet and cash flow statement, certified by the
                 chief financial officer of JustEnergy.

  (c)   Compliance Certificate Concurrently with the delivery of the financial statements referred to in
        Sections 22(30)(a) and (b) above, provide the DIP Agent with a Compliance Certificate.

  (d)   [Reserved]

  (e)   [Reserved]

  (f)   [Reserved]

  (g)   [Reserved]

  (h)   Risk Management Policy Promptly notify the DIP Agent of any material changes or
        modifications to the risk management and hedging policy of the Loan Parties from that in effect
        on the date hereof and promptly provide a copy of such change or modification.

  (i)   [Reserved]

  (j)   [Reserved]

  (k)   [Reserved]

  (l)   Other Information Deliver to the DIP Agent such other information relating to the conduct of
        business or financial condition of the Loan Parties as the DIP Agent on behalf of the Lenders may
        reasonably request from time to time.

  (m)   PPSA Lien Filings Prepare and register PPSA financing statements in form satisfactory to the DIP
        Agent acting reasonably against each applicable Loan Party in favor of the DIP Agent as soon as
        practicable after the date of this Term Sheet and in any even within one (1) Business Day after the
        date of this Term Sheet.

  (n)   UCC Lien Filings Prepare and register Uniform Commercial Code financing statements in form
        satisfactory to the DIP Agent acting reasonably against each applicable Loan Party in favor of the
        DIP Agent as soon as practicable after the date of this Term Sheet and in any event within 3
        Business Days after the date of this Term Sheet (or such later time as the Lenders may agree in
        their sole discretion).
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                                                   SCHEDULE I

                                           NEGATIVE COVENANTS

24. Negative Covenants

                  So long as this Term Sheet is in force and except as otherwise permitted by the prior written
consent of the DIP Agent (at the direction of the Majority Lenders), each Borrower will not and will ensure that each
other Loan Party will not:

         (1)       Disposition of Property Except as permitted by the CCAA Proceedings, transfer, lease or
otherwise dispose of all or any part of their property, assets or undertaking outside of the ordinary course of
business, except for the disposition of obsolete or worn out equipment or assets consistent with past practice.

           (2)      Fundamental Changes Except as permitted by the CCAA Proceedings, enter into any corporate
 transaction (or series of transactions), whether by way of arrangement, reorganization, consolidation,
 amalgamation, merger or otherwise, whereby all or substantially all of its undertaking and assets would become the
 property of any other Person or in the case of any amalgamation, the property of the continuing corporation
 resulting from the amalgamation, except that if at the time of and immediately after giving effect to the corporate
 transaction, if no Event of Default will have occurred and be continuing, it may amalgamate or merge (including by
 way of a wind-up that is not as a result of an insolvency) with or transfer all or substantially all of its assets to a
 Borrower or any wholly-owned subsidiary of a Borrower; provided that it provides the DIP Agent with prior notice
 of any such transaction and upon any amalgamation or merger (except by way of a wind-up), the resulting
 company or the entity to whom the assets have been transferred, as applicable, delivers to the DIP Agent the
 Security Documents and an assumption agreement pursuant to which the amalgamated or merged company or the
 entity to whom the assets have been transferred, as applicable, confirms its assumption of all of the obligations of
 the amalgamating or merging companies or the entity which transferred the assets, as applicable, under the Loan
 Documents and such other security, certificates and opinions as may be required by the DIP Agent and Lenders
 including, if applicable, a pledge of the amalgamated or merged company’s shares.

           (3)      No Debt Except as permitted by the CCAA Proceedings, create, incur, assume or permit any
 indebtedness to remain outstanding, other than, in the case of all Loan Parties (other than any Loan Party that is not
 organized under the laws of the United States, Canada or, after the Hungarian Security Agreement has been
 delivered, Hungary (or, in each case, any political subdivision thereof)), Permitted Debt and, in the case of all Loan
 Parties, the Obligations.

         (4)        No Repayment or Prepayment of Debt Except as permitted by the CCAA Proceedings, directly
or indirectly voluntarily prepay, defease or in substance defease, purchase, redeem, retire or otherwise acquire any
indebtedness not permitted by the Term Sheet or the Canadian Court in each case in accordance with the CCAA
Orders and the Cash Flow Statements, subject to the Permitted Variance.

         (5)      No Financial Assistance Give any Financial Assistance to any Person other than: (a) Existing
Intercompany Debt; (b) Future Intercompany Debt; (c) Financial Assistance existing as of the Closing Date; (d)
Financial Assistance to Restricted Subsidiaries (subject to an aggregate cap of $250,000 for Financial Assistance to
non-Loan Parties); (e) loans and advances to employees made in accordance with Section 9.04(9) of the Original
Senior Credit Agreement in an amount not to exceed $250,000 in the aggregate; and (f) any Financial Assistance
provided for in the Cash Flow Statements most recently approved by the Majority Lenders at the time of giving such
Financial Assistance; provided that, notwithstanding the foregoing exceptions, each Borrower will not and will
ensure that each other Loan Party will not give any Financial Assistance to any Loan Party that is not organized
under the laws of the United States, Canada or, after the Hungarian Security Agreement has been delivered,
Hungary (or, in each case, any political subdivision thereof).
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         (6)       [Reserved]

         (7)       No Distributions Except as permitted by the CCAA Proceedings make or permit any Distributions
(other than Distributions between Loan Parties); provided, for the avoidance of doubt, a Loan Party shall be
permitted to make customary tax distributions within consolidated, combined, unitary, or similar tax groups of
which they are a member to pay taxes attributable to such Loan Party’s income.

       (8)       Distribution Restrictions Except as permitted by the CCAA Proceedings, enter into any other
agreement that would limit its ability to effect any dividends or distributions between Loan Parties.

          (9)      [Reserved]

         (10)      No Liens Except as permitted by the CCAA Proceedings, create, incur, assume or permit to exist
 any Lien upon any of its Property except, in the case of all Loan Parties (other than any Loan Party that is not
 organized under the laws of the United States, Canada or, after the Hungarian Security Agreement has been delivered,
 Hungary (or, in each case, any political subdivision thereof)), Permitted Liens.

          (11)     No Acquisitions Except as permitted by the CCAA Proceedings, make any acquisitions.

           (12)     No Change to Year End Make any change to its Fiscal Year; provided that the Borrowers may
 elect to change its Fiscal Year to end on December 31 by delivering 60 days prior written notice to the Lender.

           (13)     No Qualified Support Agreements Enter into any Qualified Support Agreement (as defined in the
 Initial Order) without the consent of the Majority Lenders, which consent is not to be unreasonably withheld.

         (14)      No Consent to Lifting Consent to a lifting of the stay in the CCAA Proceedings pursuant to
 paragraph [13] of the Initial Order without the consent of the Majority Lenders.

         (15)      No Share Issuance Issue any new capital other than as approved pursuant to the CCAA
 Proceedings.

         (16)     Amendments to Organizational Documents Except as permitted by the CCAA Proceedings,
 amend any of its Organizational Documents in a manner that would be prejudicial to the interests of any of the
 Lenders or the DIP Agent under the Loan Documents.

          (17)     [Reserved]

          (18)     Hostile Take-Over Bid Make or complete a Hostile Take-Over Bid.

          (19)      Non-Arm’s Length Transactions Effect any transactions with any Person (other than any Loan
 Party) not dealing at Arm’s Length with the transacting Loan Party except for (i) those transactions identified in
 Schedule 22(35) to this Term Sheet; (ii) [reserved]; (iii) transactions permitted under Section 23(5); (iv) technical
 and administrative service agreements on commercially reasonable terms between any of the Canadian Borrower.
 and any of their subsidiaries and the provision of the services contemplated thereby; and (v) sales arrangements on
 commercially reasonable terms between an Loan Party and an non-Guarantor subsidiary of the Canadian Borrower
 with respect to the Business.

           (20)     Sale and Leaseback Except as permitted by the CCAA Proceedings, enter into any arrangement
 with any Person providing for the leasing by any Loan Party, as lessee, of property which has been or is to be sold
 or transferred by such Loan Party to such Person or to any other Person to whom funds have been or are to be
 advanced by such Person on the security of such property or the lease obligation of any Loan Party.

         (21)      Hedging Contracts Enter into or permit to be outstanding at any time any Hedge unless such
 Hedge satisfies the following conditions:
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        (a)      if such Hedge is an Interest Rate Hedge, it is designed to protect the Loan Parties against
                 fluctuations in interest rates;

        (b)      if such Hedge is a Currency Hedge, it is designed to protect the Loan Parties against fluctuations
                 in currency exchange rates;

        (c)      if such Hedge is an Equity Hedge, it is designed to protect the Loan Parties against fluctuations in
                 share price;

        (d)      if such Hedge is a Commodity Hedge, it is designed to protect the Loan Parties against
                 fluctuations in commodity prices; and

        (e)      such Hedge has been entered into by an Loan Party bona fide and in good faith in the ordinary
                 course of its business for the purpose of carrying on the same and not for speculative purposes.

          (22)    [Reserved]

          (23)    [Reserved]

          (24)     Anti-Money Laundering and Anti-Terrorism Finance Laws; Foreign Corrupt Practices Act;
 Sanctions Laws; Restricted Person The Borrowers shall not, and shall not permit any Loan Party to, (a) engage in
 or conspire to engage in any transaction that violates, in any material respect, any Anti-Terrorism Law, any Anti-
 Corruption Law or any Sanctions Law, or (b) use any part of the proceeds of the Advances, directly or, to the
 Borrowers’ knowledge, indirectly, for any conduct that would cause the representations and warranties in Sections
 21(40), 21(41) or 21(42) to be untrue in any material respect as if made on the date any such conduct occurs.

          (25)      CCAA Proceedings No Loan Party shall apply for or support an application for any Order or any
change, amendment or modification to any CCAA Order which has or would reasonably be expected to adversely
affect the rights or interests of the Lender.

        (26)     [Reserved]

        (27)     [Reserved]

         (28)   Key Employee Retention Programs No Loan Party shall enter into an employee retention program
other than a KERP.

         (29)      Subsidiaries Except as permitted by the CCAA Proceedings, ensure that any subsidiary formed or
acquired after the Closing Date in accordance with the terms of this Term Sheet shall be deemed a Guarantor and the
Borrowers shall deliver to the DIP Agent all items, documents and agreements with respect to such new Guarantor
as reasonably requested by the Majority Lenders.

         (30)      Permitted Variance Without the consent of the Majority Lenders (which may be communicated by
e-mail from the Majority Lenders or their selected representative(s)), as of 4:00 p.m. Central Time on the Initial
Reporting Date and on each Thursday thereafter that is the four (4) week anniversary of the Initial Reporting Date
(each such date, the “Monthly Variance Testing Date” and each such four (4) week period ending on the Saturday
preceding each Monthly Variance Testing Date, the “Monthly Variance Testing Period”), permit (A) any variance
of (x) the actual individual disbursements for such Monthly Variance Testing Period in excess of (y) projected
individual disbursements for such Monthly Variance Testing Period set forth in the Cash Flow Statements most
recently approved by the Majority Lenders (excluding, in each case of clauses (x) and (y), for purposes of this
calculation, the Excluded Disbursements) to exceed 20% of such projected amounts, (B) any variance of (x) the actual
aggregate disbursements for such Monthly Variance Testing Period in excess of (y) projected aggregate disbursements
for such Monthly Variance Testing Period set forth in the Cash Flow Statements most recently approved by the
Majority Lenders (excluding, in each case of clauses (x) and (y), for purposes of this calculation, the Excluded
Disbursements) to exceed 15% of such projected amounts or (C) projected individual disbursements for such Monthly
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Variance Testing Period set forth in the Cash Flow Statements most recently approved by the Majority Lenders with
respect to ERCOT related settlements in connection with the “black swan” weather events that occurred in the State
of Texas in February 2021 to exceed 25% of such projected amounts (the “Permitted Variance”).
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                                     SCHEDULE 22(22)

                       MATERIAL CONTRACTS AND LICENCES

MATERIAL CONTRACTS

1.     Assignment, Assumption, Consent and Release Agreement dated as of August 1, 2005
       between the Canadian Borrower and Shell Energy North America (Canada) Inc. (formerly,
       Coral Energy Canada Inc.) (“Shell Energy”) (the “JEOLP Assignment Agreement”).

2.     Security Agreement dated as of October 29, 2004 between JEC and Shell Energy as
       assigned by JEC to the Canadian Borrower pursuant to the JEOLP Assignment Agreement
       and as assigned by Shell Energy to Canadian Imperial Bank of Commerce as Collateral
       Agent pursuant to the assignment and assumption agreement dated as of November 1,
       2004.

3.     Master Swap Agreement dated January 15, 2003 between JEC and Shell Energy, as
       assigned by JEC to the Canadian Borrower pursuant to the JEOLP Assignment Agreement
       and all confirmations and transactions thereunder.

4.     Energy Management Agreement dated October 15, 1998 between JEC and Shell Energy,
       as amended by amending agreements dated as of September 26, 2001, January 15, 2003
       and April 1, 2004, as assigned by JEC to the Canadian Borrower pursuant to the JEOLP
       Assignment Agreement.

5.     Base Contract for Sale and Purchase of Natural Gas dated April 1, 2004 between Shell
       Energy North America (US), L.P. (formerly Coral Energy Resources L.P.) (“Shell US”)
       and Just Energy Illinois Corp., as amended by amending agreement dated October 31,
       2005.

6.     Base Contract for Sale and Purchase of Natural Gas dated as of October 31, 2005 between
       Shell Energy, as seller and the Canadian Borrower, as buyer (amending and restating that
       certain natural gas sale agreement dated as of October 15, 1998 between Shell Energy, as
       seller and JEC, as buyer, as amended by amending agreements dated as of September 26,
       2001, January 15, 2003 and October 29, 2004 and as assigned by JEC to the Canadian
       Borrower pursuant to the JEOLP Assignment Agreement).

7.     Base Contract for the Sale and Purchase of Natural Gas dated as of October 31, 2005
       between Shell US and Just Energy New York Corp.

8.     Master Swap Agreement dated April 1, 2004 between Shell US and Just Energy Illinois
       Corp., as amended October 31, 2005 and all confirmations and transactions thereunder.

9.     Third Amended and Restated Scheduling Coordinator Agreement dated December 1, 2014
       among Just Energy New York Corp., Just Energy (U.S). Corp., Commerce Energy, Inc.
       and Shell US.
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10.     Master Power Purchase and Sale Agreement dated September 14, 2005, as amended and
        restated October 31, 2005, between Just Energy New York Corp. and Shell US and all
        confirmations and transactions thereunder.

11.     Master Swap Agreement dated October 31, 2005 between Shell US and Just Energy New
        York Corp. as assigned by Shell Energy US to Shell Trading via Novation and Amendment
        Agreement dated October 16, 2013 and all confirmations and transactions thereunder.

12.     Base Contract for the Sale and Purchase of Natural Gas dated as of February 23, 2007
        between Shell Energy and Just Energy New York Corp. and all confirmations and
        transactions thereunder.

13.     NAESB Base Contract for Sale and Purchase of Natural Gas dated October 31, 2005
        between the Canadian Borrower and BP Canada Energy Company (amending and restating
        the NAESB Base contract for Sale and Purchase of Natural Gas dated September 1, 2004
        between JEC and BP Canada Energy Company, as assigned by JEC to the Canadian
        Borrower pursuant to the JEOLP Assignment Agreement and by the agreement dated
        October 31, 2005 between BP Canada Energy Company and the Canadian Borrower and
        as assigned to BP Canada Energy Group ULC pursuant to assignment and novation
        agreement dated March 30, 2012), and all confirmations and transactions thereunder.

14.     NAESB Base Contract for Sale and Purchase of Natural Gas dated October 31, 2005
        between Just Energy Illinois Corp. and BP Canada Energy Marketing Corp. (amending and
        restating the NAESB Base Contract for Sale and Purchase of natural Gas dated October
        21, 2005 between Just Energy Illinois Corp. and BP Canada Energy Company), and all
        confirmations and transactions thereunder.

15.     ISDA Master Agreement dated as of January 1, 2007 between Just Energy Illinois Corp.
        and BP Corporation of North America Inc., as assigned to BP Energy Company pursuant
        to an assignment and amendment agreement dated October 15, 2012, and all confirmations
        and transactions thereunder.

16.     NAESB Base Contract for Sale and Purchase of Natural Gas dated July 1, 2007 between
        Just Energy New York Corp. and BP Canada Energy Company, and all confirmations and
        transactions thereunder.

17.     ISDA Master Agreement dated as of November 30, 2006 between the Canadian Borrower
        and Constellation Energy Commodities Group, Inc. and all confirmations and transactions
        thereunder.

18.     ISDA Master Agreement dated as of July 16, 2007 between Just Energy New York Corp.
        and Constellation Energy Commodities Group, Inc. and all confirmations and transactions
        thereunder.

19.     ISDA Master Agreement dated as of October 12, 2007 between Just Energy Texas I Corp.
        and Constellation Energy Commodities Group, Inc. and all confirmations and transactions
        thereunder.
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20.     Amended and Restated ISDA Master Agreement dated as of March 9, 2007 between the
        Canadian Borrower and Bruce Power L.P., as amended by letter agreement dated April 5,
        2007, and all confirmations and transactions thereunder.

21.     Amended and Restated Master Power Purchase and Sale Agreement made as of February
        1, 2005 between Just Energy Texas L.P. and Shell US and all confirmations and
        transactions thereunder.

22.     The Intercreditor Agreement.

23.     Trust Indenture between Just Energy Income Fund and Computershare Trust Company of
        Canada, providing for the issue of unsecured subordinated debentures dated May 5, 2010,
        as supplemented by a First Supplemental Trust Indenture dated as of January 1, 2011
        between Just Energy Group Inc. and Computershare Trust Company of Canada
        (“Computershare”) and a Second Supplemental Trust Indenture dated as of September
        22, 2011 between Just Energy Group Inc. and Computershare;

24.     Western Systems Power Pool Agreement amongst all Pool Parties effective February 1,
        2004.

25.     Base Contract for Sale and Purchase of Natural Gas dated January 13, 2005 between Shell
        US and Commerce Energy, Inc., as amended by a First Amendment dated as of July 1,
        2009 between Shell US and Commerce Energy, Inc.

26.     Master Power Purchase and Sale Agreement dated October 1, 2004 between Commerce
        Energy, Inc. and Shell US, as amended by amending agreements dated February 10, 2009
        and July 1, 2009 (as each may be amended, restated, modified or supplemented from time
        to time).

27.     ISDA Master Agreement dated as of May 7, 2010 between BP Corporation North America
        Inc. (as assigned to BP Energy Company pursuant to an assignment and amendment
        agreement dated October 15, 2012) and Hudson Energy Services LLC.

28.     Base Contract for Sale and Purchase of Natural Gas dated as of May 7, 2010 between BP
        Energy Company and Hudson Energy Services LLC.

29.     Master Power Purchase and Sale Agreement dated as of May 7, 2010 between BP Energy
        Company and Hudson Energy Services LLC.

30.     Master Netting Agreement dated as of May 7, 2010 between BP Energy Company, BP
        Corporation North America Inc. (as assigned to BP Energy Company pursuant to an
        assignment and amendment agreement dated October 15, 2012) and Hudson Energy
        Services LLC.

31.     ISO Services Agreement dated as of May 7, 2010 between BP Energy Company and
        Hudson Energy Services LLC, as amended.
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32.     ISDA Master Agreement dated as of June 10, 2010 between Just Energy (U.S). Corp. and
        EDF Trading North America, LLC.

33.     ISDA 2002 Master Agreement dated as of June 21, 2010 between Just Energy Trading L.P.
        and National Bank of Canada.

34.     Amended and Restated Master Power Purchase and Sale Agreement made as of October
        3, 2011 between Fulcrum Retail Holdings LLC and Shell Energy North America (US),
        L.P.

35.     ISDA Master Agreement dated as of June 13, 2012 between Just Energy Trading L.P. and
        BP Energy Company, and all confirmations and transactions thereunder.

36.     Trust Deed dated January 29, 2014, among Just Energy Group Inc., U.S. Bank Trustees
        Limited, and Elavon Financial Services Limited.

37.     Master Power Purchase and Sale Agreement (Alberta) dated as of October 1, 2013 between
        Shell Energy and Just Energy Alberta L.P.

38.     ISDA Master Agreement dated as of June 10, 2010, between Nextera Energy Power
        Marketing, LLC and Just Energy (U.S). Corp., as amended by amending agreements dated
        as of June 10, 2010, December 2014, July 29, 2015, and April 18, 2018 (as each may be
        amended, restated, modified or supplemented from time to time).

39.     ISDA Master Agreement dated as of November 20, 2015, between Macquarie Energy LLC
        and Just Energy (U.S). Corp., as amended by amending agreements dated as of November
        2, 2016 and April 18, 2018 (as each may be amended, restated, modified or supplemented
        from time to time).

40.     NAESB Base Contract for Sale and Purchase of Natural Gas dated April 14, 2016 between
        Just Energy Ontario L.P. and Macquarie Energy Canada Ltd., and all confirmations and
        transactions thereunder.

41.     Trust Indenture dated as of October 5, 2016 between Just Energy Group Inc. and
        Computershare Trust Company of Canada providing for the issue of unsecured
        subordinated debentures as amended or supplemented from time to time.

42.     Trust Indenture dated as of February 22, 2018 between Just Energy Group Inc. and
        Computershare Trust Company of Canada providing for the issue of unsecured
        subordinated debentures as amended or supplemented from time to time.

43.     First Amended and Restated Loan Agreement, dated September 28, 2020 between,
        amongst others, Just Energy Group Inc., Computershare Trust Company of Canada, and
        Sagard Credit Partners, LP, as amended.

44.     Trust Indenture dated as of September 28, 2020 between Just Energy Group Inc. and
        Computershare Trust Company of Canada providing for the issue of an unsecured
        subordinated note as amended or supplemented from time to time.
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45.     ISDA Master Agreement dated as of November 6, 2020 between Shell Energy North
        America (Canada) Inc. and the Canadian Debtor and the schedule thereto.

46.     ISDA Master Agreement dated as of January 15, 2021 between Shell Energy North
        America (Canada) Inc. and Just Energy New York Corp. and the schedule thereto.

47.     Base Contract for the Purchase and Sale of Natural Gas, dated October 3, 2005, between
        Shell Energy and Just Green L.P.

MATERIAL LICENCES

1.      The Canadian Borrower holds a natural gas license (#GM-2020-0121) and an electricity
        license (#ER-2020-0120), both of which were issued by the Ontario Energy Board on July
        9, 2020.

2.      Just Energy Illinois Corp. holds a Certificate of Service Authority as an Alternative Gas
        Supplier pursuant to Order No. 03-0720 dated December 17, 2003 issued by the Illinois
        Commerce Commission.

3.      Just Energy New York Corp. is authorized to sell gas and electricity contracts in New York
        State. Physical licenses are not issued.

4.      Just Energy Solutions Inc. is authorized to sell gas and electricity contracts in New York
        State. Physical licenses are not issued.

5.      Just Energy (U.S). Corp. holds an electricity license (#FERC - ER10-379) issued by the
        State of New York Federal Energy Regulatory Commission.

6.      Just Energy Texas L.P. is qualified to participate in the Electric Reliability Council of
        Texas electric market and is certified by the Public Utility Commission of Texas as a Retail
        Electric Provider in the State of Texas pursuant to Certificate No. 10052. Physical licenses
        and certificates are not issued.

7.      Just Energy Massachusetts Corp. is licensed as a Competitive Supplier of electricity by the
        Commonwealth of Massachusetts Department of Public Utilities under license no. CS-069
        dated August 15, 2011.

8.      Just Energy Alberta L.P. is licensed to operate as an Electricity Marketing Business by the
        Government of Alberta under license number 325638 dated December 1, 2020.

9.      Just Energy Alberta L.P. is licensed to operate as a Natural Gas Marketing Business by the
        Government of Alberta under license number 325637 dated December 1, 2020.

10.     Just Energy Alberta L.P. is licensed to operate as a Direct Seller by the Government of
        Alberta under license number 345191 dated February 1, 2021.
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11.     Just Energy Pennsylvania Corp. is licensed to operate as an Electric Generation Supplier
        by the Pennsylvania Public Utility Commission under license number A-2009-2097544
        dated June 21, 2012.

12.     Just Energy Pennsylvania Corp. is licensed to operate as a Natural Gas Supplier by the
        Pennsylvania Public Utility Commission under license number A-2009-2098011 dated
        December 28, 2009.

13.     Just Energy Michigan Corp. is licensed to operate as a Michigan Alternative Gas Supplier
        by the State of Michigan Public Service Commission pursuant to Case No. U-15980.

14.     Just Energy Solutions Inc. is licensed to operate as an alternative retail electric supplier by
        the Illinois Commerce Commission of the State of Illinois who granted an Application for
        Certificate of Service Authority under Section 16-115 of the Public Utilities Act, Order
        No. 06-0723.

15.     Just Energy Solutions Inc. is licensed to operate as an alternative gas supplier by the Illinois
        Commerce Commission of the State of Illinois who granted an Application for Certificate
        of Service Authority under Section 19-110 of the Public Utilities Act, Order No. 07-0501.

16.     Just Energy Solutions Inc. was granted a licence for Electric Generation Supplier by the
        Pennsylvania Public Utility Commission, Licence Number A-110117 dated September 15,
        1999.

17.     Just Energy Solutions Inc. was granted a licence for Natural Gas Supplier by the
        Pennsylvania Public Utility Commission, Licence Number A-125138 dated May 19, 2005.

18.     Just Energy Solutions Inc. was granted a licence by the State of New Jersey Board of Public
        Utilities Licence to conduct business in the State of New Jersey as an Electric Power
        Supplier, Licence Number ESL-0046.

19.     Just Energy Solutions Inc. was granted a Competitive Retail Natural Gas Marketer's
        Certificate by the State of Ohio, Certificate number 02-023G (9).

20.     Just Energy Solutions Inc. was granted a Competitive Retail Electric Service Provider
        Certificate by the State of Ohio, Certificate No. 01-1123-EL-CRS.

21.     Just Energy Solutions Inc. was granted a licence as an alternative electric supplier pursuant
        to a decision of the Michigan Public Service Commission, Case No. U-13203.

22.     Just Energy Solutions Inc. was granted a Certificate by the Public Utilities Commission of
        the State of California to operate as an electric service provider, ESP No. 1092.

23.     Just Energy Solutions Inc. holds an Electricity license (#FERC - ER97-4253) issued by the
        Federal Energy Regulatory Commission for New York.

24.     Just Energy New York Corp. holds an Electricity license (#FERC – ER13-1081-000)
        issued by the Federal Energy Regulatory Commission for New York.
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25.     Just Energy Illinois Corp. holds an Electricity license (#FERC – ER13-1104-000) issued
        by the Federal Energy Regulatory Commission for New York.

26.     Just Energy Pennsylvania Corp. holds an Electricity license (#FERC – ER17-2428-000)
        issued by the Federal Energy Regulatory Commission for New York.

27.     Just Energy Texas L.P. holds an Electricity license (#FERC – ER17-2429-000) issued by
        the Federal Energy Regulatory Commission for New York.

28.     Hudson Energy Services, LLC. holds an Electricity license (#FERC – ER17-2427-000)
        issued by the Federal Energy Regulatory Commission for New York.

29.     Hudson Energy Services LLC holds Retail Electric Provider Certification No. 30061 from
        the Public Utility Commission of Texas, dated September 14, 2004.

30.     Hudson Energy Services LLC holds a Certificate of Service Authority as an Alternative
        Retail Electric Supplier pursuant to Order No. 07-0455, dated September 26, 2007, issued
        by the Illinois Commerce Commission.

31.     Hudson Energy Services LLC, by letter dated December 16, 2002 from the New York
        Department of Public Service, was approved for retail electric sales.

32.     Hudson Energy Services LLC, by letter dated September 25, 2002, from the State of New
        York Department of Public Service, was approved to sell retail natural gas to residential
        and non-residential consumers.

33.     Hudson Energy Services LLC holds Electric Power Supplier License No. ESL-0083 dated
        October 25, 2019, from the New Jersey Board of Public Utilities.

34.     Hudson Energy Services LLC holds Gas Power License No. GSL-0069 dated October 25,
        2019, from the New Jersey Board of Public Utilities.

35.     Hudson Energy Services LLC holds a Gas license (Certificate # 12-271G (4)) dated
        October 17, 2018, issued by the Public Utilities Commission of Ohio.

36.     Hudson Energy Services LLC holds an Electric license (Certificate # 12-538 E (4)) dated
        July 27, 2016, issued by the Public Utilities Commission of Ohio.

37.     Hudson Energy Services LLC by letter dated September 24, 2012 from the Massachusetts
        Department of Public Utilities, was approved as a Competitive Supplier, License No. CS-
        061.

38.     Hudson Energy Services LLC by letter dated September 4, 2014 from the Massachusetts
        Department of Public Utilities, was approved as a Gas Supplier, License No. GS-034.

39.     Just Energy Solutions Inc. holds a Gas license (#GSL-0116) issued on July 25, 2018, by
        the New Jersey Board of Public Utilities.
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40.     Hudson Energy Canada Corp. holds an Electricity Retailer Licence issued by the Province
        of Ontario, Licence Number ER-2020-0117, issued June 11, 2020.

41.     Hudson Energy Canada Corp. holds a Gas Marketer Licence issued by the Province of
        Ontario, Licence Number GM-2020-0118, issued June 11, 2020.

42.     Hudson Energy Canada Corp. holds an Electricity Marketing Business Licence issued by
        the Government of Alberta, Licence Number 331458, issued September 1, 2020.

43.     Hudson Energy Canada Corp. holds a Natural Gas Marketing Business Licence issued by
        the Government of Alberta Licence, Number 331459, issued September 1, 2020.

44.     Hudson Energy Services LLC holds a License for Electric Generation Supplier, issued by
        the Pennsylvania Public Utility Commission, Certification No. A-2010-2192137 dated
        February 11, 2011.

45.     Hudson Energy Services LLC holds a License for Natural Gas Supplier, issued by the
        Pennsylvania Public Utility Commission, Certification No. A-2018-3002121 dated
        November 8, 2018.

46.     Hudson Energy Services LLC holds a Natural Gas license (#12-04), issued by the State of
        Connecticut, Department of Public Utility Control on October 1, 2015.

47.     Fulcrum Retail Energy LLC is qualified to participate in the Electric Reliability Council of
        Texas electric market and is certified by the Public Utility Commission of Texas as a Retail
        Electric Provider in the State of Texas pursuant to Certificate No. 10081 dated January 30,
        2004.

48.     Tara Energy, LLC is qualified to participate in the Electric Reliability Council of Texas
        electric market and is certified by the Public Utility Commission of Texas as a Retail
        Electric Provider in the State of Texas pursuant to Certificate No. 10051.

49.     Just Energy (B.C.) Limited Partnership is licensed by the Province of British Columbia to
        operate as a Gas Marketer, Commission Order and Licence No. A-8-20, effective
        November 1, 2020.

50.     Just Energy Solutions Inc. was granted a Certificate by the Public Utilities Commission of
        the State of California to operate as a Core Transport Agent, as mandated by Senate Bill
        (SB) 656 and pursuant to Commission Decision (D.) 14-08-043, dated August 28, 2014,
        Certificate No. CTA0010 dated February 25, 2015.

51.     Just Energy Solutions Inc. was granted a Certificate by the State of Delaware Public
        Service Commission to operate as an Electric Supplier pursuant to PSC Docket No. 07-
        275, Order No. 7330 issued December 18, 2007.

52.     Just Energy Solutions Inc. was granted approval by the Georgia Public Service
        Commission to provide firm retail natural gas services pursuant to Certificate of Authority
        No. GM-030, Docket No. 20504 issued March 15, 2011.
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53.     Just Energy Manitoba L.P. is licensed by the Manitoba Public Utilities Board to participate
        as a Gas Marketer, Licence No. 659 dated October 30, 2020.

54.     Just Energy Solutions Inc. is licensed by the State of Maryland Public Service Commission
        to operate as an electricity supplier, License Reference No.: IR-639, dated July 7, 2004.

55.     Just Energy Solutions Inc. is licensed by the State of Maryland Public Service Commission
        to operate as a natural gas supplier, License Reference No.: IR-737, issued June 15, 2005.

56.     Hudson Energy Services LLC is licensed by the State of Maryland Public Service
        Commission to supply electricity or electric generation services in Maryland, License
        Reference No.: IR-1114 dated October 10, 2007.

57.     Hudson Energy Services LLC is licensed by the State of Maryland, Public Service
        Commission to supply natural gas services in Maryland, License Reference No.: IR-1120
        dated October 24, 2007.

58.     Just Energy New York Corp. holds an Electricity Wholesaler Licence, No. EW-2019-0108,
        issued by the Ontario Energy Board on May 30, 2019.

59.     Just Energy Solutions Inc. holds an Electricity Wholesaler Licence, No. EW-2016-0149,
        issued by the Ontario Energy Board on June 2, 2016.

60.     Just Energy Prairies L.P. holds a Direct Seller Licence issued on April 29, 2020, by the
        Province of Saskatchewan to sell natural gas, Licence No. 328505.

61.     Interactive Energy Group LLC holds an electricity license, No. 17-0390, issued by the State
        of Illinois on November 1, 2017.

62.     Interactive Energy Group LLC holds an electricity broker license, No. 2017-00298, issued
        by the State of Maine on December 8, 2017.

63.     Interactive Energy Group LLC holds an electricity broker license, IR-3982, issued by the
        State of Maryland on September 26, 2018.

64.     Interactive Energy Group LLC holds a natural gas broker license, IR-3980, issued by the
        State of Maryland on September 26, 2018.

65.     Interactive Energy Group LLC holds an Electricity Broker License, EB-433, issued by the
        State of Massachusetts on February 11, 2020.

66.     Interactive Energy Group LLC holds a Natural Gas Broker license, RA-200, issued by the
        State of Massachusetts on April 1, 2019.

67.     Just Energy Solutions Inc. holds a gas license, G-13 Sub 1, issued by the state of Nevada
        on November 30, 2006.
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68.     Interactive Energy Group LLC holds an Energy Agent license, EA-0484, issued by the
        State of New Jersey on June 10, 2020.

69.     Interactive Energy Group LLC holds a natural gas broker license, 17-624G(2), issued by
        the State of Ohio on October 19, 2019.

70.     Interactive Energy Group LLC holds a power broker license, 17-1266E(2), issued by the
        State of Ohio on October 19, 2019.

71.     Interactive Energy Group LLC is licensed to operate as a Natural Gas Broker by the
        Pennsylvania Public Utility Commission under license number A-2017-2634175 dated
        March 1, 2018.

72.     Interactive Energy Group LLC is licensed to operate as an Electricity Broker by the
        Pennsylvania Public Utility Commission under license number A-2017-2635016 dated
        March 1, 2018.

73.     Interactive Energy Group LLC is licensed to operate as a broker by the Public Utility
        Commission of Texas under license number BR190398.

74.     Just Energy Just Energy Solutions Inc. is licensed by the State of Virginia to operate as a
        competitive service provider of natural gas, License No.: G-30, dated April 21, 2011.

75.     Just Energy Just Energy Solutions Inc. is licensed by the State of Virginia to operate as a
        competitive service provider of electric services, License No.: G-26, dated April 21, 2011.

76.     Just Energy Texas L.P. is qualified to participate in the Electric Reliability Council of
        Texas electric market and is certified by the Public Utility Commission of Texas as a Retail
        Electric Provider in the State of Texas pursuant to Certificate No. 10052.

77.     Universal Energy Corporation holds a natural gas license (#GM-2016-0261) issued by the
        Ontario Energy Board on November 24, 2016.

78.     Universal Energy Corporation holds an electricity license (#ER-2016-0332) issued by the
        Ontario Energy Board on December 29, 2016.

79.     Hudson Energy Services, LLC has been granted a blanket authorization to import and
        export natural gas from and to Canada by the United States Department of Energy pursuant
        to DOE/FE Order No. 4399 date June 11, 2019.

80.     Just Energy Ontario L.P. has been granted a blanket authorization to import and export
        natural gas from and to Canada by the United States Department of Energy pursuant to
        DOE/FE Order No. 4417 dated July 26, 2019.

81.     Just Energy New York Corp. has been granted a blanket authorization to import and export
        natural gas from and to Canada by the United States Department of Energy pursuant to
        DOE/FE Order No. 4431 dated September 3, 2019.
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                                  SCHEDULE 22(27)

                            ENVIRONMENTAL REPORTS

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                                  SCHEDULE 22(35)

                        NON ARM’S LENGTH TRANSACTIONS

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                               Exhibit C

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                                   SUPPORT AGREEMENT

         This SUPPORT AGREEMENT (this “Agreement”) is entered into as of March 9, 2021,
by and among Just Energy Ontario L.P., a limited partnership existing under the laws of the
Province of Ontario (the “Canadian Applicant”) and Just Energy (U.S.) Corp., a corporation
incorporated under the laws of the State of Delaware (the “U.S. Applicant”) and each of their
affiliates listed on Annex I (collectively, with the Canadian Applicant and U.S. Applicant, the “JE
Customer Parties”), Shell Energy North America (Canada) Inc., a Canadian corporation (“Shell
Canada”), Shell Energy North America (US), L.P., a Delaware limited partnership (“Shell US”
and together with Shell Canada and Shell US, “the Shell Parties” and together with the JE
Customer Parties, the “Parties”).

                                          RECITALS

        WHEREAS, the Canadian Applicant and the U.S. Applicant, and certain of their affiliates
(collectively, the “Canadian Applicants”), intend to make an application to the Ontario Superior
Court of Justice (Commercial List) (the “Bankruptcy Court”), for an initial order (as may be
amended and restated from time to time, the “Initial Order”) granting protection to the Shell
Parties, the DIP Lenders (as defined below) and the BP Parties (as defined below) under the
Companies’ Creditors Arrangement Act (Canada) (the “CCAA”, and the proceedings of the Shell
Parties, the DIP Lenders and the BP Parties thereunder, the “CCAA Proceedings”).

        WHEREAS, the Canadian Applicant and U.S. Applicant, and certain of their affiliates (the
“US Applicants”, and collectively with the Canadian Applicants, the “Applicants”), intend to
commence ancillary insolvency proceedings under chapter 15 of title 11 of the United States Code
in the United States Bankruptcy Court for the Southern District of Texas to recognize the CCAA
Proceedings (the “Chapter 15 Proceeding” and, together with the CCAA Proceedings, the
“Bankruptcy Event”).

      WHEREAS, the Shell Parties and the JE Customer Parties have entered into those certain
agreements listed on Annex II hereto (collectively, the “Existing Agreements”).

        WHEREAS, in order induce the Shell Parties to refrain from exercising any Termination
Rights (as defined herein), and to induce the Shell Parties continue transacting with the JE
Customer Parties under the Existing Agreements during the Bankruptcy Event, the Shell Parties
require that the Initial Order provide Super Priority Status to the Shell Post-Petition Claims.

       NOW, THEREFORE, in consideration of the foregoing, the terms, covenants and
conditions contained herein and other good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, the Parties agree as follows:
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                Definitions.“A&R ICA” means that certain Sixth Amended and Restated
Intercreditor Agreement, dated as of September 1, 2015, by and among Canadian Imperial Bank
of Commerce, as collateral agent and agent for itself as agent and the lenders, the Shell Parties,
BP Canada Energy Group ULC, BP Canada Energy Marketing Corp., BP Energy Company,
Exelon Generation Company, LLC, Bruce Power L.P., Societe Generale, EDF Trading North
America, LLC, National Bank of Canada, Nextera Energy Power Marketing, LLC, Macquarie
Bank Limited, Macquarie Energy Canada Ltd., Macquarie Energy LLC and each other person
identified as a commodity supplier from time to time party thereto and Just Energy Ontario L.P.
and Just Energy (U.S.) Corp., as borrowers, as amended from time to time.

       “Bankruptcy Court” is defined in the Recitals.

       “Bankruptcy Event” is defined in the Recitals.

      “BP Parties” means BP Canada Energy Company, BP Canada Energy Marketing Corp.,
BP Energy Company, BP Corporation North America Inc. and BP Canada Energy Group ULC.

       “Canadian Applicant” is defined in the Preamble.

       “CCAA” is defined in the Recitals.

       “CCAA Proceeding” is defined in the Recitals.

       “Chapter 15 Proceeding” is defined in the Recitals.

       “Collateral Agent Succession Agreement” means that certain Collateral Agent
Succession Agreement, dated as of March 1, 2019, by and among Canadian Imperial Bank of
Commerce, as resigning collateral agent, National Bank of Canada, as successor collateral agent,
Canadian Applicant and U.S. Applicant, as borrowers.

       “Applicants” is defined in the Preamble.

        “Definitive Documents” has the meaning set forth in the Initial Order or the Final Order,
as the case may be.

       “DIP Agent” means the agent under the DIP Facility.

       “DIP Facility” means that certain credit facility described in that certain CCAA Interim
Debtor-In-Possession Financing Term Sheet, dated as of the date hereof.

       “DIP Lenders” means the lenders under the DIP Facility.

       “Existing Agreements” is defined in the Recitals.

       “Event of Default” has the meaning set forth in Section 7.

       “Final Order” means a final order entered or approved by the Bankruptcy Court
authorizing this Agreement and the terms herein in substantially the form of the Initial Order, with
only such modifications in form and substance that are satisfactory to the Shell Parties in their sole


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discretion (as the same may be amended, supplemented, or modified from time to time after entry
thereof with the written consent of the Shell Parties, in their sole discretion).

      “ICA” means the A&R ICA, First Amendment to ICA and Collateral Agent Succession
Agreement.

       “Initial Order” is defined in the Recitals.

        “First Amendment to ICA” means that certain First Amending Agreement and Adhesion
Agreement to Intercreditor Agreement, dated as of May 17, 2018, by and among Canadian
Imperial Bank of Commerce, as collateral agent and agent for itself and the lenders, the Shell
Parties, BP Canada Energy Group ULC, BP Canada Energy Marketing Corp., BP Energy
Company, Exelon Generation Company, LLC, Nextera Energy Power Marketing, LLC,
Macquarie Bank Limited, Macquarie Energy Canada Ltd. and Macquarie Energy LLC, as
commodity suppliers, Morgan Stanley Capital Group Inc., as new commodity supplier and Just
Energy Ontario L.P. and Just Energy (U.S.) Corp., as borrowers.

       “Parties” is defined in the Preamble.

       “Performance Assurance” is defined in Section SECTION 3.

       “Petition Date” is defined in the Recitals

       “Review Period” is defined in Section 5(a).

       “Shell Canada” is defined in the Preamble.

       “Shell Parties” is defined in the Preamble.

     “Shell Post-Petition Claims” means those certain claims in respect of Priority
Commodity/ISO Obligations (as defined in the Initial Order or the Final Order, as the case may
be).

        “Shell Pre-Petition Claims” means all obligations owing to the Shell Parties as of the
Petition Date which constitute “Senior Obligations” as defined in the ICA.

       “Shell US” is defined in the Preamble.

       “Super Priority Status” means the status assigned to the Priority Commodity/ISO Charge
(pursuant to and as defined in the Initial Order or the Final Order, as the case may be).

        “Termination Rights” means any right to terminate or disclaim the Existing Agreements,
or any trades or transactions thereunder, as a result of the Bankruptcy Event.

       “US Applicant” is defined in the Preamble.

               Agreement not to Exercise Termination Rights. The Parties acknowledge and
agree that the Existing Agreements constitute eligible financial contracts under the CCAA.
The Shell Parties agree to refrain from exercising any Termination Rights so long as no Event of


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Default (as defined herein) has occurred. The JE Customer Parties agree to refrain from exercising
any Termination Rights.

                No Performance Assurance. So long as the JE Customer Parties comply with the
terms of this Agreement and any Order in the CCAA Proceeding, including with respect to timely
payment for deliveries made following the Initial Order, the Shell Parties will not impose more
restrictive conditions (including, without limitation, any request for additional collateral, credit
support or other type of performance assurance, or any replacement guarantees (collectively, the
“Performance Assurance”)), beyond what the JE Customer Parties (or their affiliates) have
provided or posted pursuant to the Existing Agreements as of the date hereof. For the avoidance
of doubt, the Shell Parties have the right, but no obligation, to accept further confirmations under
the Existing Agreements. For the avoidance of doubt, nothing in this Agreement, the Initial Order
or the Final Order shall limit any rights of any Shell Party relating to set-off, recoupment or netting
available to it under applicable law, in equity or by agreement with respect to confirmations and
transactions occurring on or after March 9, 2021.

               [Reserved].

               JE Customer Parties’ Obligations.

        (a)    Shell Parties’ Fees and Expenses. The JE Customer Parties agree to pay the
reasonable and documented fees and expenses of the Shell Parties’ legal counsel, whether arising
before, on or after the Petition Date, within ten (10) days (the “Review Period”) after the JE
Customer Parties’ receipt of invoices for such fees and expenses; provided that the JE Customer
Parties may raise good faith disputes regarding any such invoice by written notice to the Shell
Parties before the end of the Review Period, but the Shell Customer Parties shall pay any
undisputed portion of such invoice by the end of the Review Period.

        (b)     Reporting. The JE Customer Parties will provide copies of all documentation
provided to the DIP Agent and DIP Lenders under the Definitive Documents, including copies of
the Applicants’ cash flow statements and all other financial statements, reports and notices, on or
prior to the dates such information is required to be provided to the DIP Agent and DIP Lenders
and their counsel in accordance with the Definitive Documents.

                Conditions Precedent. The obligations of the Shell Parties hereunder shall not
become effective until the date on which each of the following conditions are satisfied (or waived
in writing by the Shell Parties in their sole discretion):

        (a)     The Bankruptcy Court shall have entered the Initial Order providing Super Priority
Status to the Shell Post-Petition Claims, and the Initial Order shall be in form and substance
satisfactory to Shell Parties and shall be in full force and effect, and Applicants shall be in
compliance in all respects with the Initial Order. Any such charge shall continue to the benefit of
the Shell Parties in the event of an Applicants’ Event of Default under Section 7 herein.

        (b)     All orders entered by the Bankruptcy Court in the Bankruptcy Event pertaining to
cash management and adequate protection, shall, and all other motions and documents filed or to
be filed with, and submitted to, the Bankruptcy Court in connection therewith shall be in form and
substance satisfactory to the Shell Parties.


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       (c)    The JE Customer Parties shall have executed and delivered to the Shell Parties such
other documents in connection with the matters contemplated herein as the Shell Parties may have
reasonably requested.

               Events of Default. Subject to the Bankruptcy Court’s order, which may only be
sought on five days’ notice to Just Energy and the service list in the CCAA Proceedings, the Shell
Parties may exercise their Termination Rights upon the occurrence of any of the events set forth
below (each, an “Event of Default”) by providing three days’ written notice to the JE Customer
Parties; provided that after the three day cure period, the Shell Parties have the right to suspend
any deliveries by the Shell Parties under the Existing Agreements unless the JE Customer Parties
prepay for such deliveries (for the avoidance of doubt, such prepayments may be made on a daily
basis); provided further that notwithstanding the foregoing, the Shell Parties may immediately
suspend deliveries under the Existing Agreement if an Event of Default occurs under clause (a)
below, without the need of notice or Bankruptcy Court order:

        (a)     Any JE Customer Party shall default in the payment when due of any amount owing
to the Shell Parties under the Existing Agreements and arising after the Petition Date.

        (b)     [Reserved].

        (c)    An Event of Default (as defined in the DIP Facility) shall occur and be continuing
under the DIP Facility and either (i) such Event of Default has not been waived by the requisite
lenders thereunder or (ii) such Event of Default would have a material adverse effect on the
financial condition of the JE Customer Parties or the viability of the Bankruptcy Event, and such
Event of Default has not been waived by the Shell Parties.

       (d)      The violation of any term or condition in the Initial Order or Final Order by the
Applicants, or the Initial Order or Final Order, as applicable, shall fail to be in full force and effect.

        (e)     The Bankruptcy Court shall enter an order or orders allowing any one or more
creditors to execute upon or enforce liens on any assets of the Applicants which have a fair market
value in excess of $1,000,000 in the aggregate.

        (f)     The filing of a Plan of Compromise or Arrangement that does not propose to repay
all Shell Post-Petition Claims in full, in cash immediately upon its effectiveness.

        (g)     The CCAA Proceeding or the Chapter 15 Proceeding is dismissed or converted to
a liquidation proceeding including a receivership, bankruptcy, United States Chapter 7 proceeding
or otherwise (“Liquidating Proceeding”) or the Applicants shall file a motion or other pleading
seeking the dismissal of the CCAA Proceeding or the Chapter 15 Proceeding or conversion to a
Liquidating Proceeding.

        (h)     The liens securing the Shell Pre-Petition Claims for any reason cease to be valid
and perfected liens on the collateral purported to be covered thereby, subject only to (i)
encumbrances expressly permitted by the ICA and (ii) encumbrances created by the Initial Order
or the Final Order, or any action shall be taken by the Applicants to discontinue or to assert the
invalidity or unenforceability of any lien securing the Shell Pre-Petition Claims, or the validity or
enforceability of the ICA.


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        (i)      The JE Customer Parties shall fail to pay any undisputed amount owed hereunder
or shall fail to perform in any material respect any other obligations under this Agreement.

                Release. The JE Customer Parties hereby unconditionally and irrevocably release
the Shell Parties and their respective successors, assigns, officers, directors, employees, attorneys
and agents from any liability for actions or omissions arising or occurring prior to the Petition
Date, whether known or unknown, whether in connection with the Existing Agreements or
otherwise (it being agreed and understood that this release shall not extend to any liabilities arising
under this Agreement or other actions or omissions on or after the Petition Date whether in
connection with the Existing Agreements or otherwise).

                Termination of Extended Payment Terms. The letter agreement entitled
“Regarding Payment Obligations between Shell Entities and Just Energy Entities” dated December
17, 2018 among Shell US, Shell Canada, Just Energy Alberta L.P., Just Energy New York Corp.
and Just Energy Texas L.P., Just Energy Solutions Inc. is hereby terminated, and for avoidance of
doubt (i) the extended payment terms set forth therein shall not apply to amounts owing to the
Shell Parties arising after the Petition Date (including amounts arising after the Petition Date with
respect to trades entered into prior to the Petition Date) and (ii) the $0.15/MWh fee shall not apply
to transactions entered into after the Petition Date.

           Governing Law; Submission to Jurisdiction and Venue. THIS
AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE PROVINCE OF ONTARIO AND THE FEDERAL LAWS OF
CANADA APPLICABLE THEREIN. THE PARTIES SUBMIT TO THE JURISDICTION
OF THE BANKRUPTCY COURT, WHICH SHALL HEAR MATTERS REGARDING
THE INTERPRETATION OR ENFORCEMENT OF THIS AGREEMENT.

                Construction. This Agreement and all other agreements and documents executed
and/or delivered in connection herewith have been prepared through the joint efforts of all of the
Parties. Neither the provisions of this Agreement nor any such other agreements and documents
nor any alleged ambiguity therein shall be interpreted or resolved against any Party on the ground
that such Party or its counsel drafted this Agreement or such other agreements and documents, or
based on any other rule of strict construction. Each of the Parties hereto represents and declares
that such Party has carefully read this Agreement and all other agreements and documents executed
in connection therewith, and that such Party knows the contents thereof and signs the same freely
and voluntarily. The Parties acknowledge that they have been represented by legal counsel of their
own choosing in negotiations for and preparation of this Agreement and all other agreements and
documents executed in connection herewith and that each of them has read the same and had their
contents fully explained by such counsel and is fully aware of their contents and legal effect. If
any matter is left to the decision, right, requirement, request, determination, judgment, opinion,
approval, consent, waiver, satisfaction, acceptance, agreement, option, or discretion of the Shell
Parties or their employees, counsel, or agents in the ICA, such action shall be deemed to be
exercisable by the Shell Parties in their sole and absolute discretion and according to standards
established in its sole and absolute discretion. Without limiting the generality of the foregoing,
“option” and “discretion” shall be implied by the use of the words “if” and “may”.

               Counterparts. This Agreement may be executed in any number of counterparts,
all of which shall be deemed to be an original and such counterparts taken together shall constitute

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one agreement, and any of the Parties may execute this Agreement by signing any such
counterpart. Delivery of an executed signature page to this Agreement by facsimile, e-mail or
other electronic transmission shall be as effective as delivery of a manually signed counterpart of
this Agreement.

                Severability. Each provision of this Agreement is intended to be severable and if
any provision is illegal, invalid or unenforceable, such illegality, unenforceability or invalidity
shall not affect the validity of this Agreement or the remaining provisions.

                Further Assurances. The Parties agree to execute and deliver such further and
other documents and perform and cause to be performed such further and other acts and things as
may be necessary or desirable in order to give full effect to this Agreement and every part thereof,
including all acts, deeds and agreements as may be necessary or desirable for the purpose of
registering or filing notice of the terms of this Agreement.

                 Section Headings. Section headings in this Agreement are included herein for
convenience of reference only and shall not constitute part of this Agreement for any other purpose.

                Notices. All notices, requests, and demands to or upon the Parties shall be given
in accordance with the ICA, with additional copies to counsel for the Parties as required by the
Bankruptcy Court.

                 Assignments; No Third Party Beneficiaries. This Agreement shall be binding
upon and inure to the benefit of the Parties hereto and their respective successors and assigns;
provided that the Applicants shall not be entitled to assign any of their rights or remedies set forth
in this Agreement without the prior written consent of the Shell Parties in their sole discretion. No
person other than the Parties hereto shall have any rights hereunder or shall be entitled to rely on
this Agreement and all third-party beneficiary rights are hereby expressly disclaimed.

                                      [Signature pages follow]




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IN WITNESS WHEREOF, this Support Agreement has been executed by the Parties as of the date
first written above.



                                            JUST ENERGY ONTARIO L.P., by its general
                                            partner, JUST ENERGY CORP.

                                            By:
                                            Name: Michael Carter
                                            Title: Chief Financial Officer

                                            By:
                                            Name: Jonah Davids
                                            Title: Executive Vice President, General Counsel
                                            and Corporate Secretary

                                            JUST ENERGY (U.S.) CORP.

                                            By:
                                            Name: Michael Carter
                                            Title: Chief Financial Officer

                                            By:
                                            Name: Jonah Davids
                                            Title: Executive Vice President, General Counsel
                                            and Corporate Secretary

                                            JUST ENERGY NEW YORK CORP.

                                            By:
                                            Name: Michael Carter
                                            Title: Chief Financial Officer

                                            By:
                                            Name: Jonah Davids
                                            Title: Executive Vice President, General Counsel
                                            and Corporate Secretary




                          [Signature Page to Support Agreement (Shell)]
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                                     JUST ENERGY ALBERTA L.P., by its general
                                     partner, JUST ENERGY CORP.

                                     By:
                                     Name: Michael Carter
                                     Title: Chief Financial Officer

                                     By:
                                     Name: Jonah Davids
                                     Title: Executive Vice President, General Counsel
                                     and Corporate Secretary


                                     FULCRUM RETAIL HOLDINGS LLC

                                     By:
                                     Name: Michael Carter
                                     Title: Chief Financial Officer

                                     By:
                                     Name: Jonah Davids
                                     Title: Executive Vice President, General Counsel
                                     and Corporate Secretary

                                     JUST ENERGY TEXAS LP, by its general
                                     partner, JUST ENERGY, LLC, by its sole member
                                     and sole manager, JUST ENERGY TEXAS I
                                     CORP.

                                     By:
                                     Name: Michael Carter
                                     Title: Chief Financial Officer

                                     By:
                                     Name: Jonah Davids
                                     Title: Executive Vice President, General Counsel
                                     and Corporate Secretary




                   [Signature Page to Support Agreement (Shell)]
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                                SHELL PARTIES

                                SHELL ENERGY NORTH AMERICA
                                (CANADA) INC.



                                By:
                                Name:e:   Greg Chownyk

                                Title:    Vice President



                                SHELL ENERGY NORTH AMERICA (US),
                                L.P.



                                By:
                                Name:
                                Title:
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                                SHELL PARTIES

                                SHELL ENERGY NORTH AMERICA
                                (CANADA) INC.



                                By:
                                Name:
                                Title:


                                SHELL ENERGY NORTH AMERICA (US),
                                L.P.



                                By:
                                Name:    Christopher Riley
                                Title:    Vice President
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                                   ANNEX I

                                Affiliate Parties

Fulcrum Retail Holdings LLC

Just Energy Alberta L.P.

Just Energy Corp.

Just Energy Illinois Corp.

Just Energy New York Corp.

Just Energy Solutions Inc.

Just Energy Texas LP

Just Green L.P.
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                                           ANNEX II
                                    EXISTING AGREEMENTS

      1. Assignment, Assumption, Consent and Release Agreement dated as of August 1, 2005
         between the Canadian Applicant and Shell Canada (formerly, Coral Energy Canada Inc.)
         (the “JEOLP Assignment Agreement”).

      2. Intentionally Omitted1.

      3. Intentionally Omitted2.

      4. Intentionally Omitted3.

      5. Base Contract for Sale and Purchase of Natural Gas dated April 1, 2004 between Shell US
         (formerly Coral Energy Resources L.P.) and Just Energy Illinois Corp., as amended by
         amending agreement dated October 31, 2005, and all confirmations and transactions
         thereunder.

      6. Master Power Purchase and Sale Agreement dated October 1, 2004 between Commerce
         Energy, Inc. (now known as, Just Energy Solutions Inc.) and Shell US, as amended by
         amending agreements dated February 10, 2009 and July 1, 2009 (as each may be amended,
         restated, modified or supplemented from time to time).

      7. Amended and Restated Master Power Purchase and Sale Agreement made as of February
         1, 2005 between Just Energy Texas L.L.C. (now known as Just Energy Texas LP) and Shell
         US, and all confirmations and transactions thereunder.

      8. Base Contract for Sale and Purchase of Natural Gas dated January 13, 2005 between Shell
         US and Commonwealth Energy Corporation (now known as Just Energy Solutions Inc.),
         as amended by a first amendment dated as of July 1, 2009, and all confirmations and
         transactions thereunder.

      9. Master Power Purchase and Sale Agreement dated September 14, 2005, as amended and
         restated October 31, 2005, between Just Energy New York Corp. and Shell US, and all
         confirmations and transactions thereunder.

      10. Base Contract for Sale and Purchase of Natural Gas dated as of October 31, 2005 between
          Shell Canada, as seller and the Canadian Applicant (formerly known as Ontario Energy
          Savings L.P.), as buyer (amending and restating that certain natural gas sale agreement
          dated as of October 15, 1998 between Shell Energy, as seller and Just Energy Corp., as
          buyer, as amended by amending agreements dated as of September 26, 2001, January 15,
          2003 and October 29, 2004 and as assigned by Just Energy Corp. to the Canadian Applicant


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          pursuant to the JEOLP Assignment Agreement), and all confirmations and transactions
          thereunder.

      11. Base Contract for the Sale and Purchase of Natural Gas, dated as of October 31, 2005
          between Shell US and New York Energy Savings Corp. (now known as Just Energy New
          York Corp., and all confirmations and transactions thereunder.

      12. Intentionally Omitted.

      13. Intentionally Omitted.4

      14. Base Contract for the Sale and Purchase of Natural Gas dated as of February 23, 2007
          between Shell Canada and New York Energy Savings Corp. (now known as Just Energy
          New York Corp., and all confirmations and transactions thereunder.

      15. Amended and Restated Master Power Purchase and Sale Agreement made as of October
          3, 2011 between Fulcrum Retail Holdings LLC and Shell US.

      16. Master Power Purchase and Sale Agreement (Alberta) dated as of October 1, 2013 between
          Shell Canada and Just Energy Alberta L.P.

      17. Third Amended and Restated Scheduling Coordinator Agreement dated December 1, 2014
          among Just Energy New York Corp., Just Energy (U.S.) Corp., Commerce Energy, Inc.
          (now known as, Just Energy Solutions Inc.) and Shell US.

      18. ISDA Master Agreement dated as of November 6, 2020 between Shell Canada and the
          Canadian Applicant and the schedule thereto.

      19. ISDA Master Agreement dated as of January 15, 2021 between Shell US and Just Energy
          New York Corp. and the schedule thereto.

      20. Base Contract for Sale and Purchase of Natural Gas dated as of October 31, 2005 between
          Shell Canada and Just Energy Alberta L.P., and all confirmations and transactions
          thereunder.




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                               Exhibit D

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                                    SUPPORT AGREEMENT

         This SUPPORT AGREEMENT (this “Agreement”) is entered into as of March 9, 2021,
by and among Just Energy Ontario L.P., a limited partnership existing under the laws of the
Province of Ontario (the “Canadian Applicant”) and Just Energy (U.S.) Corp., a corporation
incorporated under the laws of the State of Delaware (the “U.S. Applicant”) and each of their
affiliates listed on Annex I (collectively, with the Canadian Applicant and U.S. Applicant, the “JE
Customer Parties”), and BP Canada Energy Marketing Corp., a Delaware corporation (“BP
Marketing”), BP Energy Company, a Delaware corporation (“BP Energy”), BP Corporation
North America Inc., an Indiana corporation (“BP North America”), BP Canada Energy Group
ULC, a corporation incorporated pursuant to the laws of Nova Scotia, Canada (“BP ULC” and
together with BP Marketing, BP Energy and BP North America, “BP” or the “BP Parties” and
together with the JE Customer Parties, the “Parties”).

                                          RECITALS

        WHEREAS, the Canadian Applicant and the U.S. Applicant, and certain of their affiliates
(collectively, the “Canadian Applicants”), intend to make an application to the Ontario Superior
Court of Justice (Commercial List) (the “Bankruptcy Court”), for an initial order (as may be
amended and restated from time to time, the “Initial Order”) granting protection to, among others,
the DIP Lenders (as defined below) and the BP Parties under the Companies’ Creditors
Arrangement Act (Canada) (the “CCAA”, and the proceedings thereunder, the “CCAA
Proceedings”).

        WHEREAS, the Canadian Applicant and U.S. Applicant, and certain of their affiliates (the
“US Applicants”, and collectively with the Canadian Applicants, the “Applicants”), intend to
commence ancillary insolvency proceedings under chapter 15 of title 11 of the United States Code
in the United States Bankruptcy Court for the Southern District of Texas to recognize the CCAA
Proceedings (the “Chapter 15 Proceeding” and, together with the CCAA Proceedings, the
“Bankruptcy Event”).

      WHEREAS, the BP Parties and the JE Customer Parties have entered into those certain
agreements listed on Annex II hereto (collectively, the “Existing Agreements”).

        WHEREAS, in order induce the BP Parties to refrain from exercising any Termination
Rights (as defined herein), and to induce the BP Parties to continue transacting with the JE
Customer Parties under the Existing Agreements during the Bankruptcy Event, the BP Parties
require that the Initial Order provide Super Priority Status to the BP Post-Petition Claims.

       NOW, THEREFORE, in consideration of the foregoing, the terms, covenants and
conditions contained herein and other good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, the Parties agree as follows:

                     Definitions.

       “A&R ICA” means that certain Sixth Amended and Restated Intercreditor Agreement,
dated as of September 1, 2015, by and among Canadian Imperial Bank of Commerce, as collateral
agent and agent for itself as agent and the lenders, Shell Energy North America (Canada) Inc.,
Shell Energy North America (US), L.P., Shell Trading Risk Management, LLC, BP, Exelon
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Generation Company, LLC, Bruce Power L.P., Societe Generale, EDF Trading North America,
LLC, National Bank of Canada, Nextera Energy Power Marketing, LLC, Macquarie Bank Limited,
Macquarie Energy Canada Ltd., Macquarie Energy LLC and and each other person identified as a
commodity supplier from time to time party thereto and Just Energy Ontario L.P. and Just Energy
(U.S.) Corp., as borrowers, as amended from time to time.

           “Applicants” is defined in the Preamble.

           “Bankruptcy Court” is defined in the Recitals.

           “Bankruptcy Event” is defined in the Recitals.

           “BP” is defined in the Preamble.

           “BP Energy” is defined in the Preamble.

           “BP Marketing” is defined in the Preamble.

           “BP North America” is defined in the Preamble.

           “BP” is defined in the Preamble.

     “BP Post-Petition Claims” means those certain claims in respect of Priority
Commodity/ISO Obligations (as defined in the Initial Order or the Final Order, as the case may
be).

      “BP Pre-Petition Claims” means all obligations owing to the BP Parties as of the Petition
Date which constitute “Senior Obligations” as defined in the ICA.

           “BP ULC” is defined in the Preamble.

           “Canadian Applicant” is defined in the Preamble.

           “CCAA” is defined in the Recitals.

           “CCAA Proceeding” is defined in the Recitals.

           “Chapter 15 Proceeding” is defined in the Recitals.

       “Collateral Agent Succession Agreement” means that certain Collateral Agent
Succession Agreement, dated as of March 1, 2019, by and among Canadian Imperial Bank of
Commerce, as resigning collateral agent, National Bank of Canada, as successor collateral agent,
Canadian Applicant and U.S. Applicant, as borrowers.

        “Definitive Documents” has the meaning set forth in the Initial Order or the Final Order,
as the case may be.

           “DIP Agent” means the agent under the DIP Facility.


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       “DIP Facility” means that certain credit facility described in that certain CCAA Interim
Debtor-In-Possession Financing Term Sheet, dated as of the date hereof.

           “DIP Lenders” means the lenders under the DIP Facility.

           “Existing Agreements” is defined in the Recitals.

           “Event of Default” has the meaning set forth in Section 7.

        “Final Order” means a final order entered or approved by the Bankruptcy Court
authorizing this Agreement and the terms herein in substantially the form of the Initial Order, with
only such modifications in form and substance that are satisfactory to the BP Parties in their sole
discretion (as the same may be amended, supplemented, or modified from time to time after entry
thereof with the written consent of the BP Parties, in their sole discretion).

      “ICA” means the A&R ICA, First Amendment to ICA and Collateral Agent Succession
Agreement.

           “Initial Order” is defined in the Recitals.

           “ISO Services” is defined in Section 2(a) of the ISO Services Agreement.

      “ISO Services Agreement” means that certain ISO Services Agreement, dated as of May
7, 2010, by and between BP Energy and Hudson Energy Services, LLC, as amended by
Amendment #1 to ISO Services Agreement dated August 23, 2010, as further amended by the
Second Amendment to ISO Services Agreement dated as of December 20, 2011, as further
amended by the Third Amendment to ISO Services Agreement dated May 20, 2013, as further
amended by the Fourth Amendment to ISO Services Agreement dated October 30, 2017, as further
amended by the Fifth Amendment to ISO Services Agreement dated July 11, 2018, and as further
amended, restated, supplemented and otherwise modified.

       “First Amendment to ICA” means that certain First Amending Agreement and Adhesion
Agreement to Intercreditor Agreement, dated as of May 17, 2018, by and among Canadian
Imperial Bank of Commerce, as collateral agent and agent for itself and the lenders, Shell Energy
North America (Canada) Inc., Shell Energy North America (US), L.P., Shell Trading Risk
Management, LLC, BP, Exelon Generation Company, LLC, Nextera Energy Power Marketing,
LLC, Macquarie Bank Limited, Macquarie Energy Canada Ltd. and Macquarie Energy LLC, as
commodity suppliers, Morgan Stanley Capital Group Inc., as new commodity supplier and Just
Energy Ontario L.P. and Just Energy (U.S.) Corp., as borrowers.

           “Parties” is defined in the Preamble.

           “Performance Assurance” is defined in Section 3.

           “Petition Date” is defined in the Recitals

           “Review Period” is defined in Section 5(a).



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       “Super Priority Status” means the status assigned to the Priority Commodity/ISO Charge
(pursuant to and as defined in the Initial Order or the Final Order, as the case may be).

        “Termination Rights” means any right to terminate or disclaim the Existing Agreements,
or any trades or transactions thereunder, as a result of the Bankruptcy Event.

           “US Applicant” is defined in the Preamble.

               Agreement not to Exercise Termination Rights. The Parties acknowledge and
agree that the Existing Agreements constitute eligible financial contracts under the CCAA;
provided, however, the Parties reserve all rights as to whether the ISO Services Agreements
constitute eligible financial contracts under the CCAA. The BP Parties agree to refrain from
exercising any Termination Rights so long as no Event of Default (as defined herein) has occurred.
The JE Customer Parties agree to refrain from exercising any Termination Rights.

                Continued Supply. So long as no Event of Default has occurred and the JE
Customer Parties comply with the terms of this Agreement and any Order in the CCAA
Proceeding, including with respect to timely payment for deliveries made following the Initial
Order as required under the Existing Agreements, the BP Parties (i) will continue to supply
physical and financial power and natural gas, provide the ISO Services (as defined in the ISO
Services Agreement (as defined below)) and provide other related services to the JE Customer
Parties during the Bankruptcy Event pursuant to the terms of the Existing Agreements as modified
by the Initial Order or the Final Order, as the case may be, and this Agreement; and (ii) will not
impose more restrictive conditions (including, without limitation, any request for additional
collateral, credit support or other type of performance assurance, or any replacement guarantees
(collectively, the “Performance Assurance”)), beyond what the JE Customer Parties (or their
affiliates) have provided or posted pursuant to the Existing Agreements as of the date hereof or as
provided in the Initial Order or the Final Order, as the case may be. The BP Parties have the right,
but no obligation, to accept further confirmations under the applicable Existing Agreements. For
the avoidance of doubt: (i) nothing in this Agreement, the Initial Order or the Final Order shall
limit any rights of any BP Party relating to set-off, recoupment or netting available to it under
applicable law, in equity or by agreement with respect to confirmations and transactions occurring
on or after March 9, 2021 and (ii) as contemplated by Section 2(a)(iii) and Section 19 of the ISO
Services Agreement, any power scheduled by BP under the ISO Services Agreement shall be sold
by the BP Parties under a separate sale agreement between one or more of the BP Parties and one
or more of the JE Customer Parties.

                     [Reserved].

                     JE Customer Parties’ Obligations.

        (a)    BP Parties’ Fees and Expenses. The JE Customer Parties agree to pay the
reasonable and documented fees and expenses of the BP Parties’ legal counsel, whether arising
before, on or after the Petition Date, within ten (10) days (the “Review Period”) after the JE
Customer Parties’ receipt of invoices for such fees and expenses; provided that the JE Customer
Parties may raise good faith disputes regarding any such invoice by written notice to the BP Parties
before the end of the Review Period, but the JE Customer Parties shall pay any undisputed portion
of such invoice by the end of the Review Period.

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           (b)       Hedging.

                   (i)    The JE Customer Parties shall not voluntarily terminate or liquidate any
           ERCOT Physical Hedge except in the case of a bona fide event of default or termination
           event thereunder arising after the Petition Date (it being agreed and understood that the
           occurrence of the Bankruptcy Event shall not be deemed an event of default or
           termination event thereunder), giving the JE Customer Parties the right to terminate such
           ERCOT Physical Hedge. An “ERCOT Physical Hedge” any existing or newly-entered
           bilateral agreement (including any option) for the purchase of Energy (as defined in the
           ISO Services Agreement) by any JE Customer Party for delivery in ERCOT.

                   (ii)   For each day, the JE Customer Parties shall cause a quantity of Energy not
           less than the Daily Minimum Energy Quantity to be scheduled from the ERCOT Physical
           Hedges into the Qualified Scheduling Entity sub-account maintained by the BP Parties
           for purposes of scheduling load under the ISO Services Agreement. The “Daily
           Minimum Energy Quantity” means a quantity of Energy equal to the lesser of (A) the
           Just Energy Parties’ forecasted load to be scheduled under the ISO Services Agreement,
           and (B) the aggregate quantity of Energy available to be delivered that that day under the
           ERCOT Physical Hedges.

                   (iii) The JE Customer Parties will comply with all existing risk policies of the
           JE Customer Parties in a manner that is consistent with past practices, including with
           respect to hedging and procuring physical supply for its forecasted load and expected
           price risk.

        (c)     Reporting. The JE Customer Parties will provide copies of all documentation
provided to the DIP Agent and DIP Lenders under the Definitive Documents, including copies of
the Applicants’ cash flow statements and all other financial statements, reports and notices, on or
prior to the dates such information is required to be provided to the DIP Agent and DIP Lenders
and their counsel in accordance with the Definitive Documents.

                Conditions Precedent. The obligations of the BP Parties hereunder shall not
become effective until the date on which each of the following conditions are satisfied (or waived
in writing by the BP Parties in their sole discretion):

        (a)     The Bankruptcy Court shall have entered the Initial Order providing Super Priority
Status to the BP Post-Petition Claims and the Initial Order shall be in form and substance
satisfactory to the BP Parties and shall be in full force and effect, and Applicants shall be in
compliance in all respects with the Initial Order. Any such charge shall continue to the benefit of
the BP Parties in the event of any Applicants’ Event of Default under Section 7 herein.

        (b)     All orders entered by the Bankruptcy Court in the Bankruptcy Event pertaining to
cash management and adequate protection, shall, and all other motions and documents filed or to
be filed with, and submitted to, the Bankruptcy Court in connection therewith shall be in form and
substance satisfactory to the BP Parties.

       (c)   The JE Customer Parties shall have executed and delivered to the BP Parties such
other documents in connection with the matters contemplated herein as the BP Parties may have

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reasonably requested.

       (d)     The JE Customer Parties shall have delivered to the BP Parties fully executed
copies of all Qualified Support Agreements (as defined in the Initial Order).

                Events of Default. The BP Parties may exercise their Termination Rights or
suspend performance under any of the Existing Agreements upon the occurrence of any of the
events set forth below (each, an “Event of Default”) by providing three days’ written notice to the
JE Customer Parties; provided that after the three day cure period, the BP Parties have the right to
exercise Termination Rights or suspend performance unless the JE Customer Parties prepay for
the BP services (for the avoidance of doubt, such prepayments may be made on a daily basis);
provided further that the BP Parties may immediately exercise Termination Rights or suspend
performance under the Existing Agreement only if an Event of Default occurs under clause (a)
below, without the need of notice or Bankruptcy Court order:

        (a)    Any JE Customer Party shall default in the payment when due of any amount owing
to the BP Parties under the Existing Agreements and arising after the Petition Date.

        (b)     An event of default, termination event or similar event (other than those arising
solely by reason of the filing of the CCAA Proceeding or the Chapter 15 Proceeding) occurs with
respect to any JE Customer Party under the Existing Agreements after the Petition Date and after
giving effect to any cure period thereunder.

        (c)    An Event of Default (as defined in the DIP Facility) shall occur and be continuing
under the DIP Facility to the extent (and only for so long as) such Event of Default has not been
waived by the requisite lenders thereunder and, to the extent such Event of Default would have a
material adverse effect on the financial condition of the JE Customer Parties or the viability of the
Bankruptcy Event, the BP Parties.

         (d)    The violation of any term or condition in the Initial Order or Final Order by the
Applicants, or the Initial Order or Final Order, as applicable, shall fail to be in full force and effect
or the Initial Order or Final Order, as applicable, shall be amended or otherwise modified in a way
that is adverse to any BP Party without prior written consent of the BP Parties.

        (e)     The Bankruptcy Court shall enter an order or orders allowing any one or more
creditors to execute upon or enforce liens on any assets of the Applicants which have a fair market
value in excess of $1,000,000 in the aggregate.

        (f)    The filing of a Plan of Compromise or Arrangement that does not propose to repay
all BP Post-Petition Claims in full, in cash immediately upon its effectiveness.

        (g)     The CCAA Proceeding or the Chapter 15 Proceeding is dismissed or converted to
a liquidation proceeding including a receivership, bankruptcy, United States Chapter 7 proceeding
or otherwise (“Liquidating Proceeding”) or the Applicants shall file a motion or other pleading
seeking the dismissal of the CCAA Proceeding or the Chapter 15 Proceeding or conversion to a
Liquidating Proceeding.



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        (h)     The liens securing the BP Pre-Petition Claims for any reason cease to be valid and
perfected liens on the collateral purported to be covered thereby, subject only to (i) encumbrances
expressly permitted by the ICA and (ii) encumbrances created by the Initial Order or the Final
Order, or any action shall be taken by the Applicants to discontinue or to assert the invalidity or
unenforceability of any lien securing the BP Pre-Petition Claims, or the validity or enforceability
of the ICA.

        (i)      The JE Customer Parties shall fail to pay any undisputed amount owed hereunder
or shall fail to perform in any material respect any other obligations under this Agreement.

Subject to the Bankruptcy Court’s order, which may only be sought on five days’ notice to Just
Energy and the service list in the CCAA Proceedings, the BP Parties may exercise their rights and
remedies in respect of the Priority Commodity/ISO Charge.

                Release. The JE Customer Parties hereby unconditionally and irrevocably release
the BP Parties and their respective successors, assigns, officers, directors, employees, attorneys
and agents from any liability for actions or omissions arising or occurring prior to the Petition
Date, whether known or unknown, whether in connection with the Existing Agreements or
otherwise (it being agreed and understood that this release shall not extend to any liabilities arising
under this Agreement or other actions or omissions on or after the Petition Date whether in
connection with the Existing Agreements or otherwise).

           Governing Law; Submission to Jurisdiction and Venue. THIS
AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE PROVINCE OF ONTARIO AND THE FEDERAL LAWS OF
CANADA APPLICABLE THEREIN. THE PARTIES SUBMIT TO THE JURISDICTION
OF THE BANKRUPTCY COURT, WHICH SHALL HEAR MATTERS REGARDING
THE INTERPRETATION OR ENFORCEMENT OF THIS AGREEMENT.

                Construction. This Agreement and all other agreements and documents executed
and/or delivered in connection herewith have been prepared through the joint efforts of all of the
Parties. Neither the provisions of this Agreement nor any such other agreements and documents
nor any alleged ambiguity therein shall be interpreted or resolved against any Party on the ground
that such Party or its counsel drafted this Agreement or such other agreements and documents, or
based on any other rule of strict construction. Each of the Parties hereto represents and declares
that such Party has carefully read this Agreement and all other agreements and documents executed
in connection therewith, and that such Party knows the contents thereof and signs the same freely
and voluntarily. The Parties acknowledge that they have been represented by legal counsel of their
own choosing in negotiations for and preparation of this Agreement and all other agreements and
documents executed in connection herewith and that each of them has read the same and had their
contents fully explained by such counsel and is fully aware of their contents and legal effect. If
any matter is left to the decision, right, requirement, request, determination, judgment, opinion,
approval, consent, waiver, satisfaction, acceptance, agreement, option, or discretion of the BP
Parties or their employees, counsel, or agents in the ICA, such action shall be deemed to be
exercisable by the BP Parties in their sole and absolute discretion and according to standards
established in its sole and absolute discretion. Without limiting the generality of the foregoing,
“option” and “discretion” shall be implied by the use of the words “if” and “may”.


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               Counterparts. This Agreement may be executed in any number of counterparts,
all of which shall be deemed to be an original and such counterparts taken together shall constitute
one agreement, and any of the Parties may execute this Agreement by signing any such
counterpart. Delivery of an executed signature page to this Agreement by facsimile, e-mail or
other electronic transmission shall be as effective as delivery of a manually signed counterpart of
this Agreement.

                Severability. Each provision of this Agreement is intended to be severable and if
any provision is illegal, invalid or unenforceable, such illegality, unenforceability or invalidity
shall not affect the validity of this Agreement or the remaining provisions.

                Further Assurances. The Parties agree to execute and deliver such further and
other documents and perform and cause to be performed such further and other acts and things as
may be necessary or desirable in order to give full effect to this Agreement and every part thereof,
including all acts, deeds and agreements as may be necessary or desirable for the purpose of
registering or filing notice of the terms of this Agreement.

                Section Headings. Section headings in this Agreement are included herein for
convenience of reference only and shall not constitute part of this Agreement for any other purpose.

               Notices. All notices, requests, and demands to or upon the Parties shall be given
in accordance with the ICA, with additional copies to counsel for the Parties as required by the
Bankruptcy Court.

                 Assignments; No Third Party Beneficiaries. This Agreement shall be binding
upon and inure to the benefit of the Parties hereto and their respective successors and assigns;
provided that the Applicants shall not be entitled to assign any of their rights or remedies set forth
in this Agreement without the prior written consent of the BP Parties in their sole discretion. No
person other than the Parties hereto shall have any rights hereunder or shall be entitled to rely on
this Agreement and all third-party beneficiary rights are hereby expressly disclaimed.



                                      [Signature pages follow]




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IN WITNESS WHEREOF, this Support Agreement has been executed by the Parties as of the date
first written above.

                                              JF RT ENER. K ONTARBO W.T., by its general
                                              partner, JF RT ENER. K NORT.

                                              By:
                                              Name: Michael Carter
                                              Title: Chief Financial Officer

                                              By:
                                              Name: Jonah Davids
                                              Title: Executive Vice President, General Counsel
                                              and Corporate Secretary

                                              JF RT ENER. K (F .R.) NORT.


                                              By:
                                              Name: Michael Carter
                                              Title: Chief Financial Officer

                                              By:
                                              Name: Jonah Davids
                                              Title: Executive Vice President, General Counsel
                                              and Corporate Secretary


                                              JF RT ENER. K NEW KORK NORT.


                                              By:
                                              Name: Michael Carter
                                              Title: Chief Financial Officer

                                              By:
                                              Name: Jonah Davids
                                              Title: Executive Vice President, General Counsel
                                              and Corporate Secretary




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                                      JF RT ENER. K BWWBNOBR NORT.


                                      By:
                                      Name: Michael Carter
                                      Title: Chief Financial Officer

                                      By:
                                      Name: Jonah Davids
                                      Title: Executive Vice President, General Counsel
                                      and Corporate Secretary

                                      JF RT ENER. K NORT.


                                      By:
                                      Name: Michael Carter
                                      Title: Chief Financial Officer

                                      By:
                                      Name: Jonah Davids
                                      Title: Executive Vice President, General Counsel
                                      and Corporate Secretary

                                      HF GRON ENER. K RERYBNER, WWN


                                      By:
                                      Name: Michael Carter
                                      Title: Chief Financial Officer

                                      By:
                                      Name: Jonah Davids
                                      Title: Executive Vice President, General Counsel
                                      and Corporate Secretary




                       [Signature Page to Support Agreement (BP)]
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                                     ANNEX I

                                  Affiliate Parties

Hudson Energy Services, LLC

Just Energy Corp.

Just Energy Illinois Corp.

Just Energy New York Corp.

Just Energy Trading L.P.




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                                           ANNEX II
                                    EXISTING AGREEMENTS

1.         Base Contract for Sale and Purchase of Natural Gas dated October 31, 2005 between the
           Canadian Applicant and BP Canada Energy Company (amending and restating the Base
           Contract for Sale and Purchase of Natural Gas dated September 1, 2004 between Just
           Energy Corp. and BP Canada Energy Company, as assigned by Just Energy Corp. to the
           Canadian Applicant pursuant to the agreement dated October 31, 2005 between BP Canada
           Energy Company and the Canadian Applicant and as assigned to BP Canada Energy Group
           ULC pursuant to assignment and novation agreement dated March 30, 2012), and all
           confirmations and transactions thereunder, as amended, restated, supplemented or
           otherwise modified from time to time.

2.         Base Contract for Sale and Purchase of Natural Gas dated October 31, 2005 between Just
           Energy Illinois Corp. and BP Canada Energy Marketing Corp. (amending and restating the
           NAESB Base Contract for Sale and Purchase of natural Gas dated October 21, 2005
           between Just Energy Illinois Corp. and BP Canada Energy Company), and all
           confirmations and transactions thereunder, as amended, restated, supplemented or
           otherwise modified from time to time.

3.         1992 ISDA Master Agreement dated as of January 1, 2007 between Just Energy Illinois
           Corp. (formerly Illinois Energy Savings Corp.) and BP Corporation North America Inc.,
           as assigned to BP Energy Company pursuant to an assignment and amendment agreement
           dated October 15, 2012, and all confirmations and transactions thereunder and all
           schedules, appendices, annexes and exhibits thereto, as amended, restated, supplemented
           or otherwise modified from time to time.

4.         Base Contract for Sale and Purchase of Natural Gas dated July 1, 2007 between Just Energy
           New York Corp. and BP Canada Energy Company, and all confirmations and transactions
           thereunder, as amended, restated, supplemented or otherwise modified from time to time.

5.         ISDA Master Agreement dated as of May 7, 2010 between BP Corporation North America
           Inc. (as assigned to BP Energy Company pursuant to an assignment and amendment
           agreement dated October 15, 2012) and Hudson Energy Services, LLC, and all
           confirmations and transactions thereunder and all schedules, appendices, annexes and
           exhibits thereto, as amended, restated, supplemented or otherwise modified from time to
           time.

6.         Base Contract for Sale and Purchase of Natural Gas dated as of May 7, 2010 between BP
           Energy Company and Hudson Energy Services, LLC, and all confirmations and
           transactions thereunder, as amended, restated, supplemented or otherwise modified from
           time to time.

7.         Master Power Purchase and Sale Agreement dated as of May 7, 2010 between BP Energy
           Company and Hudson Energy Services, LLC, and all confirmations and transactions
           thereunder and all schedules, appendices, annexes and exhibits thereto, as amended,
           restated, supplemented or otherwise modified from time to time.


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8.         Master Netting, Setoff, Security, and Collateral Agreement dated as of May 1, 2010
           between BP Energy Company, BP Corporation North America Inc. (as assigned to BP
           Energy Company pursuant to an assignment and amendment agreement dated October 15,
           2012) and Hudson Energy Services, LLC, as amended, restated, supplemented or otherwise
           modified from time to time.

9.         ISO Services Agreement dated as of May 7, 2010 between BP Energy Company and
           Hudson Energy Services, LLC, as amended by Amendment #1 to ISO Services Agreement
           dated August 23, 2010, as further amended by the Second Amendment to ISO Services
           Agreement dated as of December 20, 2011, as further amended by the Third Amendment
           to ISO Services Agreement dated May 20, 2013, as further amended by the Fourth
           Amendment to ISO Services Agreement dated October 30, 2017, as further amended by
           the Fifth Amendment to ISO Services Agreement dated July 11, 2018 and as further
           amended, restated, supplemented or otherwise modified from time to time.

10.        1992 ISDA Master Agreement dated as of June 13, 2012 between Just Energy Trading L.P.
           and BP Energy Company, and all confirmations and transactions thereunder and all
           schedules, appendices, annexes and exhibits thereto, as amended, restated, supplemented
           or otherwise modified from time to time.

11.        Assignment and Amendment dated October 15, 2012 among Just Energy Illinois Corp.,
           BP Corporation North America Inc., and BP Energy Company.

12.        Assignment and Novation Agreement dated as of March 30, 2012 among BP Canada
           Energy Company, BP Canada Energy Group ULC, Just Energy Ontario L.P., and Just
           Energy New York Corp.

13.        Base Contract for Sale and Purchase of Natural Gas dated as of December 14, 2007
           between BP Canada Energy Marketing Corp. and Just Energy New York Corp., and all
           confirmations and transactions thereunder, as amended, restated, supplemented or
           otherwise modified from time to time.

14.        Adhesion Agreement dated as of June 14, 2010 among Canadian Imperial Bank of
           Commerce, National Bank of Canada, Just Energy Ontario L.P., Just Energy (U.S.) Corp.,
           BP Canada Energy Company, BP Canada Energy Marketing Corp., BP Corporation North
           America Inc. and BP Energy Company.

15.        Adhesion Agreement dated as of June 21, 2010 among Canadian Imperial Bank of
           Commerce, National Bank of Canada, Just Energy Ontario L.P., Just Energy (U.S.) Corp.,
           BP Canada Energy Company, BP Canada Energy Marketing Corp., BP Corporation North
           America Inc. and BP Energy Company.

16.        Adhesion Agreement dated as of April 25, 2012 among Canadian Imperial Bank of
           Commerce, Just Energy Ontario L.P., Just Energy (U.S.) Corp., BP Canada Energy Group
           ULC, and BP Canada Energy Company.

17.        Base Contract for Sale and Purchase of Natural Gas dated as of June 16, 2010 between BP
           Canada Energy Marketing Corp. and Hudson Energy Services, LLC, and all confirmations

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           and transactions thereunder, as amended, restated, supplemented or otherwise modified
           from time to time.




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